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  1                UNITED STATES DISTRICT COURT

  2            CENTRAL DISTRICT OF CALIFORNIA

  3                  EASTERN DIVISION

  4                      ---

  5         HONORABLE STEPHEN G. LARSON, JUDGE PRESIDING

  6                      ---

  7    MATTEL, INC.,                )

                            )

  8                 PLAINTIFF, )

                            )

  9          VS.                ) NO. CV 04-09049

                            )

  10   MGA ENTERTAINMENT, INC., ET. AL., )

                            )

  11                DEFENDANTS. ) TRIAL DAY 8,

       ___________________________________) MORNING SESSION

  12   AND CONSOLIDATED ACTIONS,               ) PAGES 1391-1514

                            )

  13

  14

  15       REPORTER'S TRANSCRIPT OF JURY TRIAL PROCEEDINGS

  16                RIVERSIDE, CALIFORNIA

  17                THURSDAY, JUNE 5, 2008

  18                    8:39 A.M.

  19

  20

  21

  22

  23               THERESA A. LANZA, RPR, CSR

               FEDERAL OFFICIAL COURT REPORTER

  24               3470 12TH STREET, RM. 134

                   RIVERSIDE, CALIFORNIA 92501

  25                   951-274-0844



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  1    APPEARANCES:

  2

       ON BEHALF OF MATTEL, INC.:

  3

                QUINN EMANUEL

  4             BY: JOHN QUINN

                  JON COREY

  5               MICHAEL T. ZELLER

                  HARRY OLIVAR

  6               TIMOTHY ALGER

                  DYLAN PROCTOR

  7             865 S. FIGUEROA STREET,

                10TH FLOOR

  8             LOS ANGELES, CALIFORNIA 90017

  9

  10

       ON BEHALF OF MGA ENTERTAINMENT:

  11

                SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

  12            BY: THOMAS J. NOLAN

                  JASON RUSSELL

  13              RAOUL KENNEDY

                  LAUREN AGUIAR

  14              CARL ROTH

                300 SOUTH GRAND AVENUE

  15            LOS ANGELES, CALIFORNIA 90071-3144

                213-687-5000

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  5

  6

  7    PLAINTIFF

       WITNESS            DIRECT        CROSS          REDIRECT       RECROSS

  8    LUCY ARANT

  9    BY MR. ZELLER 1418                    1469, 1503, 1510

       BY MR. NOLAN                   1452              1508

  10

  11

  12

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  1      RIVERSIDE, CALIFORNIA; THURSDAY, JUNE 5, 2008; 8:39 A.M.


  2                  -OOO-


  3         THE CLERK: CALLING CASE NUMBER CV04-09049-SGL,


  4    MATTEL, INC., V. MGA, INC., ET AL.


  5         MAY WE HAVE COUNSEL PLEASE STATE YOUR APPEARANCES FOR


  6    THE RECORD.


  7         MR. QUINN: JOHN QUINN, BILL PRICE, MIKE ZELLER FOR


  8    MATTEL.


  9         MR. NOLAN: TOM NOLAN, JASON RUSSELL, LAUREN AGUIAR


  10   ON BEHALF OF MGA.


  11        THE COURT: GOOD MORNING TO YOU ALL.


  12        WE'RE ON CALENDAR THIS MORNING FOR THE TRIAL. THERE


  13   WERE A FEW MATTERS FROM MONDAY THAT WE PUT OVER TO THIS


  14   MORNING, AND I WANTED TO TAKE THOSE UP AT THIS TIME.


  15        COUNSEL, I'LL LEAVE IT UP TO YOU AS TO HOW YOU WISH


  16   TO PROCEED.


  17        WHO'S READY TO GO?


  18        MS. ANDERSON, NICE TO HAVE YOU BACK. I'M SURE YOU'RE


  19   THRILLED TO BE BACK.


  20        MS. ANDERSON: ALWAYS A PLEASURE.


  21        THE COURT: THIS IS THE MOTION THAT WAS BROUGHT


  22   CONCERNING THE COMPUTER, THE HARD DRIVES, FOR MR. BRYANT, AND


  23   WE TOOK THIS UP, BUT OBVIOUSLY, YOU HAD NOT RECEIVED ENOUGH


  24   NOTICE ABOUT THE HEARING. THIS WAS ONE OF A SERIES OF MOTIONS


  25   THAT THE COURT HAD THOUGHT HAD BEEN RESOLVED BUT I FOUND OUT



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  1    LAST WEEK HAD NOT BEEN RESOLVED, SO I CONSIDERED THEM, I TOOK


  2    THEM BACK FROM JUDGE INFANTE, AND I DECIDED THEM MYSELF. BUT I


  3    WANTED TO HEAR FROM YOU BEFORE WE WENT FURTHER ON THIS MOTION.


  4         MS. ANDERSON: THANK YOU, YOUR HONOR. THIS IS


  5    CHRISTA ANDERSON FOR NONPARTY CARTER BRYANT.


  6         IF I MIGHT MAKE A BRIEF PRELIMINARY STATEMENT BEFORE


  7    I BEGIN.


  8         THE COURT: PLEASE.


  9         MS. ANDERSON: WE'RE HERE, SIMPLY, YOUR HONOR, TO


  10   PROVIDE INFORMATION TO THE COURT. BECAUSE WE'RE NOT A PARTY,


  11   WE DO NOT BELIEVE WE'RE PROPERLY HERE TO BE HEARD ON THIS


  12   MOTION. WE DON'T THINK IT SHOULD BE BEFORE THE COURT. BUT I


  13   WOULD LIKE TO PROVIDE THIS INFORMATION FOR THE COURT.


  14        THE COURT: PLEASE.


  15        MR. MILLER: EXCUSE ME, YOUR HONOR.


  16        I'M WILLIAM MILLER, AND I REPRESENT LITTLER


  17   MENDELSON.


  18        WITH WHAT LITTLE I KNOW, WHAT SHE JUST SAID


  19   APPARENTLY INVOLVES LITTLER MENDELSON AS WELL.


  20        MS. ANDERSON: ACTUALLY --


  21        THE COURT: NO. I THINK THAT'S ANOTHER MOTION.


  22        MR. MILLER: SINCE I FOUND OUT ABOUT THIS AT ALMOST


  23   3:00 YESTERDAY AFTERNOON, I HAVE NO CLUE, SO YOU LET ME KNOW


  24   WHEN I --


  25        THE COURT: I'LL LET YOU KNOW -- YOU'LL HAVE ANOTHER



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  1    ONE, AND WE'LL CERTAINLY WANT TO HEAR FROM YOU BEFORE WE GO ANY


  2    FURTHER ON THAT ONE.


  3        THIS IS THE CARTER BRYANT MOTION WITH RESPECT TO THE


  4    HARD DRIVES.


  5        MS. ANDERSON: YES. THANK YOU, YOUR HONOR.


  6        NOW, WE'RE PRESENTING THIS INFORMATION WITHOUT


  7    WAIVING ANY OBJECTIONS TO JURISDICTION OR OTHER ISSUES.


  8        AS THE COURT IS AWARE, MR. BRYANT HAS BEEN DISMISSED


  9    WITH PREJUDICE. THERE IS A SETTLEMENT IN THIS CASE. THE


  10   SETTLEMENT IS CONFIDENTIAL, BUT I UNDERSTAND THE COURT HAS BEEN


  11   PROVIDED WITH A COPY OF IT.


  12       THE COURT: YES. IN-CAMERA. YOU SHOULD MAKE NO


  13   REFERENCE TO THE SUBJECT MATTER.


  14       MS. ANDERSON: I WILL NOT.


  15       BUT THAT SETTLEMENT ABSOLUTELY BARS PROCEEDING ON


  16   THIS MOTION.


  17       ASIDE FROM THE FACT THAT THE MOTION CONCERNS A


  18   REQUEST FOR PRODUCTION UNDER RULE 34, WHICH IS A REQUEST THAT


  19   CAN ONLY BE MADE TO A PARTY AND REQUESTS SANCTIONS UNDER A RULE


  20   THAT ONLY PERMITS SANCTIONS TO A PARTY UNLESS THERE'S CERTAIN


  21   CIRCUMSTANCES PRESENT, WHICH ARE NOT HERE.


  22       SO, YOUR HONOR, I AM HAPPY TO ENTERTAIN ARGUMENT IN


  23   WHATEVER FORM YOU THINK IS APPROPRIATE, GIVEN THE CONFIDENTIAL


  24   NATURE OF THIS SETTLEMENT; BUT IT IS CRITICALLY IMPORTANT TO MY


  25   CLIENT THAT THE RIGHTS THAT HE OBTAINED THROUGH SETTLEMENT WITH



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  1    MATTEL BE ACKNOWLEDGED AND RESPECTED. WE HAD REQUESTED THAT


  2    MATTEL'S COUNSEL PROVIDE YOU WITH THIS INFORMATION, AND


  3    APPARENTLY, THEY DID NOT. AND THAT'S WHY WE'RE HERE TODAY.


  4        AGAIN, I DON'T KNOW WHAT THE COURT WOULD LIKE TO DO


  5    IN TERMS OF THE APPROPRIATE PROCEDURE TO BE FOLLOWED IN THIS


  6    REGARD.


  7        THE COURT: I MAY NEED TO TAKE COUNSEL FOR MATTEL AND


  8    YOU IN CHAMBERS AND DO SOMETHING UNDER SEAL, BECAUSE I THINK WE


  9    PROBABLY NEED -- I'M LOOKING AT THE SETTLEMENT AGREEMENT NOW.


  10   I THINK WE MAY NEED TO DISCUSS THE TERMS OF THE SETTLEMENT


  11   AGREEMENT, AND I THINK IT WOULD BE APPROPRIATE TO DO SO IN


  12   CHAMBERS.


  13       IS THERE ANYTHING FURTHER, BESIDES THE SETTLEMENT


  14   AGREEMENT, OR FROM YOUR PERSPECTIVE, THIS ENDS THE DISCUSSION


  15   AT THIS POINT?


  16       MS. ANDERSON: BETWEEN THE FACT THAT HE'S NOT A PARTY


  17   AND CAN'T BE SUBJECT TO RULE 34 AND RULE 37 RELIEF REQUESTS,


  18   AND THE SETTLEMENT COMBINED, THERE'S NO MOTION THAT CAN BE HAD


  19   HERE; NO RELIEF AVAILABLE; IT'S BEEN WAIVED.


  20       THE COURT: PERHAPS WE CAN ADDRESS THIS WITHOUT EVEN


  21   GETTING TO THE SETTLEMENT AGREEMENT ITSELF.


  22       LET ME HEAR FROM SOMEONE FROM MATTEL.


  23       MR. ZELLER, ARE YOU SPEAKING ON THIS?


  24       MR. ZELLER: MR. COREY WILL ADDRESS IT.


  25       THE COURT: THIS IS MORE OF A PROCEDURAL ISSUE. I'M



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  1    NOT SAYING THAT AT THE END OF THE DAY, THERE MAY NOT BE SOME


  2    OTHER PROCEDURE IN WHICH TO OBTAIN THE INFORMATION YOU HAVE.


  3    BUT BASICALLY, THE POSTURE OF THE PARTIES HAS CHANGED


  4    DRAMATICALLY SINCE THE INITIAL DISCOVERY WAS SERVED AND THE


  5    INITIAL MOTION WAS BROUGHT, ARGUABLY, FROM CARTER BRYANT'S


  6    PERSPECTIVE, RENDERING THIS MOOT.


  7        MR. COREY: AND I UNDERSTAND THE ARGUMENT AND I


  8    UNDERSTAND THAT THE POSTURE HAS CHANGED, YOUR HONOR. BUT THAT


  9    REALLY DOESN'T MATTER, BECAUSE WHAT WE'RE TALKING ABOUT HERE IS


  10   NOT A RULE 34 REQUEST. WHAT WE'RE TALKING ABOUT HERE IS


  11   COMPLIANCE WITH A PREVIOUSLY-EXISTING COURT ORDER; SO IT'S NOT


  12   A REQUEST.


  13       THE QUESTION HERE IS, THESE HARD DRIVES HAVE BEEN


  14   COMPELLED. THERE'S AN ORDER THAT'S IN PLACE BY THE DISCOVERY


  15   MASTER; THAT WAS NOT APPEALED, EFFECTIVELY BECOMING AN ORDER OF


  16   THIS COURT. AND THE FACT THAT THE PARTY DID NOT COMPLY AND HAS


  17   NOW BEEN DISMISSED DOESN'T EXCUSE THEIR FAILURE TO COMPLY WITH


  18   THE ORDER.


  19       THEY ARE IN THE POSSESSION OF INFORMATION THAT


  20   JUDGE INFANTE HAS FOUND TO BE RELEVANT, AND WE BELIEVE WE


  21   SHOULD HAVE IT FOR PURPOSES OF THIS PHASE OF THE TRIAL.


  22       THE COURT: FROM THEIR PERSPECTIVE -- I MEAN, IT'S


  23   SET FORTH IN THEIR OPPOSITION; I UNDERSTAND YOU DISAGREE WITH


  24   THIS -- THEY DID COMPLY WITH THE ORDER.


  25       MR. COREY: AND I UNDERSTAND THAT THEY HAVE AN



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  1    ARGUMENT IN THAT REGARD, AND WE HAVE A RESPONSE TO THAT.


  2        THE COURT: AND YOU DO. AND WITHOUT GETTING TO THE


  3    SUBSTANCE, JUST PROCEDURALLY -- I MEAN, ONCE YOU STIPULATED TO


  4    DISMISS THIS PARTY -- IT'S HARD TO IMAGINE HOW YOU CAN CONTINUE


  5    TO LITIGATE WHAT IS ESSENTIALLY A DISCOVERY DISPUTE.


  6        MR. COREY: I THINK WHAT WE NEED TO COME BACK TO IS,


  7    DOES THEIR DISMISSAL ABSOLVE THEM OF THEIR RESPONSIBILITY TO


  8    COMPLY WITH THE COURT'S ORDERS? AND I HAVEN'T FOUND ANY


  9    AUTHORITY THAT SUGGESTS THAT IS, IN FACT, THE LAW.


  10       THE COURT: BUT THINK ABOUT THIS. PLAY THIS OUT.


  11       I MEAN, ONCE ANY PARTY IS DISMISSED, WOULD YOU


  12   SUGGEST THAT THEY HAVE CONTINUING DISCOVERY OBLIGATIONS UNDER


  13   OTHER ORDERS THAT HAVE BEEN ISSUED? IS MATTEL CONTINUING TO


  14   SERVE DISCOVERY, AS IT PRODUCES DISCOVERY TO MGA, TO CARTER


  15   BRYANT AT THIS POINT?


  16       ISN'T IT UNDERSTOOD THAT WHEN YOU REACH A SETTLEMENT


  17   AND A DISPOSITION AND A PARTY IS DISMISSED, THAT THOSE


  18   DISCOVERY OBLIGATIONS -- AND I HAVEN'T RESEARCHED THIS, SO THIS


  19   IS NEW TO THE COURT IN TERMS OF -- YOU'RE GETTING LOTS OF NOTES


  20   AND LOTS OF SUGGESTIONS FROM YOUR LEARNED COLLEAGUES, SO I'LL


  21   BE INTERESTED TO HEAR WHAT YOU HAVE TO SAY.


  22       MR. COREY: I'M THE PUPPET TODAY. THEY'RE PULLING


  23   THE STRINGS.


  24       THE COURT: YOU'RE ANYTHING BUT A PUPPET, MR. COREY.


  25       MR. COREY: I UNDERSTAND.



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   1          THE COURT: YOU'RE NOT CONTINUING TO PROVIDE


   2   DISCOVERY TO CARTER BRYANT, ARE YOU?


   3          MR. COREY: NO, I'M NOT.


   4          THE COURT: WHY NOT?


   5          MR. COREY: THEY HAVEN'T REQUESTED IT, AND AS FAR AS


   6   I'M AWARE, WE HAVE COMPLIED WITH ALL THE COURT ORDERS THAT


   7   MATTEL HAS BEEN SUBJECT TO, THAT MR. BRYANT HAS OBTAINED.


   8          THE COURT: WELL, IT'S NOT JUST ABOUT COURT ORDERS.


   9   I MEAN, IT'S ABOUT THE WHOLE PROCESS OF DISCOVERY.


  10          ALL THE COURT ORDER DID WAS CLARIFY THE DISCOVERY


  11   PARAMETERS; CORRECT?


  12          MR. COREY: THE COURT ORDER COMPELLED A CERTAIN


  13   ACTION THAT THEY HAD TO UNDERTAKE, AND IT COMPELLED AN ACTION


  14   LONG BEFORE THEY WERE DISMISSED.


  15          MATTEL SHOULD NOT BE PREJUDICED BY THEIR FAILURE TO


  16   COMPLY WITH A COURT ORDER FOR MONTHS.


  17          THE COURT: LET'S SAY YOU HAD SETTLED WITH MGA AS


  18   WELL. I UNDERSTAND THAT YOU HAVEN'T, BUT LET'S HYPOTHETICALLY


  19   SAY YOU HAD AND THERE WAS NO TRIAL GOING ON RIGHT NOW.


  20          WOULD CARTER BRYANT BE OBLIGATED TO PRODUCE THE HARD


  21   DRIVE THAT YOU CLAIM THEY HAVEN'T PRODUCED?


  22          MR. COREY: NO. IN THAT CIRCUMSTANCE, THEY WOULD


  23   NOT.


  24          THE COURT: HOW IS THIS ANY DIFFERENT?


  25          MR. COREY: WELL, NOW WE DO HAVE A TRIAL GOING ON,



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   1   AND THAT INFORMATION IS RELEVANT TO THE TRIAL, AND WE WOULD


   2   LIKE INFORMATION FROM THAT TO PRESENT TO THE JURY.


   3       THE COURT: WOULD THEY NOT HAVE TO PROVIDE IT BY


   4   VIRTUE OF THE FACT THAT YOU NO LONGER NEEDED IT OR BY VIRTUE OF


   5   THE FACT THAT THE CASE AGAINST THEM HAD BEEN DISMISSED, IN MY


   6   HYPOTHETICAL?


   7       MR. COREY: IN YOUR HYPOTHETICAL, THERE'S NO TRIAL


   8   CONTINUING TO GO ON.


   9       THE COURT: SO WOULD THAT BE THE REASON? WOULD IT BE


  10   THE FACT THAT YOU NO LONGER NEEDED THE INFORMATION, OR WOULD IT


  11   BE BY VIRTUE OF THE FACT THAT THE CASE HAD BEEN DISMISSED?


  12       MR. COREY: IT WOULD BE BY VIRTUE OF THE FACT THAT


  13   THE CASE HAD BEEN DISMISSED AND ANY OF THE ORDERS WOULD BE


  14   MOOT. BUT WE DON'T HAVE THAT SITUATION HERE.


  15       IF THE WAY THE COURT WOULD LIKE --


  16       THE COURT: WE DO HAVE THAT SITUATION HERE.


  17   CARTER BRYANT HAS BEEN DISMISSED. THERE IS NO CASE AGAINST


  18   CARTER BRYANT ANYMORE. YOU'VE GOT THIS RELATED BUT, FROM


  19   CARTER BRYANT'S PERSPECTIVE, IRRELEVANT CASE AGAINST MGA.


  20       MR. COREY: IT'S NOT IRRELEVANT, YOUR HONOR.


  21       THE COURT: WELL, FROM CARTER BRYANT'S PERSPECTIVE --


  22   CARTER BRYANT, AT THIS POINT, PROBABLY -- I MEAN, CERTAINLY, HE


  23   CARES BECAUSE HE HAS TO SHOW UP AS A WITNESS IN THIS CASE, BUT


  24   BEYOND THAT, AS FAR AS HE'S CONCERNED, THE CASE IS OVER; RIGHT?


  25       MR. COREY: I ACTUALLY CAN'T RESPOND TO THAT HERE,



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   1   YOUR HONOR.


   2       THE COURT: YOU CAN'T?


   3       MR. COREY: I CANNOT. BUT I WOULD LIKE THE


   4   OPPORTUNITY TO ADDRESS THAT.


   5       THE COURT: PLEASE.


   6       MR. COREY: BUT I CANNOT IN THIS CONTEXT.


   7       DOES THE COURT UNDERSTAND?


   8       I CANNOT ANSWER THAT IN OPEN COURT.


   9       THE COURT: FAIR ENOUGH.


  10       SO IT LOOKS LIKE WE'RE GOING TO HAVE TO HAVE A


  11   HEARING UNDER SEAL.


  12       MR. COREY: IF THE COURT WOULD LIKE US TO PROCEED


  13   WITH AN EX-PARTE APPLICATION, TO SERVE THEM AS A THIRD PARTY TO


  14   OBTAIN THIS INFORMATION... I'M VERY RELUCTANT TO DO THAT.


  15       THE COURT: I'M NOT ASKING YOU TO DO ANYTHING. I'M


  16   ONLY GOING TO RESOLVE THE MOTION BEFORE ME. I'M NOT GOING TO


  17   RESOLVE EX-PARTES THAT HAVEN'T BEEN FILED YET. I DON'T NEED TO


  18   ADVISE YOU IN TERMS OF WHAT OTHER RECOURSES YOU MIGHT HAVE TO


  19   OBTAIN THE SAME INFORMATION. THAT'S A SEPARATE ISSUE.


  20       MR. COREY: I UNDERSTAND.


  21       THE COURT: I HAVE A PARTICULAR MOTION BEFORE ME THAT


  22   I WANT TO RESOLVE, THAT SHOULD HAVE BEEN RESOLVED A FEW WEEKS


  23   AGO, BUT IT WASN'T.


  24       BE THAT AS IT MAY, I WANT THIS MOTION RESOLVED.


  25       WHAT OTHER RECOURSES YOU MIGHT TAKE TO GET THE



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   1   INFORMATION, THAT'S NOT BEFORE THE COURT RIGHT NOW.


   2        MR. COREY: I WOULD PREFER NOT TO DO THAT. I DON'T


   3   THINK THAT'S THE APPROPRIATE COURSE. I DO THINK THAT THE COURT


   4   CAN RESOLVE THE MOTION, AND I THINK IT SHOULD BE BY THEM


   5   COMPLYING WITH THE ORDER.


   6        THE COURT: LET ME ASK YOU THIS; AND I'LL ASK BOTH


   7   COUNSEL THIS: I CERTAINLY UNDERSTAND THE ARGUMENT. PER


   8   CHANCE, IS THERE ANY AUTHORITY WHICH MIGHT ADDRESS A SITUATION


   9   LIKE THIS?


  10        MS. ANDERSON: FUNNY YOU SHOULD ASK, YOUR HONOR.


  11   I DO HAVE A CASE, AND I DID NOT INCLUDE IT IN MY LETTER BRIEF


  12   BECAUSE BY POINTING YOUR HONOR TO THIS AUTHORITY, BY ANALOGY, I


  13   DIDN'T WANT OTHER FOLKS TO ARGUE THAT I HAD INADVERTENTLY


  14   REVEALED THE NATURE OF OUR SETTLEMENT.


  15        THE COURT: JUST HELP THE COURT OUT AND GIVE ME THE


  16   CITE, COUNSEL.


  17        MS. ANDERSON: I HAVE A CASE FOR YOU, TOO.


  18        THE COURT: IF YOU WOULD.


  19        MS. ANDERSON: THE CASE CITE IS 649 F.2D 646, AND


  20   IT'S ENTITLED DART INDUSTRIES; AND IT'S A NINTH CIRCUIT CASE.


  21        THE COURT: IF YOU WOULD PROVIDE THAT TO THE COURT,


  22   AS AN OFFICER OF THE COURT AND NOT IN ANY OTHER FUNCTION, I


  23   WOULD APPRECIATE THAT, COUNSEL.


  24        AND, OF COURSE, COUNSEL, IF YOU WOULD GIVE A COPY TO


  25   COUNSEL AS WELL.



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   1        AND I INVITE MATTEL TO DO THE SAME THING.


   2        MS. ANDERSON: YES.


   3        THE COURT: I'M NOT ASKING FOR BRIEFING AT THIS


   4   POINT, BUT IF THERE IS ANY AUTHORITY THAT...


   5        MS. ANDERSON: THE DISCUSSION STARTS ON PAGE 490.


   6        THE COURT: WHY DON'T WE DO THIS: I DON'T WANT TO


   7   TAKE TOO MUCH MORE TIME HERE, BECAUSE I DO WANT TO START THE


   8   TRIAL AT 9:00. BUT, COUNSEL, I WOULD ASK YOU, PERHAPS DURING


   9   THE BREAK, IF WE COULD HAVE OUR SESSION IN CHAMBERS AND


  10   CONTINUE THIS. WE'LL BE BREAKING IN ABOUT AN HOUR AND


  11   15 MINUTES OR 20 MINUTES, AROUND 10:20 OR SO. IF I COULD ASK


  12   YOU TO STAY AROUND UNTIL THEN. AND THEN WE'LL GO FROM THE


  13   COURT INTO CHAMBERS AND CONTINUE THIS CONVERSATION.


  14        AND IN THE MEANTIME, I SUGGEST, MR. COREY, IF YOU


  15   COULD LOOK AT THIS CASE, AND IF THERE'S ANYTHING ELSE THAT YOU


  16   WANT TO PRESENT TO THE COURT, JUST BY WAY OF AUTHORITY, AND


  17   THEN WE CAN RESOLVE THIS.


  18        MR. COREY: OF COURSE, YOUR HONOR.


  19        MS. ANDERSON: THANK YOU, YOUR HONOR.


  20        THE COURT: LET'S TAKE UP THE LITTLER MENDELSON


  21   MATTER.


  22        MR. MILLER: WILLIAM MILLER, FOR LITTLER MENDELSON.


  23        THE COURT: THERE IS A MOTION TO COMPEL A DEPOSITION,


  24   ESSENTIALLY, OF YOUR FIRM, OF THE PERSON MOST KNOWLEDGEABLE.


  25        ARE YOU FAMILIAR WITH THAT MOTION?



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   1       MR. MILLER: NO.


   2       THE COURT: HAVE YOU HAD A CHANCE TO REVIEW THAT?


   3       MR. MILLER: I'VE BEEN GIVEN A TRANSCRIPT OF THE


   4   PROCEEDING ON MONDAY, IN WHICH A REPRESENTATION WAS MADE THAT


   5   LITTLER MENDELSON WAS REPRESENTED, WHICH IT WAS NOT.


   6       WITH RESPECT TO THAT MOTION, WHAT LITTLER THINKS IT


   7   WAS BASED ON WAS A DECEMBER MOTION THAT WAS MADE, APPARENTLY,


   8   TO BE HEARD BY JUDGE INFANTE.


   9       THE COURT: YES.


  10       MR. MILLER: AND THEY GAVE ME THAT. BUT THAT DOESN'T


  11   SEEM TO BE THE MOTION THAT'S BEFORE THE COURT, BECAUSE, READING


  12   IT, IT SEEMS, ON ITS FACE, THAT THE ISSUE WAS WHAT THE STATE OF


  13   THE COMPUTER INFORMATION WAS AT A PARTICULAR DATE, WHEN, IN


  14   EFFECT, A SNAPSHOT WAS TAKEN OF THAT. BUT ALL OF THE QUESTIONS


  15   ARE WHAT HAPPENED AFTER THAT, WHICH DOESN'T MAKE ANY SENSE. SO


  16   I DON'T THINK THAT'S THE MOTION.


  17       SO THERE MUST BE ANOTHER MOTION THAT IS BEFORE THE


  18   COURT THAT I DON'T HAVE.


  19       THE COURT: LET ME ASK COUNSEL.


  20       WHO'S REPRESENTING --


  21       MR. PROCTOR: I BELIEVE IT'S THE SAME MOTION,


  22   YOUR HONOR.


  23       THE COURT: IT'S THROUGH THIS MOTION THAT PART OF THE


  24   RELIEF THAT YOU'RE SEEKING IS AN ORDER FROM THE COURT TO


  25   BASICALLY PROVIDE A 30(B) DEPOSITION, OR A



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   1   PERSON-MOST-KNOWLEDGEABLE DEPOSITION, FROM LITTLER MENDELSON


   2   TO, IN FACT, PROVIDE ANY FACTUAL INFORMATION, NONPRIVILEGED


   3   FACTUAL INFORMATION, CONCERNING ANY INFORMATION THAT LITTLER


   4   MENDELSON MIGHT HAVE ABOUT THE STATUS OF SAID COMPUTER.


   5        MR. PROCTOR: CORRECT.


   6        THE COURT: THAT IS WHAT MATTEL IS SEEKING FROM THE


   7   COURT. IT WAS BEFORE JUDGE INFANTE. JUDGE INFANTE DID NOT GET


   8   AROUND TO DECIDING THIS, SO THAT'S WHY I TOOK THE MOTION BACK.


   9        I DO NOT WANT TO PROCEED UNTIL YOU'VE HAD A CHANCE TO


  10   BASICALLY REVIEW THE MOTION AND OPPOSE IT, BECAUSE IT AFFECTS


  11   YOUR RIGHTS MUCH MORE SO THAN PROBABLY ANYBODY ELSE'S RIGHTS.


  12        MR. MILLER: WHAT THE COURT HAS JUST STATED IS ALSO


  13   DIFFERENT THAN WHAT I'VE BEEN TOLD, WHICH WAS THAT


  14   JUDGE INFANTE HAD RULED ON IT AND DENIED IT.


  15        THE COURT: NO, NO, NO. THAT HAS NOT BEEN RULED ON.


  16        MR. MILLER: OKAY. THEN, AGAIN, I DON'T KNOW.


  17        THE COURT: I PUT IT OFF PRECISELY BECAUSE I ASSUMED


  18   THAT SOMEONE FROM LITTLER MENDELSON MIGHT HAVE SOMETHING TO SAY


  19   ABOUT THIS.


  20        MR. MILLER: WELL, WE'LL RESPOND IN DUE COURSE. BUT


  21   WE NEED TO, ONE, KNOW WHAT THE MOTION IS. I THINK IT'S THIS.


  22   I'VE BEEN TOLD IT'S THIS. BUT I'D LIKE TO HAVE IT FROM THE


  23   PEOPLE WHO MADE THE MOTION. AND THEN WE'LL RESPOND.


  24        THE COURT: OKAY.


  25        TIME IS SOMEWHAT OF THE ESSENCE, BECAUSE WE'RE



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   1   RESOLVING A DISCOVERY DISPUTE IN THE MIDST OF TRIAL; SO WE NEED


   2   TO MOVE EXPEDITIOUSLY ON THIS. I WILL CONTINUE THIS MATTER FOR


   3   A FEW DAYS TO GIVE YOU A CHANCE TO GET A HANDLE ON IT, BUT I'M


   4   NOT GOING TO BE ABLE TO GIVE YOU THE NORMAL TIME THAT YOU WOULD


   5   BE AFFORDED TO RESPOND TO A MOTION.


   6       MR. MILLER: UNDERSTOOD, YOUR HONOR.


   7       THE COURT: I WANT TO MAKE SURE THAT YOU HAVE


   8   EVERYTHING THAT YOU NEED.


   9       MR. MILLER: RATHER THAN TRYING TO GUESS AT IT, IT


  10   WOULD BE HELPFUL.


  11       THE COURT: FAIR ENOUGH.


  12       LET ME HAVE MR. PROCTOR STATE ON THE RECORD EXACTLY


  13   EVERYTHING THAT THE COURT HAS, BASICALLY, THAT HAS BEEN


  14   SUBMITTED TO THE COURT, AND THAT MATTEL BELIEVES IS RELEVANT TO


  15   THIS MOTION.


  16       MR. PROCTOR: IF I MAY, YOUR HONOR.


  17       THIS IS THE FIRST THAT MATTEL HAS BEEN INFORMED THAT


  18   THE KEKER FIRM IS NOT REPRESENTING LITTLER MENDELSON IN


  19   CONNECTION WITH THIS.


  20       THE COURT: THAT'S FINE. I ACCEPT THAT. AND I


  21   UNDERSTAND THAT COUNSEL JUST INDICATED THAT IT WAS A


  22   MISREPRESENTATION. BUT I UNDERSTAND THAT THERE MAY BE


  23   CONFUSION ON THIS. THAT'S WHY WE'RE HAVING A HEARING THIS


  24   MORNING.


  25       MR. PROCTOR: SURE.



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   1        AND TO ELABORATE ON WHAT THE COURT JUST SAID, THE


   2   HEARING ON "EVIDENCE ELIMINATOR" IS SCHEDULED FOR NEXT MONDAY.


   3   MR. BRYANT IS EXPECTED TO TESTIFY EARLY NEXT WEEK. THE


   4   DEPOSITION OF LITTLER MENDELSON, IF IT IS TO GO FORWARD, WE


   5   WOULD SUBMIT, NEEDS TO GO FORWARD BEFORE THEN; SO TIME TRULY IS


   6   OF THE ESSENCE ON THIS.


   7        THIS IS A MOTION THAT WE FILED SIX MONTHS AGO AT THIS


   8   STAGE, AND THE KEKER FIRM REPRESENTED LITTLER THROUGHOUT THE


   9   BRIEFING ON IT.


  10        THE MOTION WAS FILED ON DECEMBER 13, 2007. IT'S


  11   CALLED "MATTEL, INC.'S NOTICE OF MOTION AND MOTION TO COMPEL


  12   DEPOSITION OF LITTLER MENDELSON, PC, PURSUANT TO SUBPOENA."


  13   THERE IS AN OPPOSITION FROM MR. BRYANT, DATED DECEMBER 19TH.


  14   THERE IS A REPLY OF MATTEL, DATED DECEMBER 24TH. THERE IS A


  15   LETTER THAT MATTEL SENT TO JUDGE INFANTE, SEEKING A RULING ON


  16   THE MATTER, DATED MAY 7TH, WHICH HAS ATTACHMENTS WHICH


  17   INCLUDES -- AND I MAY BE ABLE TO CLARIFY THIS.


  18        JUDGE INFANTE DID HEAR THIS MOTION PRELIMINARILY. HE


  19   QUASHED THE SUBPOENA THAT WE SERVED AS TO THE DRAWINGS, AS TO


  20   THE INK TESTING ON THE DRAWINGS; SO HE QUASHED THAT; THAT HAS


  21   BEEN RESOLVED, THAT ASPECT OF THE MOTION. AS TO THE HARD


  22   DRIVES, IT HAS NOT. HE SUGGESTED HE WANTED TO HEAR WHAT


  23   HAPPENED AT THE CARTER BRYANT DEPOSITION.


  24        THERE'S A RESPONSE FROM THE KEKER FIRM, REPRESENTING


  25   LITTLER, DATED MAY 8TH. AND THEN THERE ARE A SERIES OF --



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   1       THE COURT: I WANT TO TAKE A LOOK AT THAT LATER.


   2       THAT IS EXHIBIT WHAT?


   3       MR. PROCTOR: I BELIEVE IT'S EXHIBIT 4 IN YOUR


   4   BINDER, ALTHOUGH I DON'T THINK I HAVE AN EXACT DUPLICATE OF THE


   5   BINDER THAT WENT TO THE COURT IN FRONT OF ME.


   6       THE COURT: VERY WELL.


   7       CONTINUE, COUNSEL.


   8       MR. PROCTOR: THERE IS A DECLARATION OF


   9   MICHAEL ZELLER IN SUPPORT OF THE MOTION, DATED DECEMBER 13,


  10   2007. THERE'S A DECLARATION OF JOHN TRINIDAD OF THE KEKER FIRM


  11   IN OPPOSITION TO THE MOTION, DATED DECEMBER 19, 2007. THERE'S


  12   A DECLARATION OF HEIDI FROMM OF MATTEL IN SUPPORT OF THE


  13   MOTION, DATED DECEMBER 24, 2007.


  14       TO THE BEST OF MY KNOWLEDGE, THAT IS THE RECORD.


  15       THE COURT: VERY WELL.


  16       WHAT I'M GOING TO ASK YOU TO DO IS MAKE SURE THAT


  17   COUNSEL, THIS MORNING, HAS A COPY, IS PROVIDED A COPY OF THESE


  18   DOCUMENTS, SO THAT HE CAN LEAVE THIS COURTHOUSE ARMED WITH


  19   EVERYTHING THAT IS RELEVANT TO THIS MOTION.


  20       COUNSEL, I KNOW IT'S VERY SHORT NOTICE, BUT I'M GOING


  21   TO HAVE TO GET A RESPONSE BACK FROM YOUR FIRM BY THE CLOSE OF


  22   BUSINESS TOMORROW. THAT PROVIDES YOU TWO DAYS TO REVIEW THIS.


  23   BUT WE DO HAVE A HEARING SET FOR MONDAY, AND THAT'S WHEN -- NOT


  24   FOR MONDAY.


  25       MR. PROCTOR: IT IS FOR MONDAY.



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   1       THE COURT: WHAT TIME ON MONDAY?


   2       MR. PROCTOR: 1:30.


   3       AS THE COURT KNOWS, IF IT'S ORDERED, WE NEED SOME


   4   LEAD TIME ON THE DEPOSITION ITSELF.


   5       THE COURT: WHEN IS CARTER BRYANT BEING CALLED AT


   6   THIS POINT, MR. QUINN?


   7       MR. PROCTOR: EARLY NEXT WEEK.


   8       MR. QUINN: THE WAY THINGS ARE GOING, I WOULD BE


   9   SURPRISED IF IT WERE BEFORE -- IT SHOULD BE TOWARDS THE END OF


  10   NEXT WEEK.


  11       THE COURT: MAYBE WE CAN MOVE THIS MONDAY HEARING,


  12   JUST TO GIVE COUNSEL A LITTLE BIT MORE TIME, AND ALSO TIME, IF


  13   THERE'S GOING TO BE A DEPOSITION, TO HAVE A DEPOSITION.


  14       MR. PROCTOR: ONE CONCERN, IF I MAY, WITH THAT IS,


  15   THERE HAS BEEN -- AND THIS IS WITH OUR OWN EXPERT -- THERE HAS


  16   BEEN SCHEDULING PROBLEMS, BECAUSE HE'S IN TRIAL IN ANOTHER CASE


  17   NEXT WEEK; SO GETTING HIM LINED UP FOR MONDAY IS SOMETHING THAT


  18   TOOK SOME WORK. I'M HAPPY TO LOOK INTO WHATEVER ELSE YOU WANT,


  19   BUT IF WE MOVE IT LATER IN THE WEEK, AS THE COURT SUGGESTED,


  20   THERE'S GOING TO BE LIVE TESTIMONY FROM AT LEAST THREE


  21   WITNESSES, AND IT'S GOING TO TAKE SOME TIME. AND THE COURT'S


  22   CONCERN WAS TAKING AWAY JURY TIME, WHICH I THINK IS A VALID


  23   CONCERN. IT'S NOT GOING TO BE A 15-MINUTE HEARING.


  24       THE COURT: BUT JUST SAYING THAT, IT SEEMS -- HAVING


  25   A LAW FIRM SUBMIT TO A DEPOSITION IS A SERIOUS MATTER, AND JUST



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   1   GIVING TO THE CLOSE OF BUSINESS TOMORROW, THAT JUST DOESN'T


   2   SEEM LIKE A REASONABLE AMOUNT OF TIME FOR ANY LAW FIRM. I


   3   THINK I NEED TO GIVE AT LEAST THE WEEKEND TO LITTLER MENDELSON


   4   TO ADDRESS THIS. IT JUST SEEMS THAT THAT'S REASONABLE.


   5       MR. PROCTOR: ONE SUGGESTION I CAN MAKE: WE COULD


   6   PROCEED WITH THE EVIDENTIARY HEARING WITHOUT THE BENEFIT OF THE


   7   DEPOSITION. THAT WAY, THE HEARING CAN GO FORWARD ON MONDAY;


   8   THE PARTIES WILL KNOW WHAT'S GOING TO BE IN PLAY, WHAT'S NOT


   9   GOING TO BE IN PLAY, WHICH IS IMPORTANT FOR SCHEDULING. WE


  10   NEED TO SCHEDULE THE EXPERT TESTIMONY IN FRONT OF THE JURY, IF


  11   THE EXPERT TESTIMONY IS GOING TO BE COMING IN.


  12       TO THE EXTENT WE CAN GET A RULING AS EARLY AS


  13   POSSIBLE, MONDAY, AND TO THE EXTENT THE COURT CAN GIVE SOME


  14   GUIDANCE TODAY AS TO HOW EXPEDITIOUSLY IT WILL EXPECT THE


  15   DEPOSITION TO OCCUR, SO THAT WE CAN HAVE THE RESULTS OF THE


  16   DEPOSITION BEFORE THE ACTUAL EXPERT TESTIMONY, AND POTENTIALLY,


  17   BEFORE MR. BRYANT'S TESTIMONY, THAT MIGHT BE ONE WAY TO


  18   PROCEED.


  19       THE COURT: VERY WELL.


  20       WHAT I'M GOING TO DO, COUNSEL, I'M GOING TO GIVE YOU


  21   TO THE CLOSE OF BUSINESS ON MONDAY TO RESPOND. THEN I'M GOING


  22   TO ASK YOU TO APPEAR FOR A HEARING ON -- THIS IS JUST ON THE


  23   POTENTIAL DEPOSITION FOR LITTLER MENDELSON -- ON TUESDAY


  24   MORNING AT 8:00. I'M SORRY TO BRING YOU IN SO EARLY IN THE


  25   MORNING, BUT WE'VE JUST GOT TO DO IT.



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   1       MR. MILLER: IT'S NOT A PROBLEM.


   2       THE COURT: YOU'LL HAVE THE BENEFIT OF THE DOCUMENTS


   3   TODAY. YOU'LL HAVE TODAY, TOMORROW, SATURDAY, SUNDAY, AND


   4   MONDAY TO GET A RESPONSE IN. I THINK THAT PROVIDES SUFFICIENT,


   5   ALTHOUGH EXPEDITED, OPPORTUNITY TO RESPOND. AND THEN WE'LL


   6   TAKE UP THAT ISSUE MONDAY MORNING.


   7       LET ME THINK SOME MORE ABOUT THE HEARING ON MONDAY


   8   AND WHETHER OR NOT THAT CAN PROCEED WITHOUT THIS. BUT WE'LL GO


   9   FROM THERE. BUT WE'LL HAVE THAT ON MONDAY MORNING -- I MEAN ON


  10   TUESDAY MORNING, WITH A FILING BY THE END OF THE DAY. AND ALL


  11   I'M GOING TO ASK IS THAT BY THE CLOSE OF BUSINESS ON MONDAY


  12   THAT YOU FAX TO CHAMBERS -- AND YOU CAN GET THE FAX NUMBER FROM


  13   MR. HOLMES -- WHATEVER YOUR RESPONSE IS.


  14       MR. MILLER: TWO MATTERS. ONE IS THAT MR. JACOBY,


  15   WHO IS ONE OF THE PEOPLE REQUESTED FOR DEPOSITION, HAS PAID FOR


  16   A VACATION NEXT WEEK, STARTING ON TUESDAY. AND SO THAT'S GOING


  17   TO BE AN ISSUE.


  18       MR. WICKHAM WOULD BE AVAILABLE NEXT WEEK, BUT


  19   MR. JACOBY WILL NOT BE AFTER TUESDAY.


  20       THE COURT: WELL, WHAT I BELIEVE MATTEL IS LOOKING


  21   FOR IS A DEPOSITION FROM A PERSON MOST KNOWLEDGEABLE. AND IT


  22   SOUNDS LIKE, IF SOMEONE IS NOT GOING TO BE AVAILABLE, THAT


  23   KNOWLEDGE CAN BE IMPARTED LAWYER TO LAWYER TO SOMEBODY ELSE IN


  24   THE FIRM.


  25       SO WHAT I WOULD ORDER, AS OF THIS MORNING, JUST IN



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   1   LIGHT OF WHAT I KNOW SO FAR, IS THAT IF ANYONE IS NOT GOING TO


   2   BE AVAILABLE, THAT THEY MAKE SURE THAT THE PERSON MOST


   3   KNOWLEDGEABLE AT THE LAW FIRM HAS WHATEVER INFORMATION THAT IS


   4   RELEVANT. AND YOU'RE GOING TO SEE THROUGH THESE PAPERS THE


   5   CLEAR SUBJECT MATTER THAT'S AT ISSUE HERE. IT'S RATHER


   6   LIMITED. BUT THAT INFORMATION NEEDS TO BE IMPARTED TO SOMEBODY


   7   WHO CAN COMPETENTLY TESTIFY. BECAUSE I DON'T WANT TO BE IN THE


   8   POSITION IN THE MIDDLE OF NEXT WEEK HAVING SOMEONE SAY, 'WELL,


   9   THE ONLY PERSON THAT KNOWS IT IS OFF ON VACATION,' AND THEN


  10   HAVE TO BRING THAT PERSON BACK.


  11       MR. MILLER: I UNDERSTAND A PMK DEPOSITION UNDER RULE


  12   30 IS A CORPORATE DEPOSITION; SO PERSONAL KNOWLEDGE IS NOT THE


  13   ISSUE.


  14       THE COURT: YOU NEED TO MAKE SURE THAT THERE'S


  15   SOMEBODY AVAILABLE, IF THE COURT ORDERS IT ON TUESDAY MORNING,


  16   TO SPEAK COMPETENTLY ON THIS SUBJECT MATTER FOR THE FIRM.


  17   WHOEVER THAT IS IS UP TO YOU.


  18       MR. MILLER: UNDERSTOOD.


  19       THE COURT: ANYTHING FURTHER?


  20       MR. MILLER: I'M SURE THE CONFUSION IS THAT THE KEKER


  21   FIRM REPRESENTED MR. BRYANT AND THE ISSUE RELATED TO


  22   MR. BRYANT'S FORMER COUNSEL IN DISCOVERY THAT THEY ENGAGED IN


  23   AND THE CONDUCT THEY ENGAGED IN. SO I PRESUME THAT THE


  24   CONFUSION CAME FROM THE FACT THAT THE KEKER FIRM OPPOSED THE


  25   MOTION ORIGINALLY ON BEHALF OF THEIR CLIENT, WHO WAS IN THE



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   1   CASE, ABOUT THEIR FORMER ATTORNEYS.


   2       HOWEVER, AT THE PRESENT TIME, MR. BRYANT IS NOT IN


   3   THE CASE, AND THIS IS RELATED TO THE COMPELLING TESTIMONY FROM


   4   A THIRD PARTY, AND THEY WERE NOT REPRESENTED BEFORE THIS COURT


   5   BEFORE I SHOWED UP TODAY.


   6       THE COURT: I APPRECIATE THAT. AND I DON'T KNOW IF


   7   IT'S NECESSARY FOR THE COURT TO GET TO THE BOTTOM OF WHY MATTEL


   8   IS UNDER THE BELIEF THAT THE KEKER FIRM WAS OR WAS NOT


   9   REPRESENTING. I'D RATHER NOT OPEN THAT CAN OF WORMS IF I DON'T


  10   HAVE TO. BUT SUFFICE IT TO SAY, I WANT TO HAVE A RESPONSE TO


  11   THIS FROM YOUR FIRM, AND WE WILL PROCEED ON TUESDAY MORNING.


  12       MS. ANDERSON?


  13       MS. ANDERSON: TWO VERY BRIEF STATEMENTS.


  14       LESS MY SILENCE BE TAKEN AS A CONCESSION, THE KEKER


  15   VAN NEST FIRM DID NOT REPRESENT LITTLER WITH REGARD TO THESE


  16   MATTERS. WE FILED OBJECTIONS AND MOTIONS ON BEHALF OF


  17   CARTER BRYANT WHERE HIS INTERESTS WERE IMPLICATED.


  18       SECOND OF ALL, IN TERMS OF THE TIMING OF THE


  19   SCHEDULING, I HAD UNDERSTOOD THE COURT HAD WANTED A HEARING ON


  20   MONDAY WITH RESPECT TO WHICH MR. BRYANT MAY BE TESTIFYING,


  21   DEPENDING ON WHAT THE COURT REQUESTS. AND I UNDERSTOOD THAT


  22   MATTEL WOULD BE CALLING MR. BRYANT AS A WITNESS ON TUESDAY, OR


  23   SOMETIME SHORTLY THEREAFTER.


  24       THE COURT: WE'RE NOW HEARING IT'S GOING TO BE LATER


  25   IN THE WEEK.



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   1        MS. ANDERSON: I'M NOW HEARING IT'S LATER IN THE


   2   WEEK.


   3        THE COURT: MR. BRYANT SHOULD MAKE HIMSELF AVAILABLE


   4   ON STANDBY THROUGHOUT THIS TRIAL.


   5        MS. ANDERSON: AND WE HAVE BEEN, YOUR HONOR. AND


   6   WHAT WE HAD AGREED -- WHICH IS PART OF THE PUBLIC RECORD, SO I


   7   CAN SAY IT -- IS TO APPEAR, IN PHASE 1-A, AS A WITNESS.


   8        HOWEVER, I WOULD REQUEST THAT TO THE EXTENT THIS IS


   9   TAKEN INTO ACCOUNT IN SCHEDULING OF HEARINGS -- AND IF


  10   ADDITIONAL TIME IS NEEDED TO ACCOMMODATE THE LITTLER MENDELSON


  11   LAWYERS -- PUSHING THE HEARING BACK TO ENABLE MR. BRYANT NOT TO


  12   HAVE TO TRAVEL BACK AND FORTH FROM MISSOURI MANY, MANY TIMES IN


  13   A ROW WOULD BE GREATLY APPRECIATED. AND I DON'T KNOW WHAT THE


  14   COURT HAS IN MIND FOR SCHEDULING, BUT THAT WOULD BE


  15   APPRECIATED.


  16        THE COURT: WE'VE GOT A LOT OF CALENDARS WITH A LOT


  17   OF VERY IMPORTANT PEOPLE, AND I CONSIDER EVERYONE INVOLVED IN


  18   THIS CASE IMPORTANT ON AN EQUAL LEVEL. I DO UNDERSTAND THAT


  19   THERE ARE INCONVENIENCES.


  20        MS. ANDERSON: I JUST WANTED TO RAISE THAT TO THE


  21   COURT'S ATTENTION THAT HE'S TRAVELING QUITE A DISTANCE.


  22        THE COURT: I'M MINDFUL OF THAT, AND I'M SURE MATTEL


  23   IS MINDFUL OF THAT.


  24        MS. ANDERSON: THANK YOU, YOUR HONOR.


  25        MR. ZELLER: IF I MAY JUST, FOR THE RECORD, YOUR



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   1   HONOR.


   2       I DON'T BELIEVE THAT THE COURT REALLY NEEDS TO


   3   RESOLVE THE WHOLE REPRESENTATION ISSUE.


   4       WE DON'T HAVE AN OBJECTION, THEORETICALLY, AS LONG AS


   5   IT DOES NOT CREATE TOO MUCH DELAY IN HAVING LITTLER MENDELSON


   6   FILE A SEPARATE RESPONSE. BUT FOR THE RECORD, I COMMUNICATED


   7   WITH KEITH JACOBY OF LITTLER MENDELSON IN WRITING BY E-MAIL, IN


   8   WHICH I ACTUALLY INVITED HIM AT THE OUTSET, AS TO WHETHER OR


   9   NOT HE WANTED LITTLER TO BE DIRECTLY INVOLVED. HE TOLD ME --


  10   AND THIS IS IN WRITING -- THAT HE WANTED THE KEKER FIRM TO


  11   HANDLE IT.


  12       AND BY THE WAY, THE KEKER FIRM IS THE ONE THAT DID


  13   FILE, I BELIEVE, OBJECTIONS, OR THE MOTION TO QUASH. I MEAN,


  14   THEIR NAME IS ON IT AS REPRESENTING LITTLER MENDELSON; SO I


  15   JUST WANT THE RECORD TO BE CLEAR ON THAT POINT.


  16       IN TERMS OF THE TIMING OF MR. BRYANT'S TESTIMONY, WE


  17   WILL, OF COURSE, SURELY TALK WITH MR. BRYANT'S COUNSEL AND MAKE


  18   ARRANGEMENTS AS BEST AS WE CAN. OBVIOUSLY, THERE'S ONLY SO


  19   MUCH CONTROL WE HAVE OVER THE SCHEDULE, AS THE COURT IS AWARE.


  20   BUT IT'S NOT OUR PURPOSE TO INCONVENIENCE ANYONE OR HAVE THEM


  21   WAITING AROUND ENDLESSLY. AND I'M SURE, IN THE NEXT DAY OR SO,


  22   WE'LL HAVE A CLEARER IDEA OF EXACTLY WHEN NEXT WEEK IT IS MORE


  23   LIKELY THAT MR. BRYANT WILL BE APPEARING, WHETHER IT'S LATER IN


  24   THE WEEK, WHETHER IT'S WEDNESDAY, WHATEVER THE CASE MAY BE.


  25       THE COURT: VERY GOOD.



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   1       I APPRECIATE THAT, MR. ZELLER, AND I, TOO, HOPE THAT


   2   I'M NOT GOING TO HAVE TO RESOLVE THIS ISSUE ON REPRESENTATION.


   3   I JUST THINK IT'S IMPORTANT TO GIVE LITTLER MENDELSON AN


   4   OPPORTUNITY TO RESPOND TO THIS, GIVEN THAT WE'RE ASKING -- IT'S


   5   A RATHER EXTRAORDINARY MEASURE TO HAVE ANY LAW FIRM TESTIFY IN


   6   THIS CAPACITY ABOUT INFORMATION THAT WAS GOING BACK AND FORTH


   7   BETWEEN A CLIENT. I WOULD WANT TO EXTEND THAT TO ANY LAW FIRM


   8   APPEARING BEFORE THIS COURT.


   9       MR. ZELLER: AND WE HAVE NO QUARREL WITH THAT.


  10       THE COURT: VERY WELL.


  11       IF THERE'S NOTHING ELSE THAT WE HAVE TO ADDRESS RIGHT


  12   NOW, I'D RATHER GET THE JURY IN HERE. LET'S GET A WITNESS


  13   GOING, AND WE CAN TAKE UP MATTERS DURING LUNCH TODAY AND DURING


  14   BREAKS.


  15       BRING THE JURY IN, MR. HOLMES.


  16       MR. QUINN: WE HAVE THE TIME ALLOCATIONS FOR THE


  17   WITNESS WHO APPEARED BY VIDEO YESTERDAY, O'NEAL.


  18       THE COURT: I CREDITED ALL OF THE TIME TO MATTEL, SO


  19   HOW MUCH SHOULD I SUBTRACT FOR --


  20       MR. QUINN: WELL, MGA HAD 28 SECONDS.


  21       (LAUGHTER.)


  22       THE COURT: IT'S ON YOUR TIME, COUNSEL. MY CLOCK


  23   JUST DOES MINUTES, IT DOESN'T DO SECONDS; NO SECOND HAND.


  24       IF MR. NOLAN CAN KEEP EVERY CROSS-EXAMINATION UNDER A


  25   MINUTE, HE'S NOT GOING TO LOSE A SINGLE...



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   1        MR. QUINN: I ASSUME THAT GOES BOTH WAYS.


   2        MR. NOLAN: NOW YOU TELL ME.


   3        THE COURT: THE SUBMISSION THAT YOU GAVE ME THIS


   4   MORNING, COUNSEL, I TRUST WE CAN TAKE UP LATER IN THE DAY


   5   TODAY?


   6        MR. NOLAN: YES, WE WILL, YOUR HONOR. I ONLY DID IT


   7   BECAUSE I NEED TO ASK YOUR PERMISSION TO FOLLOW UP AND FILE


   8   SOMETHING.


   9        THE COURT: LETS HOLD OFF. WE'LL TAKE THAT UP LATER.


  10        AND THEN DURING THE BREAK, WE'RE GOING TO TAKE UP THE


  11   IN-CHAMBERS MATTER WITH MS. ANDERSON.


  12        (WHEREUPON, JURORS ENTER COURTROOM.)


  13        THE COURT: COUNSEL, YOUR NEXT WITNESS.


  14        MR. ZELLER: WE WOULD CALL LUCY ARANT.


  15        THE CLERK: DO YOU SOLEMNLY STATE THAT THE TESTIMONY


  16   YOU MAY GIVE IN THE CAUSE NOW PENDING BEFORE THIS COURT SHALL


  17   BE THE TRUTH, THE WHOLE TRUTH, AND NOTHING BUT THE TRUTH, SO


  18   HELP YOU GOD?


  19        THE WITNESS: I DO.


  20        THE CLERK: PLEASE STATE YOUR FULL NAME AND SPELL


  21   YOUR LAST NAME FOR THE RECORD.


  22        THE WITNESS: LUCY ARANT, A-R-A-N-T.


  23              DIRECT EXAMINATION


  24   BY MR. ZELLER:


  25   Q   YOU AND I HAVE NOT MET. MY NAME IS MIKE ZELLER. I'M A



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   1   LAWYER FOR MATTEL.


   2        YOU ARE A LAWYER WHO HAS REPRESENTED MGA IN THE PAST;


   3   IS THAT CORRECT?


   4   A   TRUE.


   5   Q   AND YOU'RE HERE TO TESTIFY TODAY BECAUSE MATTEL SENT YOU A


   6   SUBPOENA?


   7   A   YES.


   8   Q   AND YOU STARTED PRACTICING LAW BACK IN 1980?


   9   A   YES.


  10   Q   AND YOUR AREA OF LEGAL PRACTICE IS TRADEMARK LAW; IS THAT


  11   CORRECT?


  12   A   YES.


  13   Q   YOU'VE BEEN A TRADEMARK LAWYER FOR ABOUT 25 YEARS OR SO


  14   NOW?


  15   A   YES.


  16   Q   IF YOU COULD GIVE US YOUR EDUCATIONAL BACKGROUND.


  17   A   I HAVE A BA IN SPANISH; I HAVE AN MA IN COMPARATIVE


  18   LITERATURE; AND I HAVE A JD IN LAW.


  19   Q   AND WHAT YEAR DID YOU GET YOUR LAW DEGREE?


  20   A   1980.


  21   Q   AND THAT'S WHEN YOU BEGAN PRACTICING LAW?


  22   A   YES.


  23   Q   IF YOU COULD TELL US BRIEFLY YOUR EMPLOYMENT HISTORY AS A


  24   TRADEMARK LAWYER.


  25   A   I BEGAN AT THE UNITED STATES PATENT AND TRADEMARK OFFICE



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   1   IN WASHINGTON, D.C., AS A TRADEMARK EXAMINING ATTORNEY. I THEN


   2   WORKED AT STEVEN BERRY IN SEATTLE, WASHINGTON. I THEN WORKED


   3   AT KNOBBE, MARTENS, OLSEN & BEAR IN NEWPORT BEACH, CALIFORNIA.


   4   I THEN WORKED AT BODY GLOVE, AMERICAN MARKETING WORKS. I THEN


   5   WORKED AT RUSS, AUGUST, KABAT & KENT. AND I'M PRESENTLY AT


   6   MITCHELL, SILBERBERG & KNUPP.


   7   Q   DURING THIS TIME PERIOD, THESE VARIOUS POSITIONS, YOU


   8   PRACTICED TRADEMARK LAW?


   9   A   YES.


  10   Q   IF YOU COULD PLEASE TELL US A LITTLE BIT ABOUT WHAT YOU


  11   DID WHEN YOU WERE AN EXAMINING ATTORNEY THERE AT THE U.S.


  12   TRADEMARK OFFICE.


  13   A   I LOOKED OVER PEOPLE'S APPLICATIONS FOR TRADEMARKS AND


  14   DECIDED IF THEY MET THE STATUTORY CRITERIA TO RECEIVE A


  15   TRADEMARK.


  16   Q   SO YOU'VE BEEN WORKING ON OR PREPARING TRADEMARK


  17   APPLICATIONS FOR OVER 25 YEARS NOW?


  18   A   YES.


  19   Q   AND IF YOU COULD TELL US A LITTLE BIT ABOUT WHAT A


  20   TRADEMARK APPLICATION IS.


  21   A   A TRADEMARK CAN BE A WORD OR A DESIGN OR A COMBINATION OF


  22   BOTH, AND A PERSON USES IT AS A SOURCE INDICATOR. THAT'S THE


  23   PURPOSE OF A TRADEMARK.


  24   Q   AND IN SOME CIRCUMSTANCES, PEOPLE FILE APPLICATIONS WITH


  25   THE FEDERAL GOVERNMENT, THE TRADEMARK OFFICE, IN ORDER TO GET



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   1   PROTECTION FOR THAT PARTICULAR TRADEMARK, IF THE TRADEMARK


   2   OFFICE GIVES THEM THE REGISTRATION?


   3   A   CORRECT.


   4   Q   AND THE TRADEMARK OFFICE IS PART OF THE FEDERAL


   5   GOVERNMENT?


   6   A   YES.


   7   Q   NOW, HAS IT BEEN YOUR USUAL PRACTICE, IN PREPARING


   8   TRADEMARK APPLICATIONS, TO GATHER INFORMATION FROM YOUR CLIENTS


   9   BEFORE YOU FILE IT?


  10   A   PERSONALLY OR THROUGH AN ASSISTANT?


  11   Q   EITHER WAY.


  12   A   YES.


  13   Q   WHAT KIND OF INFORMATION, JUST AS A GENERAL MATTER, DO YOU


  14   TYPICALLY GATHER, WHETHER YOURSELF OR THROUGH AN ASSISTANT,


  15   FROM YOUR CLIENTS BEFORE YOU FILE A TRADEMARK APPLICATION?


  16   A   WHAT THE MARK THAT THEY WISH TO HAVE PROTECTED IS; WHETHER


  17   OR NOT THEY'VE USED THE MARK; IF SO, THE DATES OF FIRST USE;


  18   HOW THEY'VE USED THE MARK; WAS IT ON A LABEL, A HANG TAG,


  19   PACKAGING FOR THE GOODS? IS IT A SERVICE MARK? WHO WILL OWN


  20   THE MARK? WHAT GOODS OR SERVICES IN CONNECTION WITH WHICH THE


  21   MARK WILL BE USED?


  22   Q   AND THAT'S ALL INFORMATION THAT'S IMPORTANT FOR YOU TO


  23   KNOW AS A TRADEMARK ATTORNEY IN ADVANCE OF FILING AN


  24   APPLICATION SO YOU CAN GIVE PROPER LEGAL ADVICE AND ALSO MAKE


  25   SURE THAT YOU FILE AN ACCURATE APPLICATION WITH THE TRADEMARK



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   1   OFFICE; IS THAT TRUE?


   2   A   YES.


   3   Q   YOU DID MENTION THERE WAS THIS CONCEPT OF "DATE OF FIRST


   4   USE."


   5           WHAT IS THAT?


   6   A   THERE ARE DIFFERENT TYPES OF TRADEMARK APPLICATIONS; SOME


   7   CAN BE FILED BASED ON USE, AND OTHERS CAN BE FILED ON AN


   8   INTENT-TO-USE BASIS.


   9   Q   THE DATE OF FIRST USE, JUST GENERALLY SPEAKING, IS WHEN


  10   THE NAME OR THE MARK THAT'S GOING TO BE THE SUBJECT OF THE


  11   APPLICATION WAS FIRST USED BY THE CLIENT FOR PARTICULAR GOODS


  12   OR SERVICES; IS THAT TRUE?


  13   A   WAS FIRST OFFERED FOR SALE IN INTERSTATE COMMERCE OR IN


  14   COMMERCE BETWEEN THE UNITED STATES AND A FOREIGN COUNTRY.


  15   Q   AND THAT CAN HAPPEN IN VARIOUS WAYS; RIGHT?


  16   A   I'M NOT SURE I KNOW WHAT YOU MEAN BY "VARIOUS WAYS."


  17   Q   WELL, A CLIENT CAN USE A TRADEMARK EVEN BEFORE THERE'S AN


  18   ACTUAL PRODUCT ON THE MARKET; ISN'T THAT TRUE?


  19   A   THAT WOULD BE AN INTENT-TO-USE, BECAUSE IT HADN'T BEEN


  20   OFFERED FOR SALE YET IN INTERSTATE COMMERCE.


  21   Q   THE DISTINCTION I'M MAKING HERE IS, IF IT'S OFFERED FOR


  22   SALE, THAT CAN BE SUFFICIENT AS A USE; IS THAT TRUE?


  23   A   AS LONG AS IT'S OFFERED FOR SALE IN INTERSTATE COMMERCE OR


  24   COMMERCE BETWEEN THE U.S. AND A FOREIGN COUNTRY.


  25   Q   AND YOU'VE BEEN USING THE TERM "INTERSTATE COMMERCE."



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   1        WHY DON'T YOU TELL US WHAT THAT IS.


   2   A   FROM ONE STATE TO ANOTHER.


   3   Q   IT'S SIMPLY COMMERCE THAT'S OUTSIDE THE STATE OF


   4   CALIFORNIA.


   5   A   CORRECT.


   6   Q   NOW, IN YOUR EXPERIENCE AS A TRADEMARK LAWYER, YOU'LL


   7   AGREE THAT IT'S IMPORTANT FOR YOU TO GET ACCURATE FIRST-


   8   DATE-OF-USE INFORMATION FROM YOUR CLIENT; IS THAT TRUE?


   9   A   YES.


  10   Q   AND PLEASE TELL US, GENERALLY SPEAKING, WHY THAT IS.


  11   A   BECAUSE IN THE UNITED STATES, AS OPPOSED TO SOME OTHER


  12   FOREIGN COUNTRIES, A PERSON WOULD HAVE SUPERIOR RIGHTS TO A


  13   TRADEMARK BASED ON ITS FIRST DATE OF USE, RATHER THAN THE DATE


  14   OF FILING.


  15   Q   AND HAVING ACCURATE FIRST-USE-DATE INFORMATION IS


  16   IMPORTANT, BECAUSE IT CAN AFFECT YOUR CLIENT'S RIGHTS; IS THAT


  17   TRUE?


  18   A   YES.


  19   Q   AND, IN FACT, GENERALLY SPEAKING, THERE ARE CERTAIN


  20   CIRCUMSTANCES IN WHICH, IF A CLIENT OF YOURS GIVES FALSE


  21   INFORMATION ON AN APPLICATION TO THE TRADEMARK OFFICE, ANY


  22   REGISTRATION THAT COMES ABOUT FROM IT CAN THEN BE INVALID;


  23   RIGHT?


  24   A   YES.


  25   Q   SO YOU CONSIDER THAT INFORMATION TO BE IMPORTANT IN YOUR



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   1   PRACTICE AS A TRADEMARK LAWYER; IS THAT TRUE?


   2   A   YES.


   3   Q   AND THEN, ALSO, YOU KNOW FROM YOUR EXPERIENCE IN THE


   4   TRADEMARK FIELD THAT THE TRADEMARK OFFICE ITSELF BELIEVES,


   5   EXPECTS, AND REQUIRES THAT APPLICANTS PROVIDE ACCURATE AND


   6   TRUTHFUL INFORMATION TO IT; IS THAT TRUE?


   7   A   YES.


   8   Q   BACK IN THE 2000 TIME PERIOD, YOU WERE A TRADEMARK LAWYER


   9   AT A LAW FIRM CALLED RUSS, AUGUST, KABAT & KENT; IS THAT


  10   CORRECT?


  11   A   YES.


  12   Q   AND YOU PREPARED TRADEMARK APPLICATIONS FOR MGA BACK THEN?


  13   A   YES.


  14   Q   YOU PREPARED TRADEMARK APPLICATIONS FOR MGA FOR BRATZ BACK


  15   IN 2000; IS THAT TRUE?


  16   A   YES.


  17   Q   NOW, BACK IN 2000, YOU ALSO PREPARED TRADEMARK


  18   APPLICATIONS FOR MGA FOR THE INDIVIDUAL BRATZ DOLL NAMES,


  19   SASHA, YASMIN, AND JADE; IS THAT TRUE?


  20   A   YES.


  21   Q   IN ORDER TO PREPARE THESE APPLICATIONS, YOU GATHERED


  22   INFORMATION FROM MGA.


  23        MR. NOLAN: OBJECTION. LACK OF FOUNDATION AS TO THE


  24   WORD "YOU."


  25        THE COURT: SUSTAINED.



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   1        MR. ZELLER: I'M SORRY. I'M NOT SURE I UNDERSTAND


   2   THE OBJECTION.


   3        MR. NOLAN: FOUNDATION.


   4        THE COURT: HOW SHE KNOWS.


   5        MR. ZELLER: I SEE.


   6   BY MR. ZELLER:


   7   Q   YOU WERE INVOLVED IN PREPARING THOSE APPLICATIONS FOR THE


   8   "BRATZ" NAME; IS THAT TRUE?


   9   A   YES.


  10   Q   AND YOU WERE PERSONALLY INVOLVED IN PREPARING THE


  11   APPLICATIONS FOR THE SASHA, YASMIN, AND JADE APPLICATIONS; IS


  12   THAT TRUE?


  13   A   COULD YOU PLEASE ELABORATE ON WHAT YOU MEAN BY "PERSONALLY


  14   INVOLVED."


  15   Q   YOU HAVE PERSONAL KNOWLEDGE OF WHAT WAS DONE IN PREPARING


  16   THOSE APPLICATIONS; IS THAT TRUE?


  17   A   NO.


  18   Q   THERE SHOULD BE A BINDER THERE IN FRONT OF YOU. PLEASE


  19   TURN TO TAB 11937.


  20   A   YES.


  21   Q   AND IF YOU LOOK AT THE LAST PAGE, YOU RECOGNIZE THAT THIS


  22   IS A DECLARATION THAT YOU SIGNED UNDER OATH ON OR ABOUT


  23   AUGUST 31, 2007; IS THAT TRUE?


  24   A   YES.


  25   Q   NOW, IF YOU COULD PLEASE JUST TAKE A LOOK AT PARAGRAPHS



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   1   THREE AND FOUR OF THIS DECLARATION. JUST READ IT TO YOURSELF


   2   AT THIS STAGE. AND IF YOU COULD PLEASE READ IT AND TELL ME IF


   3   THAT REFRESHES YOUR RECOLLECTION THAT YOU GATHERED INFORMATION


   4   FROM MGA IN PREPARING THOSE TRADEMARK APPLICATIONS FOR BRATZ


   5   AND THE INDIVIDUAL DOLL NAMES WE WERE DISCUSSING.


   6   A   YES.


   7   Q   HAVING HAD AN OPPORTUNITY TO READ THIS DECLARATION OF


   8   YOURS, DOES THAT REFRESH YOUR RECOLLECTION THAT YOU HAD


   9   COMMUNICATIONS WITH MGA IN WHICH YOU GATHERED INFORMATION IN


  10   CONNECTION WITH THOSE APPLICATIONS?


  11   A   NO.


  12   Q   DID PEOPLE DO THAT UNDER YOUR DIRECTION?


  13   A   YES.


  14   Q   SO THEN --


  15   A   WELL, GENERALLY SPEAKING. I DON'T KNOW ABOUT THIS


  16   PARTICULAR...


  17   Q   WELL, ISN'T IT TRUE THAT YOU HAD COMMUNICATIONS WITH MGA


  18   PERTAINING TO THE APPLICATIONS?


  19   A   I DON'T REMEMBER.


  20   Q   WELL, LET'S THEN GO BACK TO EXHIBIT 11937.


  21        YOU RECOGNIZE THIS DOCUMENT AS A DECLARATION THAT YOU


  22   SIGNED IN THIS CASE; IS THAT TRUE?


  23   A   YES.


  24   Q   AND YOU MADE IT UNDER OATH; IS THAT TRUE?


  25   A   YES.



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   1   Q   YOU READ IT BEFORE YOU SIGNED IT AND SUBMITTED IT TO THIS


   2   COURT; CORRECT?


   3   A   YES.


   4   Q   YOU SEE PARAGRAPHS THREE AND FOUR THAT I JUST DIRECTED


   5   YOUR ATTENTION TO; CORRECT?


   6   A   UH-HUH. YES.


   7        MR. ZELLER: YOUR HONOR, AT THIS TIME, I WOULD SUBMIT


   8   EXHIBIT 11937 INTO EVIDENCE; FOR THE MOMENT, JUST PARAGRAPHS


   9   THREE, FOUR, AND FIVE.


  10        THE COURT: ANY OBJECTION?


  11        MR. NOLAN: NO OBJECTION, YOUR HONOR.


  12        THE COURT: ADMITTED.


  13        YOU MAY PUBLISH THREE, FOUR, AND FIVE.


  14   BY MR. ZELLER:


  15   Q   DIRECTING YOUR ATTENTION TO PARAGRAPH THREE, IT SAYS,


  16   "WHILE AT RUSS, AUGUST, KABAT & KENT, I SERVED AS U.S.


  17   TRADEMARK COUNSEL FOR MGA ENTERTAINMENT, INC."


  18        DO YOU SEE THAT?


  19   A   YES.


  20   Q   THAT'S A TRUE STATEMENT?


  21   A   YES.


  22   Q   THE NEXT SENTENCE SAYS, "ONE OF MY RESPONSIBILITIES IN


  23   THIS CAPACITY WAS TO PREPARE INTENT-TO-USE TRADEMARK


  24   APPLICATIONS FOR BRATZ AND INDIVIDUAL BRATZ DOLLS, INCLUDING


  25   SASHA, YASMIN, AND JADE."



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   1        IS THAT A TRUE STATEMENT?


   2   A   YES.


   3   Q   THE NEXT PARAGRAPH, FOUR, SAYS, "FROM TIME TO TIME, I


   4   NECESSARILY COMMUNICATED WITH EMPLOYEES OF MGA ENTERTAINMENT,


   5   INC., TO OBTAIN INFORMATION FOR MGA'S TRADEMARK APPLICATIONS."


   6        DO YOU SEE THAT?


   7   A   YES.


   8   Q   THAT'S A TRUE STATEMENT?


   9   A   I DON'T REMEMBER ANYMORE.


  10   Q   YOU SIGNED THIS DECLARATION IN AUGUST OF LAST YEAR; IS


  11   THAT TRUE?


  12   A   YES.


  13   Q   DID YOU REMEMBER THAT YOU HAD DONE THAT, WHAT'S REFLECTED


  14   HERE IN PARAGRAPH FOUR, BACK IN AUGUST OF 2007?


  15   A   I DON'T REMEMBER.


  16   Q   SO IT'S YOUR TESTIMONY THAT YOU'RE NOT SURE ONE WAY OR


  17   ANOTHER WHETHER, WHEN YOU SIGNED THIS, YOU KNEW IT WAS TRUE.


  18   A   NO. WHEN I SIGNED IT, I BELIEVED IT TO BE TRUE.


  19   Q   AND WHY DID YOU BELIEVE IT TO BE TRUE WHEN YOU SIGNED IT?


  20   A   BECAUSE I WOULDN'T SIGN ANYTHING UNDER PENALTY OF PERJURY


  21   I DIDN'T BELIEVE TO BE TRUE.


  22   Q   WELL, MY QUESTION IS A MORE SPECIFIC ONE THAN THAT.


  23        WHAT IS IT THAT YOU DID TO SATISFY YOURSELF, IN ORDER


  24   TO MAKE THIS STATEMENT UNDER OATH, THAT IT WAS TRUE?


  25   A   I DON'T KNOW.



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   1   Q   YOU DON'T HAVE ANY REASON TO DISPUTE, AS YOU SIT HERE NOW


   2   BEFORE THE JURY, THAT WHAT YOU SAID IN PARAGRAPH FOUR IS TRUE;


   3   IS THAT CORRECT?


   4   A   I DON'T HAVE ANY REASON TO AGREE OR DISPUTE, BECAUSE I


   5   DON'T REMEMBER.


   6   Q   TELL US ALL OF THE REASONS WHY YOU WOULD DISPUTE THE


   7   CONTENT OF WHAT YOU SAID IN THIS SWORN DECLARATION AT


   8   PARAGRAPH FOUR.


   9   A   BECAUSE I MIGHT NOT HAVE BEEN THE ONE WHO HAD COMMUNICATED


  10   WITH MGA. IT MIGHT HAVE BEEN MY ASSISTANT OR MY PARALEGAL. IT


  11   MIGHT NOT HAVE BEEN ME PERSONALLY.


  12   Q   I'M NOT ASKING WHAT MIGHT HAVE HAPPENED. I'M ASKING YOU,


  13   WHAT DO YOU KNOW? AND IT SAYS HERE, "I NECESSARILY


  14   COMMUNICATED WITH EMPLOYEES OF MGA ENTERTAINMENT."


  15        DO YOU STAND BY THAT STATEMENT?


  16   A   THE "I NECESSARILY," I COULD HAVE INTERPRETED IT TO MEAN I


  17   OR THROUGH MY ASSISTANT AND MY PARALEGAL COMMUNICATED. THERE


  18   WAS SOME COMMUNICATION FROM SOMEBODY TO GET THE INFORMATION.


  19   Q   WELL, LET'S TAKE A LOOK AT PARAGRAPH FIVE.


  20        DO YOU SEE WHERE IT SAYS, QUOTE, "IN LATE 2000, FOR


  21   PURPOSES OF OBTAINING THE STRONGEST AND EARLIEST POSSIBLE


  22   TRADEMARK PROTECTION FOR THE BRATZ MARK, AND OTHER BRATZ DOLLS,


  23   I COMMUNICATED WITH PAULA TREANTAFELLES"?


  24        DO YOU SEE THAT?


  25   A   YES, I DO.



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   1   Q   IS THAT A TRUE STATEMENT?


   2   A   I DON'T REMEMBER.


   3   Q   YOU'RE NOT SURE?


   4   A   CORRECT.


   5   Q   YOU BELIEVED IT WAS A TRUE STATEMENT WHEN YOU WROTE IT


   6   BACK IN AUGUST OF 2007; IS THAT TRUE?


   7   A   I'M NOT SURE I WROTE THAT.


   8   Q   YOU DON'T THINK YOU WROTE IT?


   9   A   NO.


  10   Q   BUT YOU READ IT BEFORE YOU SIGNED IT.


  11   A   YES.


  12   Q   DO YOU HAVE ANY REASON TO DOUBT OR DISPUTE THAT THAT'S A


  13   TRUE STATEMENT?


  14   A   AGAIN, I DON'T REMEMBER WHETHER IT WAS ME OR MY ASSISTANT


  15   OR PARALEGAL.


  16   Q   BUT WHETHER IT WAS YOURSELF PERSONALLY OR THROUGH YOUR


  17   ASSISTANT, YOU DO BELIEVE THAT YOU HAD SOME COMMUNICATIONS WITH


  18   MGA AS IT PERTAINED TO THESE TRADEMARK APPLICATIONS; IS THAT


  19   CORRECT?


  20   A   ALTHOUGH I DON'T PERSONALLY REMEMBER, EITHER I OR MY


  21   ASSISTANT DID.


  22   Q   YOU'LL GENERALLY AGREE WITH ME THAT IF YOU DID NOT BELIEVE


  23   THESE STATEMENTS THAT WE'VE BEEN TALKING ABOUT HERE, IN


  24   PARAGRAPHS THREE, FOUR, AND FIVE OF YOUR DECLARATION, IF YOU


  25   DIDN'T THINK THEY WERE TRUE, YOU WOULDN'T HAVE SWORN TO THEM



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   1   UNDER OATH; IS THAT TRUE?


   2   A   TRUE.


   3   Q   NOW, IS IT THE CASE THAT BACK IN DECEMBER OF 2000, WHEN


   4   YOU WERE PREPARING THESE TRADEMARK APPLICATIONS, THAT YOU HAD


   5   OR YOUR ASSISTANT HAD, OR SOMEBODY ON YOUR BEHALF HAD, SOME


   6   COMMUNICATIONS WITH MS. TREANTAFELLES ABOUT WHEN THE "BRATZ"


   7   NAME WAS FIRST USED?


   8   A   I DON'T REMEMBER.


   9   Q   I'M SORRY?


  10   A   I DON'T REMEMBER.


  11   Q   ARE YOU DISPUTING THAT YOU DID, OR YOU'RE JUST NOT SURE?


  12   A   I DON'T REMEMBER. IT WAS EIGHT YEARS AGO. I DON'T


  13   REMEMBER.


  14   Q   IF WE COULD LOOK AT EXHIBIT 11897 FOR IDENTIFICATION.


  15   THAT SHOULD BE IN YOUR BINDER THERE. IF YOU COULD LET US KNOW


  16   WHEN YOU'VE HAD A CHANCE TO LOOK AT THAT.


  17   A   OKAY.


  18   Q   THIS IS A FAX THAT YOU HAD SENT TO PAULA TREANTAFELLES ON


  19   OR ABOUT DECEMBER 12, 2000.


  20   A   IT LOOKS LIKE IT WAS SENT BY MY ASSISTANT.


  21   Q   YOU DON'T HAVE ANY REASON TO DOUBT THAT THIS FAX WAS SENT


  22   ON YOUR BEHALF TO PAULA TREANTAFELLES ON OR ABOUT DECEMBER 12,


  23   2000; IS THAT CORRECT?


  24        MR. NOLAN: OBJECTION, YOUR HONOR. LACK OF


  25   FOUNDATION.



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   1        THE COURT: OVERRULED.


   2        THE WITNESS: COULD YOU REPEAT THE QUESTION, PLEASE.


   3   BY MR. ZELLER:


   4   Q   YOU DON'T HAVE ANY REASON TO DOUBT THAT THIS FAX, WHICH IS


   5   THIS EXHIBIT HERE, WAS SENT BY YOU, THROUGH YOUR ASSISTANT, TO


   6   PAULA TREANTAFELLES ON OR ABOUT DECEMBER 12, 2000; IS THAT


   7   CORRECT?


   8   A   IT SAYS DECEMBER 7TH HERE.


   9   Q   I APOLOGIZE.


  10        YOU DON'T HAVE ANY REASON TO DOUBT THAT'S WHEN IT WAS


  11   SENT; IS THAT CORRECT?


  12   A   THAT'S CORRECT.


  13        MR. ZELLER: YOUR HONOR, I WOULD MOVE EXHIBIT 11897


  14   INTO EVIDENCE.


  15        THE COURT: ANY OBJECTION?


  16        MR. NOLAN: YOUR HONOR, STILL LACK OF FOUNDATION AS


  17   TO WHETHER OR NOT SHE HAS PERSONAL KNOWLEDGE OF THIS DOCUMENT.


  18        THE COURT: SUSTAINED.


  19   BY MR. ZELLER:


  20   Q   PLEASE TAKE A LOOK AT THE SECOND PAGE OF THIS EXHIBIT.


  21        DO YOU SEE YOUR NAME THERE?


  22   A   YES.


  23   Q   THIS REFLECTS WHAT IS A NOTE THAT YOU EXPECT THAT YOU SENT


  24   TO PAULA TREANTAFELLES ON OR ABOUT DECEMBER 7TH; IS THAT TRUE?


  25        MR. NOLAN: OBJECTION. ASSUMES FACTS NOT IN



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   1   EVIDENCE; LACK OF FOUNDATION.


   2        THE COURT: REPHRASE.


   3   BY MR. ZELLER:


   4   Q   YOU RECOGNIZE THE SECOND PAGE AS HAVING YOUR NAME THERE AT


   5   THE BOTTOM; RIGHT?


   6   A   YES.


   7   Q   YOU DON'T HAVE ANY REASON TO DISPUTE THAT THIS IS A NOTE


   8   THAT YOU SENT TO PAULA TREANTAFELLES, WHETHER DIRECTLY OR


   9   THROUGH YOUR SECRETARY, BACK IN DECEMBER OF 2000; ISN'T THAT


  10   TRUE?


  11   A   I DON'T REMEMBER.


  12   Q   YOU ALSO SEE YOUR NAME ON OTHER PAGES OF THIS EXHIBIT; IS


  13   THAT TRUE?


  14   A   MY NAME TYPED, YOU MEAN?


  15        I DON'T SEE MY SIGNATURE. I SEE MY NAME TYPED IN.


  16   Q   I'M SORRY. I COULDN'T HEAR ALL OF THAT.


  17   A   I DON'T SEE MY SIGNATURE. I SEE MY NAME TYPED IN.


  18   Q   RIGHT. I JUST ASKED IF YOU SAW YOUR NAME ON THIS


  19   DOCUMENT.


  20   A   YES. UH-HUH.


  21   Q   ON OTHER PLACES AS WELL.


  22        TURNING TO THE FIRST PAGE, YOU RECOGNIZE THIS AS THE


  23   LETTERHEAD OF THE LAW FIRM YOU WERE WORKING AT; IS THAT TRUE?


  24   A   YES.


  25   Q   AND THEN SHARON LITTMAN, LEGAL ASSISTANT, WAS YOUR



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   1   ASSISTANT; RIGHT?


   2   A     YES.


   3   Q     AND THEN YOU ALSO RECOGNIZE THE LETTERHEAD OF THE LAW FIRM


   4   YOU WERE WORKING AT ON THE SECOND PAGE OF THIS DOCUMENT; IS


   5   THAT CORRECT?


   6   A     YES.


   7   Q     AND THE INFORMATION THAT'S REFLECTED IN THIS FAX IS THE


   8   TYPE OF INFORMATION THAT YOU REGULARLY SOLICITED FROM CLIENTS


   9   IN YOUR ROLE AS A TRADEMARK ATTORNEY; IS THAT TRUE?


  10   A     YES.


  11   Q     AND YOU DOCUMENT COMMUNICATIONS WITH YOUR CLIENTS IN THE


  12   NORMAL COURSE OF YOUR WORK AS A TRADEMARK ATTORNEY; IS THAT


  13   TRUE?


  14   A     IN GENERAL, YES.


  15   Q     AND IT WAS YOUR REGULAR PRACTICE TO DOCUMENT ANY


  16   COMMUNICATIONS WITH YOUR CLIENTS, THE KIND OF INFORMATION


  17   THAT'S SHOWN IN THIS FAX; IS THAT TRUE?


  18          MR. NOLAN: OBJECTION, YOUR HONOR. FOUNDATION AS TO


  19   "YOU" DOCUMENTED.


  20          THE COURT: CLARIFY THAT, COUNSEL, AS TO WHO WOULD DO


  21   IT.


  22   BY MR. ZELLER:


  23   Q     WAS IT YOUR REGULAR PRACTICE, WHETHER YOURSELF OR THROUGH


  24   YOUR ASSISTANT, TO DOCUMENT ANY COMMUNICATIONS WITH YOUR


  25   CLIENTS THE TYPE OF INFORMATION THAT'S SHOWN IN THIS FAX, IN



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   1   CONNECTION WITH THE PREPARATION OF TRADEMARK APPLICATIONS?


   2        MR. NOLAN: OBJECTION, YOUR HONOR. COMPOUND AS TO


   3   HER ASSISTANT AND HERSELF.


   4        THE COURT: IT IS COMPOUND. BREAK IT UP, COUNSEL.


   5   BY MR. QUINN:


   6   Q   WAS IT YOUR REGULAR PRACTICE, YOU YOURSELF, TO DOCUMENT


   7   SUCH COMMUNICATIONS?


   8   A   SOMETIMES I DID; SOMETIMES MY ASSISTANT DID.


   9   Q   BUT WHETHER IT WAS EITHER WAY, IT WAS PART OF YOUR REGULAR


  10   PRACTICE AS A TRADEMARK ATTORNEY; IS THAT TRUE?


  11   A   THAT THE MATERIAL BE DOCUMENTED.


  12   Q   AND IT WAS YOUR REGULAR PRACTICE TO DOCUMENT


  13   COMMUNICATIONS WITH YOUR CLIENTS AT OR ABOUT THE TIME THAT YOU


  14   HAD THEM; IS THAT TRUE?


  15   A   EITHER I OR MY ASSISTANT.


  16   Q   AND YOU DON'T HAVE ANY REASON TO DOUBT THAT'S WHAT YOU DID


  17   HERE WITH THIS FAX; IS THAT TRUE?


  18        MR. NOLAN: OBJECTION, YOUR HONOR. LACK OF


  19   FOUNDATION; CALLS FOR SPECULATION.


  20        THE COURT: OVERRULED.


  21        YOU MAY ANSWER THAT QUESTION.


  22        THE WITNESS: I DON'T REMEMBER ANYTHING ABOUT THIS


  23   PARTICULAR APPLICATION.


  24   BY MR. ZELLER:


  25   Q   BUT YOU'RE NOT DISPUTING THAT; RIGHT?



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   1   A   I HAVE NO PERSONAL KNOWLEDGE. I DON'T REMEMBER.


   2   Q   IT WAS YOUR REGULAR PRACTICE TO DOCUMENT, WHETHER


   3   YOURSELF -- I'LL BREAK IT DOWN, IN LIGHT OF THE COURT'S PRIOR


   4   RULING.


   5        IT WAS YOUR REGULAR PRACTICE, BACK IN THAT TIME


   6   PERIOD, TO DOCUMENT COMMUNICATIONS WITH YOUR CLIENTS ACCURATELY


   7   AND BASED ON KNOWLEDGE THAT YOU HAD AT THE TIME; ISN'T THAT


   8   TRUE?


   9        MR. NOLAN: YOUR HONOR, JUST --


  10        THE COURT: JUST THE OBJECTION, COUNSEL.


  11        MR. NOLAN: AMBIGUOUS AS TO "YOU."


  12        IS SHE TALKING ABOUT PERSONALLY?


  13        THE COURT: SUSTAINED.


  14   BY MR. ZELLER:


  15   Q   DO YOU HAVE ANY REASON TO DOUBT THAT THIS FAX THAT YOU


  16   HAVE IN FRONT OF YOU IS AN ACCURATE RECORD OF YOUR LAW FIRM,


  17   YOUR FORMER LAW FIRM?


  18        MR. NOLAN: OBJECTION. LACK OF FOUNDATION.


  19        THE COURT: OVERRULED.


  20        THE WITNESS: I CAN'T SAY ONE WAY OR THE OTHER.


  21        MR. ZELLER: I WOULD ASK THAT THIS EXHIBIT BE MOVED


  22   INTO EVIDENCE, YOUR HONOR.


  23        MR. NOLAN: YOUR HONOR, OBJECTION. LACK OF


  24   FOUNDATION.


  25        THE COURT: LET ME SEE YOU AT SIDE-BAR, COUNSEL.



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   1       (WHEREUPON, THE FOLLOWING PROCEEDINGS


   2       WERE HELD AT SIDE-BAR:)


   3       THE COURT: I DON'T KNOW WHAT TO SAY.


   4       IF THE DOCUMENT IS WHAT IT PURPORTS TO BE, THEN THIS


   5   TESTIMONY IS UNBELIEVABLE. HOWEVER, I TEND TO AGREE.


   6   TECHNICALLY, THE FOUNDATION IS NOT HERE.


   7       MR. ZELLER: HERE'S WHAT I'D LIKE TO DO, YOUR HONOR.


   8       THIS IS BEING OFFERED AS A PRIOR INCONSISTENT


   9   STATEMENT FOR IMPEACHMENT, BECAUSE SHE'S CLAIMED SHE DOES NOT


  10   REMEMBER HAVING THIS COMMUNICATION OR KNOWING ABOUT THIS


  11   COMMUNICATION.


  12       THE COURT: BUT YOU HAVEN'T SUCCEEDED IN


  13   AUTHENTICATING THAT THIS IS HER PRIOR STATEMENT.


  14       I WOULD AGREE WITH YOU, BUT THAT'S THE FOUNDATION


  15   THAT'S MISSING.


  16       COUNSEL, WHAT IS GOING ON HERE?


  17       IS THERE SOMEONE REPRESENTING THIS ATTORNEY HERE?


  18       MR. NOLAN: LARRY MCFARLAND IS, YOUR HONOR.


  19       BUT HERE'S THE POINT. THIS WOMAN FILES -- MGA WAS


  20   NOT HER PERSONAL CLIENT; IT'S THE FIRM'S CLIENT. SHE WAS ASKED


  21   TO DO SOME WORK. SHE HAS NO RECOLLECTION OF -- EACH YEAR, SHE


  22   FILES APPROXIMATELY 3,000 OR 2000 A YEAR. SHE HAS NO


  23   INDEPENDENT RECOLLECTION OF THIS PARTICULAR DOCUMENT; NO


  24   RECOLLECTION OF ANY CONVERSATIONS WITH --


  25       THE COURT: THAT'S WHY WE -- ALL OF US AS LAWYERS,



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   1   HAVE LOTS OF PAPERS THAT COME AND GO; THAT'S WHY WE -- AS YOUR


   2   BUSINESS PRACTICE, THAT'S PLACE OF BUSINESS -- YOU NEED TO LAY


   3   FOUNDATION FOR THIS AS A BUSINESS RECORD.


   4       MR. NOLAN: I UNDERSTAND THE COURT'S CONCERN.


   5       THE COURT: I DON'T WANT THERE TO BE A FRAUD ON THE


   6   COURT. BECAUSE THIS APPEARS TO THE COURT -- UNLESS IT'S A


   7   FORGERY -- IT APPEARS TO BE A STANDARD LEGAL MEMORIALIZATION.


   8   THIS IS A BUSINESS MEMORIALIZATION.


   9       MR. NOLAN: I UNDERSTAND. BUT PAULA GARCIA TESTIFIED


  10   SHE DIDN'T HAVE -- HAS NO MEMORY OF EVER RECEIVING THIS. BUT


  11   THE DOCUMENT, AT THE END OF THE DAY, HAS A JUNE 2000 --


  12   RECEIVED IN 2001. THIS ATTORNEY HAS NO INDEPENDENT


  13   RECOLLECTION OF HAVING THESE SPECIFIC CONVERSATIONS. THIS IS


  14   NO DIFFERENT THAN --


  15       THE COURT: WHERE DID THIS COME FROM?


  16       MR. ZELLER: THIS DOCUMENT WAS PRODUCED BY MGA, WHICH


  17   HAS NOT DISPUTED THE AUTHENTICITY. THEY HAVE NOT OBJECTED TO


  18   THE AUTHENTICITY; SO THAT'S NOT A FOUNDATION PROBLEM.


  19       THE COURT: UNLESS THIS IS A FORGERY BY MGA, THIS


  20   DOCUMENT IS WHAT IS BEING PURPORTED TO BE -- I'M JUST CONCERNED


  21   ABOUT WHAT'S GOING ON HERE.


  22       MR. NOLAN: YOUR HONOR, ALL SHE'S SAYING IS THAT SHE


  23   DOES NOT REMEMBER THIS DOCUMENT.


  24       THE COURT: FAIR ENOUGH.


  25       MR. NOLAN: BUT, YOUR HONOR, NO DISRESPECT INTENDED,



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   1   BUT WHEN I TRIED TO GET IN E-MAILS DIRECTED TO IVY ROSS OR


   2   DOCUMENTS FOR LILY MARTINEZ, OR EVEN VICTORIA O'CONNOR, WHEN IT


   3   DIDN'T REFRESH HER RECOLLECTION, EVEN THOUGH THE DOCUMENTS WERE


   4   COMMUNICATIONS, THEY WERE OBJECTING ON FOUNDATION.


   5        THE COURT: I GUESS, COUNSEL, I DO HOLD A SLIGHTLY


   6   DIFFERENT STANDARD WHEN I HAVE AN ATTORNEY OF LAW ADMITTED TO


   7   PRACTICE BEFORE THIS COURT, SITTING ON THE WITNESS STAND. AND


   8   I DON'T CARE WHICH SIDE PRODUCES IT, I EXPECT ATTORNEYS TO --


   9   IF THIS IS HER RECORD -- AND I DON'T KNOW IF IT IS OR NOT


  10   BECAUSE I DON'T KNOW IF THE FOUNDATION HAS BEEN LAID FOR


  11   THAT -- I EXPECT AN ATTORNEY OF RECORD TO BE ABLE TO RECOGNIZE


  12   AND AUTHENTICATE WHETHER OR NOT THIS IS THEIR RECORD.


  13        MR. ZELLER: IF I MAY ADD, YOUR HONOR, NUMBER ONE,


  14   THE DOCUMENTS THAT MR. NOLAN IS ATTEMPTING TO INTERJECT, WHICH


  15   I THINK ARE IRRELEVANT, THOSE ARE NOT DOCUMENTS THOSE PEOPLE


  16   AUTHORIZED OR RECEIVED. THAT'S THE DISTINCTION. THIS IS AN


  17   ATTORNEY.


  18        THE COURT: I UNDERSTAND THE DISTINCTION. I THINK


  19   MR. NOLAN DOES AS WELL.


  20        MR. NOLAN: ALL I'M POINTING OUT, AGAIN, IS, LET ME


  21   SHOW YOU SOMETHING. THERE ARE DOCUMENTS BACK HERE WHERE SHE


  22   WILL, I ASSUME, ADMIT BECAUSE THEY ARE HER SIGNATURES THAT ARE


  23   FILED.


  24        THE COURT: BETWEEN THE DECLARATIONS SUBMITTED, SHE


  25   DID SIGN THESE DOCUMENTS. THIS COURT HAS COMPLETE CONFIDENCE



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   1   THAT THESE DOCUMENTS AND THE FACT THESE WERE PRODUCED BY MGA --


   2   THIS COURT HAS CONFIDENCE THESE DOCUMENTS WERE, IN FACT,


   3   PRODUCED WHEN THEY WERE SAID TO BE.


   4        MR. NOLAN: THAT'S FINE. I COMPLETELY ACCEPT THE


   5   COURT'S RATIONALE. BUT ALL I'M SAYING IS THAT THEY KEEP ASKING


   6   HER 'IS THIS YOUR...' 'DID YOU DO THIS...'


   7        SHE HAS NO INDEPENDENT MEMORY OF THAT.


   8        THE COURT: I UNDERSTAND THAT'S TRUE.


   9        IF YOU LAY BUSINESS FOUNDATION --


  10        MR. ZELLER: BUT SHE WAS FIGHTING ME EVEN ON THAT,


  11   HOWEVER. SHE KEPT ON SAYING -- SHE WOULDN'T EVEN TELL ME IF


  12   SHE COULD DOUBT SOMETHING. SHE WAS SAYING 'I DON'T KNOW,' 'I


  13   DON'T REMEMBER.'


  14        MR. PRICE: HE'S ESTABLISHED THIS IS THEIR


  15   LETTERHEAD. SHE DOES IT THROUGH HER SIGNATURE. HER NAME IS ON


  16   IT. IT'S THE PRACTICE OF THE FIRM. I THINK HE'S ESTABLISHED


  17   THE BUSINESS RECORD.


  18        THE COURT: WE'RE PRETTY CLOSE TO IT. I'LL GIVE YOU


  19   LEEWAY. I SUSTAIN THE FOUNDATION AT PRESENT.


  20        MR. NOLAN: IF HE CAN ESTABLISH IT AS A BUSINESS


  21   RECORD, I WOULDN'T OBJECT ON THAT BASIS.


  22        THE COURT: I ASSURE YOU, MR. NOLAN, IF YOU CALL AN


  23   ATTORNEY AND THE SAME THING HAPPENS... IT IS JUST NONSENSE


  24   WITH AN ATTORNEY TO BE DOING THIS.


  25        MR. NOLAN: BUT FRANKLY, YOUR HONOR, I THINK THE WAY



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   1   THAT THE QUESTIONS HAVE BEEN ASKED SPECIFICALLY TO HER WITH


   2   RESPECT TO LOOKING AT THE DOCUMENT, THE DOCUMENT -- SHE DOES


   3   NOT EVEN KNOW THAT SHE SENT IT BECAUSE IT'S NOT HER SIGNED


   4   NAME. SOMEONE MAY HAVE TYPED IT FOR HER. THAT'S THE POINT.


   5           THE COURT: FAIR ENOUGH.


   6           MR. NOLAN: I THINK AS AN ATTORNEY SHE WOULD BE MORE


   7   PRECISE ON THAT PARTICULAR POINT THAN OTHERWISE.


   8           THE COURT: FAIR ENOUGH.


   9           (SIDE-BAR PROCEEDINGS CONCLUDED.)


  10           THE COURT: YOU MAY PROCEED, COUNSEL.


  11           MR. NOLAN: THE LAST OBJECTION WAS SUSTAINED,


  12   YOUR HONOR?


  13           THE COURT: YES.


  14   BY MR. ZELLER:


  15   Q   DIRECTING YOUR ATTENTION TO THE EXHIBIT THAT WE WERE


  16   DISCUSSING, THIS IS THE TYPE OF DOCUMENT THAT YOU AND YOUR FIRM


  17   MAINTAINED IN THE NORMAL COURSE OF ITS BUSINESS; IS THAT TRUE?


  18   A   THE TYPE OF DOCUMENT? YOU MEAN A FAX ON LETTERHEAD WOULD


  19   BE...


  20   Q   RIGHT. THAT REFLECTS COMMUNICATIONS THAT YOUR LAW FIRM


  21   HAD WITH YOUR CLIENTS AND ATTACHES DRAFT TRADEMARK


  22   APPLICATIONS.


  23   A   IN GENERAL, YOU MIGHT FIND INFORMATION LIKE THIS IN THE


  24   FILE.


  25   Q   AND WHEN YOU WANTED TO CHECK ON COMMUNICATIONS WITH YOUR



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   1   CLIENT OR WHAT YOU HAD SENT THEM, THIS IS THE TYPE OF DOCUMENT


   2   YOU WOULD GO BACK AND LOOK IN YOUR FILES AND FIND TO RELY UPON;


   3   IS THAT TRUE?


   4   A   IN GENERAL.


   5   Q   AND WHEN YOU WANTED TO CHECK ON THE CONTENTS OF A DRAFT


   6   TRADEMARK APPLICATION THAT YOU HAD SENT TO YOUR CLIENT, THIS IS


   7   THE TYPE OF DOCUMENT THAT YOU WOULD GO BACK AND CONSULT AND


   8   RELY ON; IS THAT TRUE?


   9   A   AT TIMES.


  10        MR. ZELLER: AGAIN, YOUR HONOR, I'D ASK THAT THIS


  11   EXHIBIT BE MOVED IN.


  12        MR. NOLAN: NO OBJECTION, YOUR HONOR.


  13        THE COURT: IT'S ADMITTED.


  14        MR. ZELLER: IF WE COULD PULL THAT EXHIBIT UP.


  15        THE COURT: YOU MAY PUBLISH.


  16   BY MR. ZELLER:


  17   Q   IF WE COULD GO TO PAGE DASH 3 AND DASH 4.


  18        DO YOU HAVE THAT IN FRONT OF YOU?


  19   A   YES.


  20   Q   AND YOU'LL SEE THAT THIS IS AN APPLICATION FOR TRADEMARK


  21   REGISTRATION FOR THE NAME "JADE" THAT YOU OR YOUR OFFICE


  22   PREPARED BACK IN THE 2000 TIME PERIOD.


  23   A   YES.


  24   Q   THIS WAS DONE FOR MGA.


  25   A   YES.



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   1   Q   DIRECTING YOUR ATTENTION, THEN, TO DASH 5 AND DASH 6, THIS


   2   IS AN APPLICATION FOR TRADEMARK REGISTRATION FOR THE NAME


   3   "YASMIN" THAT YOU OR YOUR OFFICE PREPARED FOR MGA BACK IN 2000;


   4   IS THAT TRUE?


   5   A   YES.


   6   Q   AND BY THE WAY, THE NAMES "JADE" AND "YASMIN," THOSE ARE


   7   NAMES FOR INDIVIDUAL BRATZ DOLLS; IS THAT RIGHT?


   8   A   THAT'S MY UNDERSTANDING.


   9   Q   IF WE COULD LOOK AT DASH 7 AND DASH 8.


  10        THIS IS AN APPLICATION FOR TRADEMARK REGISTRATION FOR


  11   THE NAME "SASHA" THAT YOUR LAW FIRM PREPARED FOR MGA BACK IN


  12   THE 2000 TIME PERIOD; IS THAT CORRECT?


  13   A   YES.


  14   Q   AND THEN, FINALLY, IF WE COULD LOOK AT DASH 9, DASH 10.


  15        THIS IS AN APPLICATION FOR TRADEMARK REGISTRATION FOR


  16   THE "BRATZ" NAME THAT YOU PREPARED, OR YOUR LAW FIRM PREPARED,


  17   I SHOULD SAY, BACK IN THE 2000 TIME PERIOD; IS THAT CORRECT?


  18   A   YES.


  19   Q   IF WE COULD HAVE THE FIRST PAGE OF THIS EXHIBIT, 11897.


  20   A   YES.


  21   Q   YOU'LL SEE THERE AT THE TOP -- THIS IS, OF COURSE, A FAX


  22   COVER PAGE; RIGHT?


  23   A   YES.


  24   Q   AND IT SHOWS THAT YOUR OFFICE SENT THIS FAX TO


  25   PAULA TREANTAFELLES ON DECEMBER 7, 2000; IS THAT RIGHT?



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   1   A   YES.


   2   Q   AND YOU DON'T HAVE ANY REASON TO DOUBT THAT, DO YOU?


   3   A   I DON'T KNOW ONE WAY OR ANOTHER.


   4   Q   LET'S LOOK AT THE SECOND PAGE.


   5        NOW, YOU'LL SEE THE TEXT HERE AT THE TOP. THIS IS


   6   THE SECOND PAGE. AND YOU'LL SEE THAT THE TEXT HERE REFLECTS A


   7   NOTE THAT YOU SENT, WHETHER DIRECTLY OR THROUGH YOUR ASSISTANT,


   8   TO MS. TREANTAFELLES BACK IN DECEMBER OF 2000; IS THAT RIGHT?


   9   A   YES.


  10   Q   IN FACT, IT STARTS OFF, "DEAR PAULA," WHO IS


  11   PAULA TREANTAFELLES.


  12   A   I DON'T REMEMBER.


  13   Q   YOU DON'T HAVE ANY REASON TO DOUBT THAT THAT'S WHO THE


  14   PAULA HERE IS, DO YOU?


  15   A   NO.


  16   Q   I'D LIKE TO FOCUS YOUR ATTENTION -- DO YOU SEE WHERE IT


  17   SAYS, QUOTE, "YOU INDICATED THAT ALL FOUR OF THE APPLICATIONS


  18   HAVE A DATE OF FIRST USE OF JUNE 15, 2000"?


  19        DO YOU SEE THAT?


  20   A   YES.


  21   Q   AND IT'S YOUR UNDERSTANDING THAT THE "YOU" HERE IS


  22   PAULA TREANTAFELLES.


  23   A   SO IT WOULD APPEAR.


  24   Q   YOU DON'T DENY THAT.


  25   A   I DON'T KNOW ONE WAY OR THE OTHER. I DON'T DENY IT.



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   1   Q   AND THE FOUR APPLICATIONS THAT ARE BEING REFERRED TO HERE


   2   IN THIS SENTENCE ARE THE FOUR TRADEMARK APPLICATIONS WE JUST


   3   LOOKED AT; NAMELY, FOR THE "BRATZ" NAME AND THE THREE


   4   INDIVIDUAL BRATZ DOLL NAMES; IS THAT CORRECT?


   5   A   I DON'T REMEMBER.


   6   Q   YOU DON'T HAVE ANY REASON TO DISPUTE THAT, DO YOU?


   7   A   NOT ONE WAY OR ANOTHER. I DON'T KNOW.


   8   Q   AND I TAKE IT, HAVING SEEN THIS, IT DOES NOT REFRESH YOUR


   9   RECOLLECTION WHETHER YOU HEARD FROM PAULA TREANTAFELLES, BACK


  10   IN DECEMBER OF 2000, THAT THE FIRST USE OF THE "BRATZ" NAME OR


  11   THESE THREE INDIVIDUAL BRATZ DOLL NAMES WAS JUNE 15TH OF 2000;


  12   IS THAT TRUE?


  13   A   I HAVE NO MEMORY OF THAT, NO.


  14   Q   BUT YOU'RE NOT DENYING THAT'S THE STATEMENT THAT WAS MADE;


  15   IS THAT TRUE?


  16   A   I DON'T REMEMBER.


  17   Q   SO AS FAR AS YOU CAN TELL THE JURY HERE TODAY, YOU CAN'T


  18   DISPUTE THAT THAT'S WHAT PAULA TREANTAFELLES TOLD YOU; IS THAT


  19   RIGHT?


  20   A   I CAN'T SAY ONE WAY OR ANOTHER.


  21   Q   IN THE FIRST SENTENCE HERE, YOU TALK -- THIS IS ON THE


  22   SECOND PAGE OF THIS EXHIBIT -- YOU REFER TO, QUOTE,


  23   "INTENT-TO-USE TRADEMARK APPLICATIONS FOR MR. LARIAN'S REVIEW


  24   AND SIGNATURE."


  25        DO YOU SEE THAT?



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   1   A   YES.


   2   Q   AND YOU UNDERSTAND "MR. LARIAN" HERE IS ISAAC LARIAN.


   3   A   YES.


   4   Q   NOW, ONE TYPE OF TRADEMARK APPLICATION THAT YOU'RE


   5   FAMILIAR WITH IS CALLED AN INTENT-TO-USE APPLICATION; IS THAT


   6   RIGHT?


   7   A   YES.


   8   Q   AND SOMETIMES PEOPLE ABBREVIATE THAT AS "ITU".


   9   A   YES.


  10   Q   AND EVEN THOUGH THESE TYPES OF TRADEMARK APPLICATIONS ARE


  11   CALLED "INTENT-TO-USE APPLICATIONS," YOU HAVE, AS A TRADEMARK


  12   LAWYER, PREPARED THESE APPLICATIONS EVEN WHERE THE CLIENT HAS


  13   TOLD YOU THAT THE TRADEMARK WAS ALREADY BEING USED; IS THAT


  14   TRUE?


  15   A   THAT HAS HAPPENED.


  16   Q   AND ONE REASON THAT YOU HAVE FILED ITU APPLICATIONS,


  17   INTENT-TO-USE APPLICATIONS, EVEN WHERE THE CLIENT HAS TOLD YOU


  18   THAT THEY'RE ALREADY USING THE TRADEMARK IN SOME WAY, IS


  19   BECAUSE THAT'S A FASTER PROCEDURE; YOU'D HAVE TO HAVE LESS


  20   DOCUMENTATION; IS THAT RIGHT?


  21   A   IN GENERAL, YES.


  22   Q   RETURNING TO THE SENTENCE HERE, WHERE IT SAYS, "TO


  23   PAULA TREANTAFELLES," YOU INDICATED THAT ALL FOUR OF THE


  24   APPLICATIONS HAVE A DATE OF FIRST USE OF JUNE 15, 2000.


  25        DO YOU HAVE ANY RECOLLECTION OF PAULA TREANTAFELLES



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   1   CONTACTING YOU AND TELLING YOU THAT THIS INFORMATION THAT WAS


   2   REFLECTED HERE WAS INCORRECT?


   3   A   NO.


   4   Q   DID ANYONE AT MGA?


   5   A   I DON'T REMEMBER.


   6   Q   YOU DON'T HAVE A RECOLLECTION OF THAT HAPPENING?


   7   A   NO, I DON'T REMEMBER SPEAKING WITH ANYONE AT MGA.


   8   Q   NOW, ONE WAY THAT YOU, AS A TRADEMARK ATTORNEY, HAVE


   9   TRACKED INFORMATION ABOUT TRADEMARK APPLICATIONS, WHETHER


  10   YOURSELF OR THROUGH YOUR STAFF, IS TO BASICALLY PUT THE


  11   INFORMATION INTO KINDS OF DATABASES; IS THAT RIGHT?


  12   A   SOMEONE AT THE FIRM WOULD DO IT. NOT ME.


  13   Q   IN GENERAL, AS A TRADEMARK LAWYER, YOU CONSIDER IT


  14   IMPORTANT TO TRACK THE VARIOUS DEADLINES THAT GO ALONG WITH


  15   APPLICATIONS; IS THAT TRUE?


  16   A   OH, YES.


  17   Q   AND LAW FIRMS, INCLUDING THE LAW FIRMS THAT YOU'VE WORKED


  18   AT, THEY HAVE COMPUTER DATABASES AND SOFTWARE THAT THEY USE TO


  19   MAKE SURE THAT THAT'S DONE PROPERLY.


  20   A   YES.


  21   Q   AND IT'S IMPORTANT TO MAINTAIN ACCURATE INFORMATION IN


  22   THOSE KINDS OF DATABASES; RIGHT?


  23   A   YES.


  24   Q   BECAUSE IF THERE ARE MISTAKES IN THERE, IT COULD MEAN THAT


  25   DEADLINES ARE MISSED, TRADEMARK REGISTRATIONS CAN LAPSE, AND IT



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   1   CAN OTHERWISE AFFECT THE RIGHTS OF THE CLIENT.


   2   A   TRUE.


   3   Q   AND SOMETIMES THESE KINDS OF DATABASES ARE SOMETHING


   4   CALLED "TRADEMARK DOCKETS" OR "TRADEMARK DOCKET SHEETS".


   5   A   YES.


   6   Q   AND BACK IN 2000, YOUR FIRM CREATED A TRADEMARK DOCKET


   7   SHEET THAT ALSO DOCUMENTED THIS CONVERSATION WITH


   8   PAULA TREANTAFELLES ABOUT THE JUNE 15, 2000 FIRST-USE DATE; IS


   9   THAT TRUE?


  10   A   I WOULDN'T KNOW THAT.


  11   Q   IF YOU WOULD LOOK AT EXHIBIT 11192. IN PARTICULAR, WE'LL


  12   FOCUS ON THE SECOND PAGE OF THIS DOCUMENT; IT'S THE ONE DASH


  13   TWO.


  14        YOU RECOGNIZE THIS AS A PRINTOUT OF A RUSS AUGUST


  15   TRADEMARK DOCKET SHEET; IS THAT TRUE?


  16   A   NO.


  17   Q   DO YOU HAVE ANY REASON TO DOUBT THAT'S WHAT IT IS?


  18   A   I HAVE NO REASON TO SAY ONE WAY OR ANOTHER. I'VE NEVER


  19   LOOKED AT THE DOCKET SHEET.


  20   Q   YOU'RE SAYING YOU'VE NEVER IN YOUR ENTIRE LIFE SEEN A


  21   TRADEMARK DOCKET SHEET IN THIS FORM?


  22   A   I HAVE SEEN A DOCKET SHEET, BUT IT ISN'T MY USUAL PRACTICE


  23   TO LOOK AT THE INFORMATION ON THE DOCKET SHEET.


  24   Q   WHETHER IT'S YOUR USUAL PRACTICE OR NOT, THOUGH, YOU'VE


  25   SEEN THEM.



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   1   A   I HAVE SEEN A DOCKET SHEET IN MY LIFE, YES.


   2   Q   AND YOU HAVE A GENERAL UNDERSTANDING AS TO WHAT THEY'RE


   3   USED FOR; IS THAT TRUE?


   4   A   YES.


   5   Q   AND HOW THEY'RE MAINTAINED?


   6   A   NO -- YES.


   7   Q   YOU KNOW GENERALLY THE KINDS OF INFORMATION THAT GO INTO


   8   THEM AND THE PROCESSES AND PROCEDURES THAT ARE USED TO MAINTAIN


   9   THEM; IS THAT TRUE?


  10   A   YES.


  11   Q   AND, IN FACT -- WELL, MAYBE YOU DON'T DO IT FREQUENTLY --


  12   YOU DO, FROM TIME TO TIME, CONSULT WITH THIS KIND OF


  13   INFORMATION, OR HAVE OTHER PEOPLE OBTAIN THIS KIND OF


  14   INFORMATION, SO YOU CAN PROVIDE ADVICE TO CLIENTS; IS THAT


  15   TRUE?


  16   A   COULD YOU REPEAT THE QUESTION AGAIN. I WANT TO MAKE SURE


  17   I ANSWER IT ACCURATELY.


  18   Q   SURE.


  19        WHILE I UNDERSTAND THAT YOU'RE SAYING THAT YOU DON'T


  20   CONSULT THEM FREQUENTLY, FROM TIME TO TIME, IN THE COURSE OF


  21   YOUR PRACTICE, YOU HAVE LOOKED AT TRADEMARK DOCKET SHEETS OF


  22   THIS KIND IN ORDER TO LEARN INFORMATION OR REFRESH YOURSELF


  23   ABOUT INFORMATION SO YOU CAN PROVIDE LEGAL ADVICE; IS THAT


  24   TRUE?


  25   A   I HAVE.



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   1        MR. NOLAN: IF MR. ZELLER WANTS TO OFFER THIS AS A


   2   BUSINESS RECORD --


   3        THE COURT: HE HASN'T OFFERED ANYTHING YET.


   4        MR. NOLAN: I WAS JUST GOING TO SAY I DIDN'T OBJECT


   5   TO IT. I'M JUST TRYING TO SHORTCUT THIS.


   6        MR. ZELLER: I APPRECIATE THAT.


   7        I WOULD THEN MOVE THIS EXHIBIT INTO EVIDENCE,


   8   YOUR HONOR.


   9        MR. NOLAN: WE HAVE NO OBJECTION.


  10        MR. ZELLER: THEN WE DON'T HAVE TO GO THROUGH THE


  11   BUSINESS RECORD AGAIN.


  12        THE COURT: VERY WELL.


  13        MR. QUINN: IF WE COULD PLEASE PULL UP EXHIBIT


  14   11192-2 IN EVIDENCE. ONLY PAGE 2. I'M NOT INTERESTED IN


  15   PAGE 1.


  16   BY MR. ZELLER:


  17   Q   NOW, IN GENERAL, YOU RECOGNIZE THIS AS A TRADEMARK DOCKET


  18   SHEET OF THE LAW FIRM YOU WERE WITH BACK IN 2000; IS THAT


  19   RIGHT?


  20   A   IN GENERAL.


  21   Q   AND YOU'LL SEE THAT THERE'S A CLIENT NUMBER THERE, AND


  22   HERE, IT SAYS "2067-57."


  23        DO YOU SEE THAT?


  24   A   YES.


  25   Q   AND THAT POINT 57 MEANS THAT THAT'S, LIKE, THE 57TH MATTER



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   1   THAT YOUR FIRM HAS HANDLED FOR THE PARTICULAR CLIENT? IS THAT


   2   GENERALLY TRUE?


   3   A   YES.


   4   Q   AND THEN IT SAYS, "ATTORNEY: LBA."


   5        THAT'S YOU?


   6   A   YES.


   7   Q   AND THEN IF YOU LOOK DOWN FURTHER, YOU'LL SEE THAT THE


   8   TRADEMARK REFERENCED HERE IS BRATZ.


   9   A   YES.


  10   Q   AND YOU DON'T HAVE ANY REASON TO DOUBT THAT THAT'S WHAT


  11   THIS DOCKET SHEET IS ABOUT; IT'S ABOUT BRATZ.


  12   A   CORRECT.


  13   Q   THEN IF WE CAN GO FURTHER DOWN TO THE REMARK SECTION.


  14        YOU'LL SEE, RIGHT THERE AT THE BEGINNING, IT SAYS,


  15   "DATES OF USE: 6-15-2000."


  16        DO YOU SEE THAT?


  17   A   I SEE THAT.


  18   Q   AND YOU DON'T HAVE ANY REASON TO DISPUTE THAT THAT'S THE


  19   INFORMATION THAT WAS PUT INTO THE RUSS AUGUST DOCKET SHEET; IS


  20   THAT TRUE?


  21   A   TRUE.


  22   Q   AND THEN IT GOES ON TO SAY, "CLIENT WANTS TO FILE ASAP, SO


  23   ITU STATUS AS OF 12-7-00."


  24        DO YOU SEE THAT?


  25   A   YES.



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   1   Q   AND DO YOU AGREE WITH ME THAT THIS REFLECTS THAT MGA


   2   WANTED THE APPLICATION FILED AS AN ITU SO, AS WE TALKED ABOUT


   3   EARLIER, IT COULD BE FILED AS QUICKLY AS POSSIBLE?


   4   A   THAT'S WHAT THAT NOTATION WOULD SEEM TO INDICATE.


   5        THE COURT: WHAT DOES "ITU" STAND FOR?


   6        THE WITNESS: INTENT TO USE.


   7   BY MR. ZELLER:


   8   Q   JUST A COUPLE MORE QUESTIONS, THEN.


   9        MGA IS PAYING FOR YOUR LEGAL REPRESENTATION IN THIS


  10   CASE; IS THAT TRUE?


  11   A   YES.


  12   Q   AND THE LAWYER INVOLVED IS A LARRY MCFARLAND?


  13   A   YES.


  14   Q   HE'S REPRESENTING YOU?


  15   A   YES, HE IS.


  16   Q   AND YOU'RE GENERALLY AWARE THAT MR. MCFARLAND HAS


  17   REPRESENTED MGA FOR A NUMBER OF YEARS; IS THAT TRUE?


  18   A   I WASN'T AWARE OF THAT.


  19        MR. ZELLER: THANK YOU.


  20                 CROSS-EXAMINATION


  21   BY MR. NOLAN:


  22   Q   MS. ARANT, COULD YOU TELL THE JURY APPROXIMATELY HOW MANY


  23   TRADEMARK APPLICATIONS YOU FILE FOR CLIENTS EACH YEAR.


  24   A   EACH YEAR? WELL, I HAPPENED TO LOOK UP THAT I FILED 4,917


  25   SINCE 2000.



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   1   Q   I'M NOT GOING TO ASK YOU QUESTIONS ABOUT EACH ONE OF


   2   THOSE; BUT GENERALLY, IF I DID, WOULD YOU BE ABLE TO RECALL ANY


   3   OF THEM SPECIFICALLY?


   4   A   NOT ONCE. DEPENDS HOW RECENTLY I'VE DONE THEM; BUT NO.


   5   Q   WHAT ABOUT GOING BACK EIGHT YEARS?


   6   A   DEFINITELY NOT.


   7   Q   HAVE YOU OR YOUR ASSISTANT, IN ANY OF THOSE 4,917


   8   APPLICATIONS, EVER NOTICED A TYPO OR AN ERROR BEING MADE IN A


   9   PARTICULAR APPLICATION?


  10   A   YES.


  11   Q   WHAT HAPPENS WHEN THERE'S A MISTAKE IN AN APPLICATION? IS


  12   THERE A PROCEDURE WHEREBY A CLIENT CAN CORRECT THOSE ERRORS?


  13   A   YES.


  14   Q   CAN YOU EXPLAIN TO THE JURY HOW THOSE PROCEDURES FOR


  15   CORRECTING ERRORS OCCUR.


  16   A   YOU CAN FILE A NEW STATEMENT OF USE OR A NEW ALLEGATION OF


  17   USE WITH THE TRADEMARK OFFICE, SAYING THERE HAD BEEN A MISTAKE


  18   IN THE ORIGINAL DATES OF USE AND YOU WISH TO CORRECT IT.


  19   Q   AND WERE THOSE NOTICES OF CORRECTION FILED?


  20   A   IN CERTAIN CASES, YES.


  21   Q   AND WHERE ARE THEY FILED?


  22   A   AT THE UNITED STATES PATENT AND TRADEMARK OFFICE.


  23   Q   THOSE ARE PUBLIC FILINGS?


  24   A   YES, THEY ARE.


  25   Q   AS YOU SIT HERE TODAY -- AND I KNOW YOUR RECOLLECTION IS



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   1   NOT GOOD, BUT IN THAT LAST DOCUMENT --


   2        MR. NOLAN: CAN WE GO BACK TO THE LAST EXHIBIT THAT


   3   WAS UP FOR THE JURY.


   4   BY MR. NOLAN:


   5   Q   THIS IS EXHIBIT 11192-002.


   6        DID YOU INPUT ANY OF THIS DATA?


   7   A   NO.


   8   Q   IF WE COULD JUST GO DOWN TO DATES OF USE.


   9        IF I UNDERSTAND FROM YOUR TESTIMONY, MS. ARANT, THE


  10   DATES OF USE WOULD BE THAT THE PRODUCT HAD BEEN OFFERED FOR


  11   SALE IN EITHER INTERSTATE COMMERCE, FOREIGN, OR IN THE UNITED


  12   STATES; CORRECT?


  13   A   YES.


  14   Q   DO YOU HAVE ANY PERSONAL KNOWLEDGE AS TO WHEN BRATZ, THE


  15   DOLL, WAS EVER OFFERED FOR SALE IN EITHER THE UNITED STATES OR


  16   FOREIGN COMMERCE?


  17   A   NO.


  18   Q   IF THERE WAS TESTIMONY IN THIS CASE FROM COMPETENT


  19   WITNESSES THAT INDICATED THAT THE BRATZ DOLL WAS FIRST OFFERED


  20   FOR USE IN INTERSTATE COMMERCE, IN EITHER SPAIN OR THE UNITED


  21   STATES, ON JUNE 15, 2001, WOULD YOU HAVE ANY BASIS TO DISPUTE


  22   THAT EVIDENCE?


  23        MR. ZELLER: MISSTATES THE TESTIMONY, YOUR HONOR.


  24   LACKS FOUNDATION.


  25        MR. NOLAN: I'M JUST ASKING IF SHE WOULD DISPUTE IT.



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   1        THE COURT: I UNDERSTAND, COUNSEL.


   2        I'M GOING TO SUSTAIN THE OBJECTION.


   3        REPHRASE YOUR QUESTION.


   4   BY MR. NOLAN:


   5   Q   A PRIOR EMPLOYEE OF MGA, VICTORIA O'CONNOR, TESTIFIED


   6   YESTERDAY THAT THE FIRST TIME THAT BRATZ WAS SOLD WAS IN SPAIN


   7   IN JUNE OF 2001; AND MY QUESTION TO YOU IS, DO YOU HAVE ANY


   8   EVIDENCE OR KNOWLEDGE THAT WOULD DISPUTE VICTORIA O'CONNOR'S


   9   TESTIMONY?


  10   A   NO.


  11        MR. ZELLER: I THINK THAT STILL MISSTATES THE


  12   TESTIMONY, YOUR HONOR. IT DOES LACK FOUNDATION, IN ANY EVENT.


  13        THE COURT: OVERRULED. FOUNDATION, I'LL SUSTAIN.


  14        LAY A FOUNDATION FOR THIS WITNESS TO KNOW THAT,


  15   COUNSEL, TO DISPUTE THE JUNE 2001 DATE.


  16   BY MR. NOLAN:


  17   Q   AS I RECALL YOUR TESTIMONY, YOU HAVE NO INDEPENDENT


  18   RECOLLECTION OF ANY CONVERSATION WITH ANY REPRESENTATIVE OF


  19   MGA; CORRECT?


  20   A   CORRECT.


  21   Q   NOR DO YOU HAVE ANY RECOLLECTION OF ANY COMMUNICATIONS


  22   BETWEEN YOUR ASSISTANT AND YOURSELF REGARDING ANY


  23   COMMUNICATIONS BACK IN THE YEAR 2000 WITH A REPRESENTATIVE OF


  24   MGA; CORRECT?


  25   A   CORRECT.



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   1   Q   GOING BACK TO 11192-002. THIS IS THE TRADEMARK DOCKET


   2   ENTRY SHEET.


   3        DO YOU SEE IT SAYS, "DATES OF USE: 6-15-2000;


   4   AWAITING SPECIMENS; CLIENT WANTS TO FILE ASAP, SO ITU STATUS OF


   5   12-7-00"?


   6        THAT'S WHAT MR. ZELLER DIRECTED YOU TO.


   7        I WANT TO DIRECT YOU TO THE NEXT POINT.


   8        IT SAYS, "VICTORIA O'CONNOR AT ABC D.B.A. MGA" --


   9   THAT'S KIND OF A FANCY WAY OF SAYING IT'S MGA; RIGHT?


  10   A   YES.


  11   Q   "STATUS OF APPLICATION: SHE CALLED ON MARCH 26, 2001.


  12   SHE IS THE LICENSING DIRECTOR AT MGA. HER EXTENSION IS 194."


  13        DO YOU SEE THAT?


  14   A   YES.


  15   Q   NOW, DO YOU HAVE ANY BASIS TO SAY THAT YOUR KNOWLEDGE OF


  16   THE STATUS OF THE DATE OF FIRST USE FOR BRATZ WAS SUPERIOR TO


  17   THAT OF VICTORIA O'CONNOR?


  18   A   NO.


  19   Q   SO IF SOMEONE WANTED TO KNOW THE ACTUAL AND CORRECT DATE


  20   OF FIRST USE FOR THE BRATZ DOLL, BY LOOKING AT THIS TRADEMARK


  21   TRACKING SHEET, IF YOU HAD TO CONTACT SOMEONE, WHO WOULD YOU


  22   CONTACT TO GET THAT INFORMATION?


  23   A   VICTORIA O'CONNOR.


  24   Q   EXPLAIN TO ME AGAIN, SO THAT I'M CLEAR ON THIS, WHEN YOU


  25   SAY 'DATE OF FIRST USE FOR BRATZ: 6-15-2000.' IN YOUR MIND,



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   1   WHAT DOES THAT MEAN? THAT IT WAS ACTUALLY OFFERED FOR SALE IN


   2   INTERSTATE COMMERCE IN EITHER FOREIGN OR THE UNITED STATES?


   3   A   YES.


   4        MR. ZELLER: LACKS FOUNDATION AS TO THIS DOCUMENT.


   5        THE COURT: REPHRASE YOUR QUESTION, COUNSEL.


   6   BY MR. NOLAN:


   7   Q   WITHOUT REFERENCE TO THIS DOCUMENT, JUST BASED ON YOUR


   8   EXPERIENCE AS A LAWYER, WHAT WOULD IT MEAN IF THE DOCUMENT SAID


   9   THAT THE FIRST DATE OF USE WAS JUNE 15, 2000?


  10   A   THAT WOULD MEAN IT WAS OFFERED FOR SALE IN INTERSTATE


  11   COMMERCE OR IN COMMERCE BETWEEN THE UNITED STATES AND A FOREIGN


  12   COUNTRY.


  13   Q   WOULD IT BE SUFFICIENT JUST TO SAY THAT THE DOLL WAS IN


  14   DEVELOPMENT BUT NOT OFFERED FOR RETAIL?


  15   A   NO.


  16   Q   SO BASED ON YOUR EXPERIENCE, IN ORDER FOR THAT DATE OF


  17   FIRST USE TO BE ACCURATE, IT WOULD HAVE TO BE TIED TO THE


  18   ACTUAL DATE THAT THE BRATZ DOLL WAS OFFERED FOR RETAIL IN


  19   INTERSTATE COMMERCE; CORRECT?


  20        MR. ZELLER: FOUNDATION.


  21        THE COURT: LAY A FOUNDATION.


  22   BY MR. NOLAN:


  23   Q   HOW LONG HAVE YOU BEEN A LAWYER?


  24   A   SINCE 1980; 28 YEARS.


  25   Q   AND YOU'VE FILED OVER 4,900 APPLICATIONS?



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   1   A   YES.


   2   Q   IN THOSE APPLICATIONS, YOU, AS MR. ZELLER POINTED OUT, ARE


   3   FAMILIAR WITH THE VARIOUS TERMS THAT ARE USED IN THE TRADEMARK


   4   APPLICATIONS; CORRECT?


   5   A   YES.


   6   Q   AND YOU TRY TO BE CORRECT WHEN YOU FILE THESE


   7   APPLICATIONS?


   8   A   OF COURSE.


   9   Q   SOMETIMES YOU MAKE MISTAKES; CORRECT?


  10   A   CORRECT.


  11   Q   BUT NEVERTHELESS, YOUR UNDERSTANDING OF FIRST DATE OF USE


  12   OF A PRODUCT, FOR PURPOSES OF FILING A DOCUMENT WITH THE U.S.


  13   TRADEMARK OFFICE, IS BASED ON YOUR YEARS OF EXPERIENCE;


  14   CORRECT?


  15   A   CORRECT.


  16   Q   AS WELL AS BEING AN EXAMINER AT THE OFFICE; CORRECT?


  17   A   CORRECT.


  18   Q   SO CAN YOU PLEASE EXPLAIN TO THE JURY WHAT "DATE OF FIRST


  19   USE" MEANS WITH RESPECT TO OFFERING BRATZ FOR RETAIL.


  20   A   "DATE OF FIRST USE" MEANS FIRST OFFERED FOR SALE IN


  21   INTERSTATE COMMERCE OR OFFERED FOR SALE BETWEEN THE UNITED


  22   STATES AND A FOREIGN COUNTRY.


  23   Q   I'D LIKE YOU TO TURN YOUR ATTENTION TO EXHIBIT 00557


  24   THAT'S IN FRONT OF YOU.


  25        CAN YOU IDENTIFY FOR THE JURY WHAT THIS DOCUMENT IS.



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   1   A   IT APPEARS TO BE A COPYRIGHT REGISTRATION.


   2   Q   TURN TO 557-0003.


   3        DO YOU SEE YOUR SIGNATURE?


   4   A   YES.


   5   Q   WHAT PAGE DOES THAT APPEAR ON?


   6   A   557-003.


   7   Q   AND THIS DOCUMENT IS A COPYRIGHT APPLICATION, CERTIFICATE


   8   OF REGISTRATION, FILED WITH THE UNITED STATES COPYRIGHT AND


   9   TRADEMARK OFFICE; CORRECT?


  10   A   IT APPEARS TO BE, YES.


  11   Q   AND THIS WAS FILED ON OR AROUND JUNE 18, 2001.


  12   A   THE DATE I SEE IS JULY 16, 2001.


  13        MR. ZELLER: YOUR HONOR, THIS IS OUTSIDE THE SCOPE.


  14   WE'RE GETTING INTO DIFFERENT ISSUES THAN WAS ADDRESSED THROUGH


  15   MY DIRECT.


  16        THE COURT: OVERRULED.


  17        MR. NOLAN: THANK YOU.


  18   BY MR. NOLAN:


  19   Q   YOU'RE CORRECT ON THE DATE. I APOLOGIZE.


  20        IN ANY EVENT, DID YOU CAUSE THIS DOCUMENT TO BE FILED


  21   WITH THE COPYRIGHT OFFICE OF THE UNITED STATES OF AMERICA?


  22   A   I DON'T REMEMBER PERSONALLY.


  23   Q   BUT YOU DID SIGN IT; CORRECT?


  24   A   YES.


  25   Q   IN SIGNING IT, DID YOU HAVE THE INTENT TO HAVE IT FILED



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   1   WITH THE COPYRIGHT OFFICE?


   2   A   YES.


   3        MR. NOLAN: YOUR HONOR, WE'D OFFER


   4   EXHIBIT NUMBER 00557.


   5        MR. ZELLER: NO OBJECTION, YOUR HONOR.


   6        THE COURT: IT'S ADMITTED.


   7        MR. ZELLER: IF I COULD HAVE THIS ON THE SCREEN.


   8   BY MR. NOLAN:


   9   Q   NOW, THIS IS A DOCUMENT WITH A GOLD SEAL.


  10        SO THIS IS THE FIRST PAGE OF THE DOCUMENT THAT'S


  11   FILED WITH THE COPYRIGHT OFFICE; CORRECT?


  12   A   AGAIN, I DON'T KNOW FOR SURE, BUT IT SEEMS TO BE.


  13   Q   TURN TO THE SECOND PAGE. AND THIS IS THE CERTIFICATE, AND


  14   THERE'S A "FORM VA" ON IT.


  15        DO YOU SEE THAT?


  16   A   YES.


  17   Q   THE FIRST LINE REFERS TO THE JADE DOLL CONFIGURATION,


  18   ACCESSORIES, AND PACKAGING.


  19        DO YOU SEE THAT?


  20   A   YES.


  21   Q   TURN YOUR ATTENTION DOWN TO THE LEFT-HAND CORNER, RIGHT


  22   ABOVE "COPYRIGHT CLAIMANTS." IT SAYS, "YEAR IN WHICH CREATION


  23   OF THIS WORK WAS COMPLETED."


  24        DO YOU SEE THAT?


  25   A   YES.



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   1   Q   WHAT IS THE DATE THERE?


   2   A   2000.


   3   Q   AND THEN IT SAYS, "DATE AND NOTICE OF FIRST PUBLICATION OF


   4   THIS PARTICULAR WORK."


   5        DO YOU SEE THAT?


   6   A   YES.


   7   Q   AND THAT DATE IS FEBRUARY 12, 2001.


   8   A   YES.


   9   Q   IF YOU COULD TURN TO THE SECOND PAGE; THIS IS THE PAGE


  10   THAT HAS YOUR SIGNATURE ON IT.


  11        DO YOU RECOGNIZE YOUR SIGNATURE?


  12   A   YES.


  13   Q   AND THE DATE OF YOUR SIGNATURE IS 7-16-01.


  14   A   YES.


  15   Q   KEEPING THAT DOCUMENT CLOSE BY, FLIP TO EXHIBIT 00558.


  16        FIRST OF ALL, BEFORE I GO OFF OF THAT LAST DOCUMENT,


  17   DO YOU REMEMBER WHERE YOU GOT ANY OF THE INFORMATION THAT WAS


  18   LISTED IN THAT APPLICATION THAT YOU SIGNED?


  19   A   NO.


  20   Q   DIRECTING YOU TO 0558, DO YOU SEE THIS DOCUMENT?


  21   A   YES.


  22   Q   THIS IS A CORRECTION FORM DOCUMENT FILED WITH THE


  23   COPYRIGHT AND PATENT OFFICE; CORRECT?


  24   A   IT'S A DIFFERENT ONE THAT'S ON THE SCREEN; CORRECT?


  25        I JUST WANT TO MAKE SURE WE'RE LOOKING AT THE SAME



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   1   THING.


   2        MR. ZELLER: THIS HASN'T ACTUALLY BEEN OFFERED INTO


   3   EVIDENCE YET. I DON'T HAVE AN OBJECTION TO IT BEING


   4   INTRODUCED, BUT I DON'T THINK THERE'S FOUNDATION TO ASK THE


   5   WITNESS ABOUT IT.


   6        THE COURT: VERY WELL.


   7        MR. NOLAN: YOUR HONOR, INSTEAD OF GOING THROUGH THE


   8   FOUNDATION, COULD I JUST OFFER IT INTO EVIDENCE?


   9        THE COURT: LAY A FOUNDATION COUNSEL. KEEP IT IN


  10   ORDER.


  11   BY MR. NOLAN:


  12   Q   SO DO YOU HAVE NOW IN FRONT OF YOU 00558?


  13   A   YES.


  14   Q   AND ON THE TOP, IT SAYS "FORM CA."


  15        DO YOU SEE THAT?


  16   A   YES.


  17   Q   IT'S DATED MARCH 28, 2005.


  18   A   YES.


  19   Q   AND THERE IS A REGISTRATION NUMBER ON THERE OF VA


  20   1090-287.


  21   A   YES.


  22   Q   AND THEN RIGHT ABOVE THAT REGISTRATION NUMBER, AGAIN, IT


  23   HAS THE DESCRIPTION OF "JADE DOLL CONFIGURATION, ACCESSORIES,


  24   AND PACKAGING."


  25   A   YES.



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   1   Q   AND WHAT IS THIS DOCUMENT?


   2   A   THIS IS A CORRECTED FORM THAT YOU WOULD FILE IF THERE HAD


   3   BEEN A MISTAKE IN A COPYRIGHT.


   4   Q   AND THIS IS FILED WITH WHICH OFFICE?


   5   A   I'M NOT A COPYRIGHT ATTORNEY. I'M NOT SURE. BUT THE


   6   COPYRIGHT OFFICE.


   7   Q   IF YOU TURN TO THE SECOND PAGE, DO YOU SEE THERE THAT


   8   THERE'S A SPACE WHERE CORRECTIONS CAN BE MADE TO THE DOCUMENT


   9   THAT YOU HAD PREVIOUSLY SIGNED?


  10   A   I SEE THAT.


  11        MR. NOLAN: YOUR HONOR, WE'D OFFER THIS.


  12        MR. ZELLER: NO OBJECTION TO THE INTRODUCTION OF THE


  13   EXHIBIT; BUT, AGAIN, I DON'T THINK THERE'S PROPER FOUNDATION


  14   WITH THIS WITNESS.


  15        THE COURT: OVERRULED.


  16        YOU MAY INTRODUCE IT.


  17   BY MR. NOLAN:


  18   Q   SO THE FIRST PAGE, WE TALKED ABOUT.


  19        I JUST WANT TO GO TO THE SECOND PAGE. THIS IS THE


  20   BLOCK WHERE THERE'S ROOM FOR THE CORRECTIONS TO BE MADE.


  21        DO YOU SEE THAT?


  22   A   YES.


  23   Q   AND I JUST WANT TO MAKE CERTAIN WE PUT THIS IN CONTEXT.


  24   THE DOCUMENT THAT I SHOWED YOU FIRST, WHERE YOU WERE FILING THE


  25   COPYRIGHT APPLICATION THAT YOU SIGNED FOR JADE COLLECTIBLES,



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   1   HAD A DATE DURING WHICH CREATION OF THIS WORK WAS THE YEAR


   2   2000.


   3           DO YOU REMEMBER THAT?


   4   A   THE ONE YOU JUST SHOWED ME BUT TOLD ME TO KEEP, YES.


   5   Q   NOW, IF YOU WOULD GO BACK TO THE CORRECTED FORM, WHICH IS


   6   THE NEXT EXHIBIT. DO YOU SEE THAT?


   7   A   YES.


   8   Q   LET'S GO UP TO 3-A, LINE 3-A; YEAR OF COMPLETION:


   9   INCORRECT INFORMATION, 2000, AND THEN CORRECTED INFORMATION,


  10   YEAR 2001; CORRECT?


  11   A   I SEE THAT, YES.


  12   Q   AND THIS IS A FORM WHEREBY THE APPLICANT CAN GO BACK TO


  13   THE UNITED STATES TRADEMARK AND COPYRIGHT OFFICE AND SAY, 'HEY,


  14   ONE OF THE FORMS HAD THE WRONG DATE ON IT. IT'S EITHER A TYPO,


  15   MISINFORMED, AND THE CORRECTED INFORMATION IS THERE OF 2001';


  16   CORRECT?


  17   A   YES.


  18   Q   IF YOU COULD TURN TO 00559.


  19           DO YOU SEE THAT?


  20   A   YES.


  21   Q   AND THIS IS AN APPLICATION FOR COPYRIGHT FOR THE SASHA


  22   DOLL CONFIGURATION, ACCESSORIES, AND PACKAGING; CORRECT?


  23   A   YES.


  24   Q   AND THIS WAS FILED WITH THE COPYRIGHT OFFICE?


  25   A   YES.



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   1   Q   AND THE DATE OF CREATION ON THIS WAS THE YEAR 2000?


   2   A   YES.


   3          MR. NOLAN: YOUR HONOR, WE'D OFFER EXHIBIT NUMBER


   4   00559.


   5          MR. ZELLER: NO OBJECTION.


   6          THE COURT: IT'S ADMITTED.


   7          YOU MAY PUBLISH.


   8   BY MR. NOLAN:


   9   Q   LET'S GO TO THE YEAR, WHERE IT SAYS 2000, CREATION,


  10   SIMILAR TO THE APPLICATION FOR JADE, RIGHT, THAT I JUST SHOWED


  11   YOU?


  12   A   YES.


  13   Q   SO NOW, IF YOU COULD LOOK AT 00560, WHICH IS NEXT IN YOUR


  14   BOOK.


  15          DO YOU RECOGNIZE THIS DOCUMENT ALSO AS A CORRECTION


  16   FORM?


  17   A   YES.


  18   Q   SO THIS IS, AGAIN, THE CORRECTION FORM FOR SASHA DOLL


  19   CONFIGURATION, ACCESSORIES, AND PACKAGING, A CORRECTION FORM


  20   FOR THAT EARLIER COPYRIGHT APPLICATION; CORRECT?


  21   A   YES.


  22   Q   AND IF YOU TURN TO PAGE 2, DO YOU SEE CORRECTIONS WERE


  23   MADE ON THAT PAGE?


  24   A   YES.


  25          MR. NOLAN: YOUR HONOR, WE'D OFFER EXHIBIT NUMBER



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   1   00560.


   2        MR. ZELLER: NO OBJECTION, YOUR HONOR.


   3        THE COURT: IT'S ADMITTED.


   4        YOU MAY PUBLISH.


   5        MR. NOLAN: GO TO LINE 3-A.


   6   BY MR. NOLAN:


   7   Q   DO YOU SEE WHERE THE INCORRECT INFORMATION WAS 2000 AND


   8   THE CORRECT INFORMATION WAS THE YEAR 2001?


   9   A   YES.


  10   Q   THIS ONE APPEARS TO BE SIMILAR TO THE OTHER ONE,


  11   CORRECTING A TYPO.


  12   A   YES.


  13   Q   NOW GOING BACK TO --


  14        MR. ZELLER: LET ME MAKE A BELATED OBJECTION.


  15        "CORRECTING THE TYPO," THERE'S NO FOUNDATION FOR


  16   THAT.


  17        THE COURT: SUSTAINED.


  18   BY MR. NOLAN:


  19   Q   IT IS CORRECTING THE DATE OF 2000 TO THE YEAR 2001;


  20   CORRECT?


  21   A   YES.


  22   Q   IT APPEARS THAT THE DATE OF 2000 WAS PLACED ON THE FORM


  23   INCORRECTLY; YES?


  24   A   IT APPEARS.


  25        MR. ZELLER: FOUNDATION. AND, ALSO, THERE'S LOTS OF



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   1   LEADING QUESTIONS AS WELL.


   2        THE COURT: LET'S STOP.


   3        I SUSTAIN THE OBJECTION TO THAT LAST QUESTION.


   4   BY MR. NOLAN:


   5   Q   LET'S GO TO 00561.


   6        THE COURT: COUNSEL, THIS IS THE SAME ISSUE.


   7        COULD WE GET A STIPULATION ON THIS? IS THIS A MATTER


   8   OF DISPUTE, COUNSEL?


   9        MR. NOLAN: I'M HAPPY TO GO THROUGH IT, BECAUSE


  10   THERE'S ONLY A FEW MORE.


  11        THE COURT: MR. ZELLER?


  12        MR. ZELLER: THERE'S NOT NECESSARILY A MATTER OF


  13   DISPUTE AS TO THE AUTHENTICITY OR ADMISSIBILITY OF THESE


  14   DOCUMENTS.


  15        THE COURT: FOR ALL FOUR?


  16        MR. ZELLER: THERE IS WITH RESPECT TO WHAT THIS


  17   WITNESS CAN TESTIFY TO ABOUT THEM.


  18        THE COURT: THAT'S WHY I'M SUGGESTING A STIPULATION


  19   AT THIS POINT, IN THE INTEREST OF TIME.


  20        MR. NOLAN: IF I MIGHT, YOUR HONOR, I WOULD STIPULATE


  21   THAT WE WOULD OFFER INTO EVIDENCE THE COPYRIGHT APPLICATION


  22   MARKED 00561, FOR CLOE DOLL; AND THE CORRESPONDING CORRECTED


  23   FORM, WHICH IS TRIAL 00562; AND THEN THE CORRECTED FORM, SHOWN


  24   00563, FOR YASMIN; AND 00564, WHICH IS ANOTHER CORRECTED FORM,


  25   YOUR HONOR, FOR THE DOLLS. AND THAT'S THE LAST IN THE SERIES



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   1   OF THOSE.


   2          THE COURT: ANY OBJECTION TO THOSE THREE BEING


   3   ADMITTED, COUNSEL?


   4          MR. ZELLER: NO, YOUR HONOR.


   5          THE COURT: VERY WELL.


   6          MR. NOLAN: THANK YOU, YOUR HONOR, FOR SPEEDING THAT


   7   UP.


   8   BY MR. NOLAN:


   9   Q     HAS ANYBODY SUGGESTED TO YOU THAT YOU SHADE YOUR TESTIMONY


  10   IN THIS CASE?


  11   A     NO.


  12   Q     OR THAT YOU SHOULD FORGET APPLICATIONS THAT YOU FILED IN


  13   THE YEAR 2000?


  14   A     NO.


  15   Q     BASED ON YOUR EXPERIENCE, BOTH AS AN EXAMINER AND AS A


  16   PRACTICING ATTORNEY, HAVING FILED OVER 4,917 TRADEMARK


  17   APPLICATIONS, ATTORNEYS AND CLIENTS SOMETIMES MAKE MISTAKES;


  18   CORRECT?


  19   A     CORRECT.


  20   Q     THERE'S A PROCEDURE, AUTHORIZED BY LAW, TO MAKE


  21   CORRECTIONS; CORRECT?


  22          MR. ZELLER: QUESTION IS VAGUE AS TO WHAT CORRECTIONS


  23   HE'S TALKING ABOUT.


  24          THE COURT: FAIR ENOUGH.


  25          SPECIFY, COUNSEL.



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   1   BY MR. NOLAN:


   2   Q   SO THERE ARE PROCEDURES APPROVED BY THE COPYRIGHT OFFICE


   3   THAT ALLOW CLAIMANTS, EITHER THROUGH THEIR LAWYERS OR BY


   4   THEMSELVES, TO FILE FORMS TO CORRECT INFORMATION THAT HAS BEEN


   5   CONTAINED IN EARLIER APPLICATIONS; CORRECT?


   6   A   CORRECT.


   7   Q   AND MANY OF YOUR CLIENTS TAKE ADVANTAGE OF THE OPPORTUNITY


   8   TO CORRECT INFORMATION THAT WAS PUT IN BY ERROR ON FORMS.


   9   A   MANY?


  10   Q   SOME.


  11   A   SOME.


  12   Q   MGA IS NOT THE ONLY CLIENT THAT YOU KNOW OF WHO'S EVER


  13   FILED A CORRECTED FORM WITH THE COPYRIGHT OFFICE; IS THAT


  14   CORRECT?


  15   A   NO.


  16   Q   THANK YOU.


  17        MR. NOLAN: NOTHING FURTHER.


  18               REDIRECT EXAMINATION


  19   BY MR. ZELLER:


  20   Q   COUNSEL JUST TOOK YOU THROUGH A SERIES OF WHAT HE CALLED


  21   CORRECTION FORMS; RIGHT?


  22   A   CORRECT.


  23   Q   THOSE ARE CORRECTION FORMS WITH THE U.S. COPYRIGHT OFFICE;


  24   CORRECT?


  25   A   CORRECT.



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   1   Q   THEY ARE NOT CORRECTION FORMS WITH THE U.S. TRADEMARK


   2   OFFICE, ARE THEY?


   3   A   NO.


   4   Q   THOSE ARE SEPARATE OFFICES AND DIFFERENT PARTS OF THE


   5   FEDERAL GOVERNMENT, AREN'T THEY?


   6   A   YES.


   7   Q   AND, IN FACT, A CORRECTION IN THE COPYRIGHT OFFICE IS NOT


   8   A CORRECTION TO A TRADEMARK APPLICATION; RIGHT?


   9   A   RIGHT.


  10   Q   SO YOU'LL AGREE WITH ME THAT THOSE FORM CA'S THAT HE


  11   SHOWED YOU, THESE CORRECTIONS FOR COPYRIGHT APPLICATIONS, HAVE


  12   NOTHING TO DO WITH STATEMENTS THAT WERE MADE TO YOU, THAT WE'VE


  13   SEEN IN THESE DOCUMENTS, REGARDING THE FIRST USE OF THE "BRATZ"


  14   NAME; IS THAT TRUE?


  15   A   TRUE.


  16   Q   AND, IN FACT, ARE YOU AWARE OF ANY EFFORTS EVER MADE BY


  17   MGA TO CORRECT STATEMENTS MADE TO THE TRADEMARK OFFICE ABOUT


  18   WHEN THE "BRATZ" NAME WAS FIRST USED?


  19   A   I'M NOT AWARE, NO.


  20   Q   AND THEN FOCUSING SPECIFICALLY ON THE FACTS THAT I SHOWED


  21   YOU THAT CAME FROM YOUR OFFICE TO PAULA TREANTAFELLES, ARE YOU


  22   AWARE OF ANY EFFORT EVER MADE BY MGA TO CORRECT


  23   PAULA TREANTAFELLES'S STATEMENT THAT THE FIRST-USE DATE OF THE


  24   "BRATZ" DOLL NAME OR THE INDIVIDUAL BRATZ DOLL NAMES WAS


  25   JUNE 15, 2000?



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   1   A   NO.


   2   Q   ARE YOU AWARE OF ANY EFFORT EVER MADE BY YOUR LAW FIRM OR


   3   BY MGA TO CORRECT THE FIRST-USE DATE OF JUNE 15, 2000, FOR THE


   4   BRATZ TRADEMARK, AS REFLECTED IN THE DOCKET SHEET THAT I SHOWED


   5   YOU?


   6   A   NO.


   7   Q   NOW, YOU WERE ASKED BY COUNSEL IF YOU'VE EVER MADE A


   8   MISTAKE OR A TYPO; I HAD A TYPO IN THE DOCUMENT.


   9          DO YOU HAVE ANY INFORMATION OR KNOWLEDGE THAT THE


  10   JUNE 15, 2000 DATE REFLECTED IN YOUR FAX, THE FAX OF YOUR


  11   OFFICE, AND THE DOCKET SHEET WAS A TYPO?


  12   A   I HAVE NO INFORMATION ONE WAY OR THE OTHER.


  13   Q   YOU DON'T KNOW IF IT WAS A MISTAKE OR NOT; ISN'T THAT


  14   TRUE?


  15   A   TRUE.


  16   Q   SO YOU CAN'T TURN TO THE JURY AND TELL THEM THAT DATE WAS


  17   A TYPO OR A MISTAKE; IS THAT TRUE?


  18   A   TRUE.


  19   Q   AND I TAKE IT YOU DO NOT HAVE PERSONAL KNOWLEDGE OF WHEN


  20   THE "BRATZ" NAME WAS FIRST USED; IS THAT TRUE?


  21   A   THAT'S TRUE.


  22   Q   OR THE INDIVIDUAL DOLL NAMES?


  23   A   THAT'S TRUE.


  24   Q   AND, IN FACT, WHAT YOU DO AS A TRADEMARK LAWYER -- YOU


  25   DON'T GO OUT AND INDEPENDENTLY INVESTIGATE WHAT THE CLIENTS



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   1   TELL YOU; ISN'T THAT TRUE?


   2   A   TRUE.


   3   Q   SO IF THEY TELL YOU THE FIRST-USE DATE OF SOMETHING LIKE


   4   THE BRATZ TRADEMARK WAS JUNE 15, 2000, YOU HAVE TO RELY ON THE


   5   CLIENT.


   6   A   YES.


   7   Q   AND SO, AS FAR AS YOU KNOW, THE INFORMATION THAT WAS


   8   CONVEYED TO YOU AND WHAT'S REFLECTED IN THOSE DOCUMENTS IS, IN


   9   FACT, WHAT PAULA TREANTAFELLES SAID TO YOUR OFFICE BACK IN


  10   DECEMBER OF 2000; IS THAT TRUE?


  11   A   I DON'T KNOW ONE WAY OR ANOTHER.


  12   Q   YOU CAN'T DISPUTE IT.


  13   A   I HAVE NO REASON TO DISPUTE IT. I JUST DON'T REMEMBER.


  14   Q   YOU RECALL THAT MR. NOLAN, MGA'S COUNSEL, SHOWED YOU WHAT


  15   WAS CALLED THE "FORM CA," WHICH IS A COPYRIGHT OFFICE FORM THAT


  16   HAS NOTHING TO DO WITH THE TRADEMARKS; RIGHT?


  17   A   CORRECT.


  18   Q   AND YOU ANSWERED QUESTIONS WITH HIM ABOUT WHAT THE FORM CA


  19   MEANS; IS THAT TRUE?


  20   A   YES.


  21   Q   WHAT I'D LIKE TO DO IS -- YOUR DEPOSITION SHOULD BE UP


  22   THERE. IF YOU COULD TAKE A LOOK AT IT. I'D LIKE TO DIRECT


  23   YOUR ATTENTION TO PAGE 51, LINES 2 THROUGH 18.


  24   A   YES.


  25   Q   DO YOU SEE THAT TESTIMONY THERE?



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   1   A   YES.


   2        THE COURT: ANY OBJECTION FROM MR. NOLAN?


   3        MR. NOLAN: NO OBJECTION, YOUR HONOR.


   4        THE COURT: VERY WELL. YOU MAY PROCEED.


   5   BY MR. ZELLER:


   6   Q   YOU'LL SEE HERE THAT MR. WEBSTER, A MATTEL ATTORNEY, WAS


   7   ASKING YOU A QUESTION; RIGHT?


   8   A   YES.


   9   Q   BY THE WAY, YOU GAVE YOUR DEPOSITION IN MAY OF THIS YEAR;


  10   RIGHT?


  11   A   YES.


  12   Q   AND YOU REMEMBER THAT WHEN YOU GAVE THE DEPOSITION, YOU


  13   RAISED YOUR HAND AND YOU SWORE TO TELL THE TRUTH.


  14   A   YES.


  15   Q   YOU CERTAINLY INTENDED TO DO THAT; RIGHT?


  16   A   YES.


  17   Q   SO THEN LOOKING BACK HERE, STARTING AT LINE 2,


  18   "MR. WEBSTER, LET'S MARK AS THE NEXT EXHIBIT" -- AND THEN IT


  19   SHOWS EXHIBIT 5531 WAS MARKED.


  20        QUESTION: "HAVE YOU EVER PREPARED COPYRIGHT


  21   APPLICATIONS DURING YOUR CAREER?"


  22        ANSWER: "YES."


  23        QUESTION: "DO YOU RECOGNIZE THIS FORM AS A FORM THAT


  24   IS PREPARED FOR THE COPYRIGHT OFFICE?"


  25        ANSWER: "YES."



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   1        QUESTION: "WHAT'S THIS KIND OF FORM PREPARED FOR?


   2   WHAT REASON?"


   3        AND THERE'S AN OBJECTION.


   4        ANSWER: "YEAH. OKAY. I HAVEN'T DONE THE CA ONES IN


   5   A WHILE, SO I DON'T REALLY REMEMBER WHAT THEY'RE FOR.'


   6   BY MR. ZELLER:


   7   Q   THAT'S THE TESTIMONY THAT YOU GAVE AT YOUR DEPOSITION


   8   ABOUT A MONTH AGO.


   9   A   YES.


  10   Q   SO WHAT IS IT THAT YOU'VE DONE TO BE ABLE TO COME IN AND


  11   TELL THE JURY WHAT THE PURPOSE OF A FORM CA IS IN RESPONSE TO


  12   MR. NOLAN'S QUESTIONS?


  13   A   BECAUSE AFTER I SAW THE FORM CA, I EDUCATED MYSELF AS TO


  14   WHAT THEY'RE FOR.


  15   Q   AND SO HOW DID YOU GO ABOUT DOING THAT?


  16   A   I SPOKE WITH THE PARALEGAL IN OUR OFFICE ABOUT WHAT THE


  17   CA FORMS ARE USED FOR. I LOOKED AT A FEW OF THEM, SO I WOULD


  18   KNOW WHAT THEY'RE FOR.


  19   Q   SO YOU COULD COME IN AND TESTIFY FOR MGA?


  20   A   SO -- NO, NOT --


  21   Q   WHAT WAS THE PURPOSE, JUST BETWEEN LAST MONTH AND TODAY,


  22   SUDDENLY NOW KNOWING, OR REMEMBERING, I SHOULD SAY, THE PURPOSE


  23   OF THE FORM CA IS?


  24   A   FOR MY OWN PERSONAL BETTERMENT. I HAD SEEN THE CA AT THE


  25   DEPOSITION. I WANTED TO KNOW WHAT THEY WERE FOR AND I ASKED



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   1   THE PARALEGAL ABOUT IT.


   2   Q   SO IT WAS A COINCIDENCE.


   3   A   NO. IT WAS SOMETHING THAT I HAD BEEN EXPOSED TO AT THE


   4   DEPOSITION THAT I WANTED TO EDUCATE MYSELF ABOUT.


   5   Q   BUT YOU DID THAT ON YOUR OWN, JUST SO IN THE EVENT


   6   MR. NOLAN ASKED YOU QUESTIONS ABOUT IT, YOU COULD ANSWER HIM?


   7   A   NO. I WANTED TO KNOW FOR MY OWN BETTERMENT.


   8   Q   IF WE COULD, PLEASE -- AND THIS IS IN YOUR WHITE BINDER --


   9   TAKE A LOOK AT THE FIRST EXHIBIT, 557 IN EVIDENCE, IN


  10   PARTICULAR, THE SECOND PAGE.


  11   A   YES.


  12   Q   THAT'S ON THE SCREEN.


  13        IN PARTICULAR, YOU'LL SEE WHERE IT SAYS, "YEAR IN


  14   WHICH CREATION OF THIS WORK WAS COMPLETED."


  15        DO YOU SEE THAT?


  16   A   YES.


  17   Q   BY THE WAY, YOU FILLED OUT THIS FORM AND YOU SIGNED IT AND


  18   SENT IT TO THE COPYRIGHT OFFICE; RIGHT?


  19   A   I DON'T REMEMBER -- ACTUALLY, I DID NOT FILL IT OUT.


  20   Q   WELL, YOU SIGNED IT AS MGA'S ATTORNEY?


  21   A   YES.


  22   Q   AND IT WAS SUBMITTED TO THE COPYRIGHT OFFICE?


  23   A   YES.


  24   Q   DID YOU READ IT BEFORE IT WENT?


  25   A   YES.



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   1   Q   AND BY THE WAY, THE INFORMATION THAT'S REFLECTED IN THIS


   2   FORM, THAT'S INFORMATION THAT YOU OR YOUR OFFICE RECEIVED FROM


   3   MGA; RIGHT?


   4   A   YES.


   5   Q   SO WHERE IT SAYS, "YEAR IN WHICH CREATION OF THIS WORK WAS


   6   COMPLETED," AND IT SAYS 2000, THAT IS INFORMATION MGA GAVE YOUR


   7   OFFICE?


   8   A   I DON'T KNOW PERSONALLY IN THIS CASE, BUT --


   9   Q   YOU DON'T HAVE ANY REASON TO DOUBT THAT?


  10   A   I DON'T KNOW.


  11   Q   BUT IT'S YOUR EXPECTATION THAT'S WHERE IT CAME FROM?


  12   A   YES.


  13   Q   AND THIS FORM VA IS A COPYRIGHT APPLICATION FOR THE BRATZ


  14   JADE DOLL; ISN'T THAT TRUE?


  15   A   YES.


  16   Q   SO AT THE TIME, WHEN THIS COPYRIGHT APPLICATION WAS


  17   PREPARED AND YOU SIGNED IT AND IT WAS SUBMITTED TO THE


  18   COPYRIGHT OFFICE, YOU BELIEVED, BASED ON INFORMATION THAT MGA


  19   GAVE YOU, THAT THE JADE DOLL HAD BEEN COMPLETED BY THE END OF


  20   2000; ISN'T THAT TRUE?


  21   A   YES.


  22   Q   DIRECTING YOUR ATTENTION TO EXHIBIT 558, WHICH IS THE


  23   FORM CA FOR THIS JADE DOLL REGISTRATION. IT SHOULD BE THE NEXT


  24   ONE IN THAT WHITE BINDER.


  25   A   YES.



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   1   Q     THIS FORM CA WAS NOT SUBMITTED BY YOU; IS THAT TRUE?


   2   A     TRUE.


   3   Q     YOU YOURSELF, PRIOR TO THIS LAWSUIT, NEVER SAW THIS FORM;


   4   IS THAT TRUE?


   5   A     TRUE.


   6   Q     YOU DON'T HAVE ANY KNOWLEDGE OR INFORMATION ABOUT WHY


   7   THINGS WERE CHANGED, SHOWING IN THIS FORM, OR WHAT THE BASIS OF


   8   IT WAS; IS THAT TRUE?


   9   A     TRUE.


  10   Q     NOW, YOU'LL SEE THE DATE ON THIS IS MARCH 28, 2005.


  11   A     YES.


  12   Q     AND SO, GENERALLY, YOU UNDERSTAND THAT MGA WENT BACK TO


  13   THE COPYRIGHT OFFICE AND MADE CHANGES TO THE REPRESENTATIONS IT


  14   HAD MADE TO THE COPYRIGHT OFFICE PREVIOUSLY IN THAT


  15   REGISTRATION YOU SIGNED; RIGHT?


  16   A     I HAVE NO PERSONAL KNOWLEDGE, BUT THAT'S WHAT THIS


  17   DOCUMENT WOULD SEEM TO INDICATE.


  18   Q     YOU KNOW THAT BASED ON THE KNOWLEDGE YOU'VE NOW OBTAINED


  19   ABOUT FORM CA'S; RIGHT?


  20   A     YES.


  21   Q     AND DO YOU SEE THE DATE ON WHICH THIS WAS FILED, MARCH 28,


  22   2005?


  23   A     YES.


  24   Q     THAT'S ALMOST A YEAR AFTER THIS LAWSUIT WAS FILED; ISN'T


  25   IT?



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   1   A   I DON'T KNOW WHEN THIS LAWSUIT WAS FILED.


   2   Q   YOU DON'T HAVE ANY INFORMATION ABOUT WHETHER OR NOT


   3   MARCH 28, 2005 IS AFTER THE LAWSUIT WAS FILED, THE ONE THAT


   4   BRINGS US HERE TODAY?


   5   A   I DON'T KNOW WHEN IT WAS FILED.


   6   Q   ARE YOU PERSONALLY FAMILIAR WITH SITUATIONS WHERE YOU'VE


   7   HAD CLIENTS, AFTER LITIGATION HAS STARTED, GO BACK TO THE


   8   COPYRIGHT OFFICE THREE, FOUR YEARS LATER AND CHANGE INFORMATION


   9   IN THE COPYRIGHT APPLICATIONS THEY HAD PREVIOUSLY SUBMITTED?


  10   A   HAVE I PERSONALLY?


  11   Q   RIGHT.


  12   A   NO.


  13   Q   SO YOU CAN'T TELL US THAT'S A NORMAL EVENT; ISN'T THAT


  14   TRUE?


  15        MR. NOLAN: OBJECTION. LACK OF FOUNDATION.


  16        THE COURT: IT'S ALSO VAGUE AS TO "NORMAL." I'LL


  17   SUSTAIN THE OBJECTION TO THE QUESTION.


  18        YOU CAN REPHRASE, COUNSEL, IF YOU WISH.


  19   BY MR. ZELLER:


  20   Q   THERE'S NOT A SINGLE EPISODE IN YOUR CAREER THAT YOU CAN


  21   TELL US ABOUT WHERE YOU HAD A CLIENT GO BACK THREE, FOUR YEARS


  22   LATER, AFTER A LAWSUIT WAS FILED, AND CHANGE THE


  23   REPRESENTATIONS THEY HAD MADE TO THE COPYRIGHT OFFICE ABOUT


  24   WHEN THE WORK THAT'S AT ISSUE IN THE LAWSUIT WAS CREATED; IS


  25   THAT TRUE?



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   1   A   THAT'S TRUE.


   2   Q   DIRECTING YOUR ATTENTION TO EXHIBIT 559 --


   3        THE COURT: COUNSEL, I DON'T KNOW HOW LONG THIS IS


   4   GOING TO GO. LET'S TAKE OUR MORNING BREAK.


   5        (WHEREUPON, JURORS DEPART COURTROOM.)


   6        THE COURT: COUNSEL, WE'RE GOING TO SET UP BACK IN


   7   CHAMBERS. IT'S GOING TO TAKE US ABOUT FIVE MINUTES TO DO THIS


   8   IN-CAMERA, UNDER-SEAL HEARING.


   9        MS. ANDERSON, IF YOU WOULD COME BACK; AND COUNSEL FOR


  10   MATTEL.


  11        I KNOW YOU WANT TO BE THERE, MR. NOLAN, BUT, AGAIN,


  12   YOU'RE NOT GETTING THE SETTLEMENT AGREEMENT AT THIS POINT.


  13        I AM GOING TO ASK, ON BEHALF OF THE COURT REPORTER,


  14   TO SHUT DOWN THE REAL TIME TRANSMISSION; SO LET'S MAKE SURE


  15   THAT'S DONE. AND THEN ONCE WE'VE COMPLETED BACK THERE, THE


  16   COURT WILL TAKE ANOTHER FIVE MINUTES BEFORE WE RESUME.


  17        COURT IS IN RECESS.


  18        (BRIEF RECESS TAKEN.)


  19        THE CLERK: ALL RISE FOR THE JURY.


  20        (JURORS ENTER COURTROOM.)


  21   BY MR. ZELLER:


  22   Q   GOOD MORNING AGAIN.


  23        IF WE COULD PLEASE TAKE A LOOK AT EXHIBIT 559; AND IF


  24   WE CAN PULL THE SECOND PAGE UP ON THE SCREEN; IT'S IN EVIDENCE.


  25        YOU'LL SEE HERE THAT THIS IS A COPYRIGHT REGISTRATION



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   1   THAT YOU SIGNED AND SUBMITTED TO THE COPYRIGHT OFFICE FOR THE


   2   SASHA DOLL; IS THAT TRUE?


   3   A   I DON'T SEE MY SIGNATURE HERE. 559?


   4   Q   I APOLOGIZE. IT COULD BE THE WAY IT WAS PRODUCED IN THIS


   5   FORM; IT DOESN'T HAVE THE SIGNATURE PAGE.


   6          BUT YOU'LL SEE YOUR NAME DOES APPEAR ON THIS.


   7          MR. NOLAN: SOMETHING WAS BEING SHOWN THAT WAS


   8   INCONSISTENT WITH HER TESTIMONY. I DIDN'T KNOW WHERE THE PAGE


   9   WAS.


  10          THE COURT: IS THIS IN EVIDENCE?


  11          MR. ZELLER: I BELIEVE SO, AS 559.


  12          THE COURT: VERY WELL. YOU MAY PROCEED.


  13   BY MR. ZELLER:


  14   Q   YOU DON'T HAVE ANY REASON TO DOUBT THAT BACK IN THE 2001


  15   TIME PERIOD, YOU SIGNED AND SUBMITTED TO THE COPYRIGHT OFFICE


  16   FOR MGA FOUR DIFFERENT COPYRIGHT APPLICATIONS FOR FOUR BRATZ


  17   DOLLS; IS THAT TRUE?


  18   A   I HAVE NO REASON TO DISPUTE THAT.


  19   Q   AND FROM WHAT WE'VE SEEN IN THE DOCUMENTS, THAT WOULD BE


  20   THE CLOE DOLL, THE SASHA DOLL, AND THE JADE DOLL.


  21   A   YES.


  22   Q   AND YOU DON'T HAVE ANY REASON TO DOUBT THAT IN EACH OF


  23   THOSE APPLICATIONS, ALL FOUR OF THEM THAT YOU SUBMITTED TO THE


  24   COPYRIGHT OFFICE, THAT YOU, ON BEHALF OF MGA, REPRESENTED TO


  25   THE COPYRIGHT OFFICE THAT THE YEAR THAT THE DOLLS WERE



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   1   COMPLETED OR WAS COMPLETED WAS THE YEAR 2000; IS THAT TRUE?


   2   A   I HAVE NO REASON TO DISPUTE THAT.


   3   Q   AND YOU HAVE NO REASON TO DISPUTE THAT AS WITH RESPECT TO


   4   ALL FOUR APPLICATIONS SUBMITTED TO THE COPYRIGHT OFFICE, THAT


   5   YOU OR SOMEONE AT YOUR OFFICE RECEIVED THAT INFORMATION FROM


   6   MGA.


   7   A   TRUE.


   8   Q   IN FACT, IT'S YOUR EXPECTATION THAT'S WHERE IT CAME FROM.


   9   A   YES.


  10   Q   ISN'T IT TRUE WITH RESPECT TO ALL FOUR APPLICATIONS AND


  11   WITH RESPECT TO THE FORM CA'S THAT WERE FILED THAT MR. NOLAN


  12   SHOWED YOU FOR EACH OF THOSE REGISTRATIONS, AS FAR AS YOU KNOW,


  13   ALL OF THOSE WERE FILED AFTER THIS LAWSUIT WAS FILED; IS THAT


  14   TRUE?


  15   A   AGAIN, I DON'T KNOW WHEN THIS LAWSUIT WAS FILED, SO...


  16   Q   BUT YOU CAN'T DISPUTE THAT.


  17          MR. NOLAN: WITHOUT KNOWING THE DATE OF THE LAWSUIT,


  18   YOUR HONOR, I DON'T KNOW HOW SHE WOULD HAVE FOUNDATION TO


  19   DISPUTE IT ONE WAY OR THE OTHER.


  20          THE COURT: IS THERE A STIPULATION CONCERNING WHEN IT


  21   WAS FILED?


  22          MR. NOLAN: WHY DON'T WE STIPULATE WHEN THE FIRST


  23   LAWSUIT WAS FILED.


  24          THE COURT: LETS ELIMINATE THE MYSTERY.


  25          MR. ZELLER: I BELIEVE IT'S APRIL 27, 2004.



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   1        MR. NOLAN: WE WILL STIPULATE TO THAT, YOUR HONOR.


   2        THE COURT: MEMBERS OF THE JURY, THE LAWSUIT WAS


   3   FILED APRIL 27, 2004.


   4        YOU MAY PROCEED.


   5   BY MR. ZELLER:


   6   Q   THEN IF WE COULD LOOK AT THE OTHER FORM CA'S, AND THE


   7   FIRST ONE IS EXHIBIT 560. YOU'LL REMEMBER MR. NOLAN ASKED YOU


   8   QUESTIONS ABOUT THIS FORM CA, AND YOU SEE THIS ONE IS DATED


   9   MARCH 28, 2005.


  10   A   YES.


  11   Q   AND YOU DON'T HAVE ANY REASON TO DOUBT THAT'S WHEN IT WAS


  12   FILED; IS THAT TRUE?


  13   A   I DON'T KNOW ONE WAY OR THE OTHER.


  14   Q   DIRECTING YOUR ATTENTION TO EXHIBIT 562, ONE OF THE OTHER


  15   FORM CA'S MR. NOLAN ASKED YOU ABOUT.


  16   A   YES.


  17   Q   YOU'LL SEE THIS ONE IS DATED MARCH 28, 2005.


  18   A   YES.


  19   Q   AND YOU DON'T HAVE ANY REASON TO DOUBT THAT IS, IN FACT,


  20   WHEN IT WAS FILED; IS THAT TRUE?


  21   A   NO REASON TO DOUBT THAT.


  22   Q   AND THEN, FORTUNATELY, THE VERY LAST ONE IS EXHIBIT 564.


  23   YOU'LL SEE THIS IS ANOTHER ONE OF THE FORM CA'S THAT MR. NOLAN


  24   ASKED YOU ABOUT. YOU'LL SEE IT'S DATED MARCH 28, 2005 AS WELL.


  25   A   YES.



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   1   Q   AND YOU DON'T HAVE ANY REASON TO DISPUTE THAT IS WHEN IT


   2   WAS FILED WITH THE COPYRIGHT OFFICE CHANGING THE YEAR OF THE


   3   DATE OF CREATION OF THE DOLLS; IS THAT TRUE?


   4   A   TRUE.


   5   Q   I KNOW MR. NOLAN ASKED YOU SOME QUESTIONS ABOUT THE RATHER


   6   LARGE VOLUME OF TRADEMARK APPLICATIONS THAT YOU'VE FILED OVER


   7   THE YEARS OR BEEN RESPONSIBLE FOR OR PARTICIPATED IN FILING


   8   OVER THE YEARS. DO YOU REMEMBER THAT?


   9   A   YES.


  10   Q   BUT YOU'LL AGREE WITH ME THAT THIS CASE IS A LITTLE


  11   DIFFERENT. IN THIS CASE, YOU ACTUALLY SWORE TO CERTAIN


  12   CIRCUMSTANCES SURROUNDING THE PARTICULAR APPLICATIONS, THE


  13   TRADEMARK APPLICATIONS, FOR THE BRATZ NAME AND THE INDIVIDUAL


  14   BRATZ DOLL NAMES, WITHIN THE LAST YEAR; RIGHT?


  15   A   YOU MEAN IN THE DECLARATIONS THAT YOU WERE REFERRING TO?


  16        YES.


  17   Q   THAT'S NOT SOMETHING YOU DO ALL OF THE TIME, IS IT?


  18   A   WELL, THIS IS THE FIRST LITIGATION I'VE BEEN INVOLVED IN,


  19   SO, NO.


  20   Q   SO THAT'S PRETTY MEMORABLE.


  21   A   YES.


  22   Q   SO YOU UNDERSTOOD THAT WHEN YOU WERE SUBMITTING --


  23        LET'S ACTUALLY CLEAR SOMETHING UP FIRST, TOO.


  24        YOU SUBMITTED THAT DECLARATION BECAUSE MGA ASKED YOU


  25   TO SUBMIT IT; IS THAT TRUE?



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   1   A   YES.


   2   Q   AND YOU UNDERSTOOD THAT YOU WERE SUBMITTING THAT


   3   DECLARATION IN SUPPORT OF MGA'S EFFORTS TO WITHHOLD FROM MATTEL


   4   THE FACTS THAT I SHOWED YOU THAT REFERS TO THE JUNE 15, 2000


   5   DATE OF FIRST USE; CORRECT?


   6        MR. NOLAN: YOUR HONOR, OBJECT. FOUNDATION; ALSO 403


   7   PURPOSES SUBJECT TO AN EARLIER RULING.


   8        THE COURT: LAY FOUNDATION, COUNSEL.


   9   BY MR. ZELLER:


  10   Q   MGA CAME TO YOU AND ASKED YOU TO PROVIDE A SUPPORTING


  11   DECLARATION FOR THAT; IS THAT RIGHT?


  12   A   YES.


  13   Q   AND YOU UNDERSTOOD FROM YOUR CONVERSATIONS WITH THE MGA


  14   LAWYERS AND YOUR COMMUNICATIONS WITH THE MGA LAWYERS, WHY YOU


  15   WERE SUBMITTING THE DECLARATION; IS THAT TRUE?


  16   A   NO.


  17   Q   THAT WAS NEVER DISCUSSED WITH YOU?


  18   A   NOT AT THAT TIME.


  19   Q   WELL, AT SOME POINT WAS IT DISCUSSED WITH YOU?


  20   A   WHILE I WAS DOING IT, YES.


  21   Q   AND AT SOME POINT, YOU LEARNED THAT YOU WERE PROVIDING


  22   THIS DECLARATION IN SUPPORT OF MGA'S EFFORTS TO AVOID HAVING TO


  23   PRODUCE THAT DECEMBER 2000 FAX THAT I SHOWED YOU EARLIER; IS


  24   THAT TRUE?


  25        MR. NOLAN: OBJECTION, YOUR HONOR. SUBJECT TO MOTION



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   1   IN LIMINE WITH RESPECT TO VARIOUS LITIGATION ISSUES AND


   2   POSITIONS TAKEN IN THIS LAWSUIT.


   3       THE COURT: LET ME SEE YOU AT SIDE-BAR.


   4       (SIDE-BAR PROCEEDINGS HELD AS FOLLOWS:)


   5       THE COURT: YOUR RESPONSE --


   6       MR. ZELLER: I THINK IT GOES TO BIAS. WE'VE ALREADY


   7   TALKED ABOUT THE DECLARATION. SHE'S GIVEN TESTIMONY ABOUT --


   8       THE COURT: HOW DOES IT GO TO HER BIAS, THOUGH?


   9       MR. ZELLER: BECAUSE SHE SAID CERTAIN THINGS JUST A


  10   FEW MONTHS AGO WHERE SHE BASICALLY SAYS IN HER DECLARATION, "I


  11   REMEMBER THE CIRCUMSTANCES UNDER WHICH I DID THESE


  12   APPLICATIONS." SHE PURPORTS TO SAY SHE UNDERSTOOD, REMEMBERED,


  13   WHY IT WAS SHE HAD COMMUNICATIONS WITH PAULA TREANTAFELLES IN


  14   THAT DECLARATION.


  15       THE COURT: WHEN WAS THAT DECLARATION SUBMITTED?


  16       MR. NOLAN: I BELIEVE ABOUT A YEAR AGO, YOUR HONOR.


  17   I CAN GIVE YOU THE CIRCUMSTANCES, IF I MIGHT, YOUR HONOR.


  18       I WANT TO SAY THAT IS THE ONE OF THE MOST OUTRAGEOUS


  19   QUESTIONS I'VE HEARD ASKED IN THIS CASE, FOR THIS REASON. THEY


  20   KNOW THAT THERE WAS A MOTION THAT THEY BROUGHT TO WAIVE THE


  21   ENTIRE ATTORNEY-CLIENT COMMUNICATIONS BETWEEN MS. ARANT AND HER


  22   CLIENT. JUDGE INFANTE RULED PARTIALLY THAT THE PRIVILEGE


  23   EXTENDED TO CERTAIN COMMUNICATIONS, BUT NOT TO THIS PARTICULAR


  24   FAX. HE GRANTED THE MOTION IN PART AND THEN RELEASED THIS.


  25       AGAIN, YOUR HONOR, NOW WHAT MR. ZELLER IS DOING --



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   1   KNOWING THAT AND KNOWING WE HAVE A MOTION IN LIMINE IN THIS


   2   CASE WHERE WE'RE NOT ALLOWED TO GO INTO VARIOUS ARGUMENTS THAT


   3   WERE MADE, HE'S NOW POISONED THIS JURY REGARDING WHY WE WERE


   4   TRYING TO BLOCK THIS FAX. THAT'S NOT WHAT WE WERE TRYING TO


   5   BLOCK. WE WERE TRYING TO BLOCK THE WAIVER OF THE PRIVILEGE


   6   WITH AN ATTORNEY. THAT'S INAPPROPRIATE.


   7        THE COURT: I THINK THIS OPENS THE DOOR, IN A WAY.


   8   AND I UNDERSTAND YOUR THEORY. I'M GOING TO SUSTAIN THE


   9   OBJECTION. LET'S MOVE ON TO ANOTHER AREA, COUNSEL.


  10        MR. ZELLER: THANK YOU.


  11        (SIDE-BAR PROCEEDINGS CONCLUDED.)


  12        THE COURT: OBJECTION IS SUSTAINED. THE JURY IS TO


  13   DISREGARD THE LAST QUESTION.


  14        MR. ZELLER, ANYTHING FURTHER?


  15        MR. NOLAN: MOTION TO STRIKE ANY RESPONSE FROM THE


  16   WITNESS.


  17        THE COURT: THERE WASN'T A RESPONSE; THAT'S WHAT I


  18   WAS CHECKING.


  19   BY MR. ZELLER:


  20   Q   IS IT THE CASE THAT IN-BETWEEN THE TIME THAT YOU REVIEWED


  21   AND SIGNED THE DECLARATION THAT WE SHOWED PARAGRAPHS FROM,


  22   IN-BETWEEN THE TIME THAT YOU DID THAT AND THEN THE TIME THAT


  23   YOUR DEPOSITION WAS TAKEN, DID YOU REVIEW ANYTHING TO TRY AND


  24   REFRESH YOUR RECOLLECTION ABOUT WHAT YOU HAD DONE FOR MGA IN


  25   CONNECTION WITH THESE BRATZ RELATED TRADEMARK APPLICATIONS?



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   1   A   NO.


   2   Q   DID YOU DO ANYTHING BETWEEN THE TIME THAT YOU SIGNED THAT


   3   DECLARATION AND THE TIME THAT YOU CAME HERE TO TESTIFY TODAY AT


   4   TRIAL HERE TO BETTER YOUR RECOLLECTION ON THOSE EVENTS?


   5   A   YES. I FILED A SUBSTITUTE DECLARATION.


   6   Q   YOU DID SOMETHING -- YOU REFRESHED YOURSELF IN SOME WAY TO


   7   FILE THE SUBSTITUTE DECLARATION?


   8   A   NO.


   9   Q   MY QUESTION GOES TO WHAT YOU DID TO REFRESH YOURSELF ABOUT


  10   SOMETHING; SO MY QUESTION LET ME JUST ASK IT MORE BROAD THAN


  11   THAT.


  12        IN-BETWEEN THE TIME THAT YOU REVIEWED AND YOU SIGNED


  13   THE DECLARATION, WHICH IS BACK IN AUGUST OF 2007, WE TALKED


  14   ABOUT, DID YOU DO ANYTHING TO REFRESH YOUR RECOLLECTION ABOUT


  15   THOSE EVENTS BETWEEN THAT TIME AND THE TIME THAT YOU CAME IN


  16   HERE TO TESTIFY TODAY?


  17   A   NO.


  18   Q   THANK YOU.


  19        MR. NOLAN: YOUR HONOR, COULD WE HAVE A SIDE-BAR FOR


  20   A MOMENT? I'D ASK FOR A STIPULATION.


  21        THE COURT: YES.


  22        (SIDE-BAR PROCEEDINGS AS FOLLOWS:)


  23        MR. NOLAN: YOUR HONOR, I ASKED MR. ZELLER WHETHER OR


  24   NOT HE WOULD STIPULATE TO WHEN MGA WAS SUED IN THIS CASE, SINCE


  25   HE'S DRAWING THE INFERENCE THAT HE WANTS TO, WITH RESPECT TO



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   1   THIS LITIGATION. HE'S REFUSING TO. THIS IS A TIME YOU TAKE


   2   JUDICIAL NOTICE OF THE FILING OF THE LAWSUIT AGAINST MGA. I


   3   THINK IT'S IMPROPER HAVING IT ONLY OUT THERE BY STIPULATION --


   4   WHEN THE FIRST LAWSUIT WAS AGAINST CARTER BRYANT AND NOT


   5   AGAINST MGA.


   6       THE COURT: WHEN WAS THAT?


   7       MR. NOLAN: WE WERE SUED IN --


   8       THE COURT: I SHOULD KNOW THIS; I'VE GONE THROUGH


   9   THESE DATES.


  10       MR. ZELLER: MGA BECAME A PARTY IN THE BRYANT SUIT IN


  11   DECEMBER OF 2004 AND THEN THEY FILED THEIR LAWSUIT IN 2005.


  12       THE COURT: I THINK FOR THIS, THE RELATIONSHIPS ARE


  13   SO CLOSE, COUNSEL.


  14       MR. NOLAN: BUT THE CLAIMS WERE NOT BEING BROUGHT


  15   AGAINST MGA IN THIS CASE BY MATTEL UNTIL LATER. IT'S UNFAIR,


  16   AND HE KEPT RAISING IT.


  17       THE COURT: CAN WE AGREE ON WHAT DATE THAT WAS?


  18       MS. AGUIAR: JANUARY OF 27.


  19       THE COURT: JANUARY OF 2007.


  20       WHICH IS AFTER THE DATE ON THE DOCUMENT.


  21       MR. ZELLER: THAT'S NOT CORRECT. I DON'T THINK


  22   THAT'S A CORRECT --


  23       THE COURT: THIS IS SOMETHING WE CAN DO -- BECAUSE


  24   THIS WITNESS DOES NOT KNOW WHEN IT WAS BROUGHT.


  25       MR. NOLAN: BUT MR. ZELLER HAS REPEATEDLY NOW BEEN



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   1   BACK TO 'AND THIS WAS AFTER THE LAWSUIT, THIS WAS AFTER THE


   2   LAWSUIT,' AND I WANT TO MAKE CERTAIN THAT THE JURY NOW KNOWS


   3   RIGHT NOW WHAT THE DATE WAS THAT THE CLAIMS WERE FILED AGAINST


   4   MGA.


   5          THE COURT: I THINK THAT SOUNDS REASONABLE; TO COME


   6   UP WITH -- TO EXPLAIN TO THE JURY THAT THE VARIOUS DATES THAT


   7   THE LAWSUITS WERE BROUGHT, JUST TO CLARIFY. IF YOU TWO CAN


   8   STIPULATE AND GIVE ME A PIECE OF PAPER WITH THE DATES OF WHEN


   9   THE MAJOR PLAYERS IN THIS LAWSUIT WERE BROUGHT, I WILL READ


  10   THAT TO THE JURY.


  11          MR. NOLAN: IN THE INTERIM --


  12          THE COURT: I'LL DO THAT AS SOON AS YOU HAVE THAT


  13   READY.


  14          MR. NOLAN: IN THE INTERIM --


  15          THE COURT: IN THE INTERIM, GO ASK SOME QUESTIONS.


  16          (SIDE-BAR PROCEEDINGS CONCLUDED. )


  17   BY MR. NOLAN:


  18   Q   MS. ARANT, DO YOU KNOW HOW MANY LAWSUITS HAVE BEEN FILED


  19   IN THIS CASE?


  20   A   NO.


  21   Q   DO YOU KNOW WHEN THE FIRST LAWSUIT WAS FILED NAMING MGA AS


  22   A PARTY?


  23   A   NO.


  24   Q   MR. ZELLER ASKED YOU SOME QUESTIONS ABOUT WHETHER OR NOT


  25   ANY CORRECTED FORMS WERE FILED BY YOU OR BY YOUR OFFICE



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  1    FOLLOWING YOUR FILING OF THE INTENDED USE TRADEMARK


  2    APPLICATION; CORRECT?


  3    A   I DIDN'T KNOW HE STIPULATED WHETHER THEY WERE FILED BY OUR


  4    FIRM OR NOT.


  5    Q   BUT IN ANY EVENT, YOU KNEW OF ANY EFFORTS TO CORRECT THE


  6    APPLICATIONS THAT YOU HAD FILED.


  7    A   HE DID ASK ME THAT QUESTION.


  8    Q   OKAY.


  9         IF YOU COULD GO BACK IN MATTEL'S EXHIBIT BOOK TO


  10   EXHIBIT 11897. WHAT I'D LIKE TO DO IS PUT THIS UP IN EVIDENCE,


  11   YOUR HONOR -- PUT UP FOR THE JURY 11897-0003.


  12        THIS IS THE APPLICATION FOR REGISTRATION THAT YOU


  13   PREPARED FOR JADE; CORRECT?


  14   A   YES.


  15   Q   WILL YOU EXPLAIN TO THE JURY WHETHER OR NOT THIS WAS A


  16   STATED USE APPLICATION OR AN INTENDED TO USE APPLICATION.


  17   A   OKAY. JUST ONE SECOND. I'M ON THE WRONG -- I WAS TOLD IT


  18   WAS 11897, AND WHAT I'M LOOKING AT AT 11897 DOESN'T MATCH WHAT


  19   IS UP ON THE SCREEN.


  20        MR. NOLAN: MAY I HAVE A MOMENT TO LOOK AT HER


  21   NOTEBOOK.


  22        THE COURT: YOU MAY.


  23        THE WITNESS: I'M SORRY. IT'S PAGE 03 AND I WAS


  24   LOOKING AT 01.


  25   BY MR. NOLAN:



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  1    Q   ARE YOU THERE?


  2    A   YES, I AM.


  3    Q   AND THIS IS THE APPLICATION THAT YOU FILED?


  4    A   YES.


  5    Q   THIS IS THE INTENDED USE APPLICATION?


  6    A   YES.


  7    Q   TAKE A MINUTE, IF YOU NEED TO, BUT COULD YOU PLEASE TELL


  8    THE JURY IF THERE'S ANY PLACE IN THE APPLICATION THAT YOU FILED


  9    WHERE YOU PUT IN A DATE OF USE OF THIS DOLL.


  10   A   THERE IS NOT.


  11   Q   SO WHEN MR. ZELLER ASKED YOU IF THEY EVER CORRECTED IT,


  12   WHAT WOULD HAVE BEEN CORRECTED?


  13   A   NOTHING.


  14   Q   AND THAT'S BECAUSE THIS WAS AN INTENDED USE APPLICATION;


  15   CORRECT?


  16   A   RIGHT; AN INTENT TO USE APPLICATION, SO IT HAD NO DATES.


  17   Q   IN FACT, YOU SEE THERE, THE SECOND PARAGRAPH, THE


  18   APPLICANT HAS A BONA FIDE INTENTION...


  19         DO YOU SEE THAT?


  20         MR. ZELLER: HE'S NOW LAPSING BACK INTO THE LEADING


  21   QUESTIONS, SO I DON'T THINK IT'S APPROPRIATE.


  22         MR. NOLAN: I WAS LEADING AARON. I MEANT TO LEAD


  23   AARON AND NOT THE WITNESS. I'M SORRY.


  24         THE COURT: VERY WELL.


  25   BY MR. NOLAN:



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  1    Q   I HAVE UP ON THE SCREEN A STATEMENT THAT'S CONTAINED IN


  2    THE APPLICATION THAT YOU PREPARED; CORRECT?


  3    A   YES.


  4    Q   AND YOU FILED THIS WITH AN AGENCY OF THE UNITED STATES


  5    GOVERNMENT.


  6    A   YES.


  7    Q   AT THE REQUEST OF MGA.


  8    A   YES.


  9    Q   AND COULD YOU JUST READ THIS TO THE JURY AND THEN EXPLAIN


  10   WHAT IS MEANT BY THAT TERM.


  11   A   YES.


  12        THE APPLICANT HAS A BONA FIDE INTENTION TO USE THE


  13   MARK IN COMMERCE ON OR IN CONNECTION WITH THE ABOVE IDENTIFIED


  14   GOODS/SERVICES. 15 USC 1051(B) AS AMENDED. THIS IS THE


  15   LANGUAGE THAT YOU USE IN A TRADEMARK APPLICATION FOR THE ITU,


  16   OR THE INTENT TO USE APPLICATIONS. THEY ARE KNOWN AS 1-B


  17   APPLICATIONS, FOR THAT SMALL 'B,' MEANING THERE ARE NO DATES


  18   BECAUSE THE MARK ISN'T YET IN USE IN COMMERCE IN CONNECTION


  19   WITH THE GOODS OR SERVICES.


  20   Q   AND THAT WAS FOR JADE; RIGHT?


  21   A   YES.


  22   Q   NOW, IF YOU TURN TO 11897-005, DO YOU SEE THIS IS AN


  23   APPLICATION THAT YOU PREPARED AND SUBMITTED TO THE UNITED


  24   STATES AGENCY FOR YASMINE?


  25   A   YES.



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  1    Q   AND, LOOK AT THIS. MR. ZELLER ASKED YOU, 'DID ANYBODY


  2    EVER CORRECT IT?' WAS THERE ANY NEED TO CORRECT THAT DOCUMENT?


  3    A   THERE'S NOTHING TO BE CORRECTED BECAUSE IT'S AN INTENT TO


  4    USE APPLICATION.


  5         MR. ZELLER: A BELATED OBJECTION. MISCHARACTERIZES


  6    THE QUESTIONS THAT WERE ASKED.


  7         THE COURT: SUSTAINED. REPHRASE THE QUESTION,


  8    COUNSEL.


  9    BY MR. NOLAN:


  10   Q   AGAIN, WE'RE GOING TO LOOK AT THIS DOCUMENT.


  11        IS THERE ANYWHERE IN THIS DOCUMENT THAT YOU LIST A


  12   DATE WHERE YASMINE WAS INTRODUCED INTO INTERSTATE COMMERCE?


  13   A   NO.


  14   Q   IN FACT, THIS APPLICATION FOR YASMINE CONTAINS THE SAME


  15   PARAGRAPH WE READ EARLIER ABOUT "THE APPLICANT HAS A BONA FIDE


  16   INTENTION TO USE THE MARKS IN COMMERCE"; CORRECT?


  17        MR. ZELLER: LEADING.


  18        THE COURT: SUSTAINED.


  19   BY MR. NOLAN:


  20   Q   I'D ASK YOU TO TAKE A LOOK AT THIS DOCUMENT. DO YOU SEE


  21   ANYWHERE ON THIS DOCUMENT LANGUAGE WHICH WOULD SUGGEST --


  22   STRIKE THAT.


  23        COULD YOU READ THE SECOND PARAGRAPH TO THE JURY.


  24   A   YES.


  25        "THE APPLICANT HAS A BONA FIDE INTENTION TO USE THE



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  1    MARK IN COMMERCE ON OR IN CONNECTION WITH THE ABOVE IDENTIFIED


  2    GOODS/SERVICES. 15 USC 1051(B) AS AMENDED.


  3    Q   I'D ASK YOU NOW TO TURN TO THE SAME EXHIBIT, 11897-0007.


  4         DO YOU RECOGNIZE THIS AS THE INTENT TO USE


  5    APPLICATION FOR TRADEMARK THAT YOU PREPARED FOR THE DOLL, FOR


  6    THE MARK SASHA?


  7    A   YES.


  8    Q   DO YOU SEE ANYWHERE WHERE THERE'S A DATE OF USE LISTED IN


  9    THIS APPLICATION FOR SASHA?


  10   A   NO.


  11   Q   AGAIN, COULD YOU READ TO THE JURY THE SECOND PARAGRAPH ON


  12   THIS APPLICATION.


  13   A   "THE APPLICANT HAS A BONA FIDE INTENTION TO USE THE MARK


  14   IN COMMERCE ON OR IN CONNECTION WITH THE ABOVE IDENTIFIED


  15   GOODS/SERVICES, 15 USC 1051(B) AS AMENDED."


  16   Q   CAN YOU TURN TO THE NEXT, 0009, THIS IS FOR THE MARK


  17   BRATZ.


  18        DO YOU SEE THAT?


  19   A   CORRECT.


  20   Q   AND THIS IS AN INTENDED USE APPLICATION THAT YOU PREPARED


  21   FOR MGA CONCERNING THE MARK BRATZ?


  22   A   YES.


  23   Q   AND THIS APPLICATION WAS FILED WITH THE UNITED STATES


  24   AGENCY?


  25   A   YES.



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  1    Q   I'D ASK YOU TO LOOK AT THIS. IN THIS APPLICATION THAT YOU


  2    FILED, DO YOU LIST ANY DATE OF USE FOR BRATZ?


  3    A   NO.


  4    Q   IN FACT, COULD YOU READ AGAIN THE SECOND PARAGRAPH OF THIS


  5    APPLICATION?


  6    A   "THE APPLICANT HAS A BONA FIDE INTENTION TO USE THE MARK


  7    IN COMMERCE ON OR IN CONNECTION WITH THE ABOVE IDENTIFIED


  8    GOODS/SERVICES, 15 USC 1051(B) AS AMENDED."


  9    Q   I WANT TO GO BACK VERY QUICKLY TO ANOTHER EXHIBIT THAT


  10   MR. ZELLER SHOWED YOU; THIS IS 11192; IT'S IN HIS BLACK BOOK.


  11   THESE ARE DOCKET SHEETS AND THEN A TRADEMARK DOCKET FORM FROM


  12   YOUR FIRM; CORRECT?


  13   A   YES.


  14   Q   FIRST OF ALL, MR. ZELLER ASKED YOU WHETHER OR NOT MGA EVER


  15   CORRECTED THESE FORMS; CORRECT?


  16   A   I BELIEVE HE ASKED ME THAT.


  17   Q   DOES THE CLIENT SEE THESE FORMS?


  18   A   NO.


  19   Q   LET'S GO TO THE FIRST SHEET FOR JUST A MOMENT.


  20        THIS IS THE DOCKET SHEET.


  21        IS THERE ANYTHING ON YOUR DOCKET SHEET, YOUR INTERNAL


  22   DOCKET SHEET, THAT SHOWS A DATE OF FIRST USE?


  23        MR. QUINN: YOUR HONOR, THIS IS TECHNICALLY NOT IN


  24   EVIDENCE. I DIDN'T MOVE PAGE 1. THIS IS PAGE 1 OF 2; I DON'T


  25   KNOW WHAT THIS DOCUMENT IS. MGA PRODUCED IT.



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  1         MR. NOLAN: TAKE IT DOWN.


  2         MR. ZELLER: I DON'T HAVE AN ISSUE WITH IT BEING


  3    INTRODUCED. JUST SO THE RECORD IS CLEAR, THAT PAGE HAS NOT


  4    BEEN INTRODUCED.


  5         THE COURT: I RECALL YOU INTRODUCING THE EXHIBIT AND


  6    SAYING THAT YOU WANTED TO SKIP PAGE 1 AND PAGE 2, BUT I WAS NOT


  7    CLEAR THAT YOU WERE ONLY INTRODUCING PAGE 2.


  8         MR. ZELLER: I'M SORRY IF I WAS UNCLEAR, BUT THE ONLY


  9    THING I PUT IN AND ASKED HER ABOUT SO FAR WAS PAGE 2.


  10        THERE IS NO FOUNDATION FOR PAGE 1.


  11        THE COURT: DO YOU HAVE AN OBJECTION TO PAGE 1 BEING


  12   INTRODUCED?


  13        MR. ZELLER: NO.


  14        THE COURT: VERY WELL. THE ENTIRE DOCUMENT IS


  15   INTRODUCED. YOU MAY PROCEED AND PUBLISH.


  16        MR. NOLAN: THIS IS 11192-001.


  17        THE COURT: THE ENTIRE 11192 IS IN EVIDENCE. YOU MAY


  18   USE IT AS YOU WISH.


  19   BY MR. NOLAN:


  20   Q   THIS IS AN INTERNAL DOCKET SHEET AT YOUR LAW FIRM?


  21   A   YES.


  22   Q   COULD YOU LOOK AT THIS _FIRST OF ALL, DO YOU KNOW WHAT


  23   THIS DOCKET SHEET IS? CAN YOU EXPLAIN THE PURPOSE?


  24   A   IT'S A DOCKET SHEET SO WE CAN KEEP TRACK OF DEADLINES; AND


  25   THIS INFORMATION IS INPUT INTO A COMPUTER SO THAT WE CAN MAKE



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  1    SURE WE DON'T MISS ANY DEADLINES.


  2    Q     THIS DOCKET SHEET, IS THERE ANY STATEMENT WITH RESPECT TO


  3    THE DATE OF FIRST USE?


  4    A     THERE IS NOT.


  5    Q     AND THEN THE SECOND, THE TRADEMARK DOCKET, WHICH IS-0002,


  6    IF YOU OPEN THIS UP AND GO DOWN UNDER "REMARKS" IT SAYS DATE OF


  7    USE, 6-15-2000. DO YOU SEE THAT?


  8    A     YES.


  9    Q     IS THIS A DOCUMENT, IN YOUR EXPERIENCE, THAT'S EVER MAILED


  10   TO THE CLIENT?


  11   A     NEVER.


  12          MR. NOLAN: MAY I APPROACH THE WITNESS?


  13          AND I HAVE A SET FOR THE CLERK.


  14          THE COURT: DO WE HAVE THOSE DATES YET?


  15          MS. AGUIAR: WE'RE WORKING ON IT, YOUR HONOR.


  16          THE COURT: MR. ZELLER, HAVE YOU SEEN THIS YET?


  17          MR. ZELLER: I'M LOOKING AT IT NOW; I WAS JUST HANDED


  18   IT.


  19          THE COURT: VERY WELL.


  20   BY MR. NOLAN:


  21   Q     I'VE PLACED BEFORE YOU, MS. ARANT, EXHIBITS 5528, 5529,


  22   EXHIBIT 18477, EXHIBIT 18478, AND EXHIBIT 18479.


  23          DID I AT LEAST READ THE NUMBERS CORRECTLY?


  24   A     YES.


  25   Q     SO YOU HAVE THE SAME PACKAGE I DO.



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  1    A   YES.


  2    Q   NOW, EACH OF THESE DOCUMENTS HAVE ON THE FRONT PAGE -- YOU


  3    HAVE A BLACK AND WHITE COPY -- A COPY OF A SEAL AND IT SAYS


  4    UNITED STATES OF AMERICA, CERTIFICATE OF REGISTRATION; THEN IT


  5    SAYS PRINCIPAL REGISTER.


  6         TAKE A LOOK AT IT. DO YOU RECOGNIZE THIS FORM?


  7    A   YES.


  8    Q   WITHOUT DISCLOSING THE CONTENTS OF THE FORM, CAN YOU


  9    DESCRIBE WHAT THE FORM IS?


  10   A   THIS IS YOUR OFFICIAL -- IF IT HAD THE GOLD SEAL AND IT


  11   WERE THE ORIGINAL, IT WOULD BE YOUR ORIGINAL CERTIFICATE OF


  12   REGISTRATION FOR THE TRADEMARK LISTED INSIDE.


  13   Q   AND WHERE ARE THESE FORMS FILED?


  14   A   THEY COME TO US FROM THE TRADEMARK OFFICE ONCE WE ACHIEVE


  15   REGISTRATION.


  16   Q   SO THEY ARE ACTUALLY ISSUED BY THE UNITED STATES TRADEMARK


  17   OFFICE?


  18   A   YES.


  19        MR. NOLAN: YOUR HONOR, WE WOULD OFFER INTO EVIDENCE


  20   EXHIBITS 5528, 5529, 18477, 18478, AND 18479.


  21        THE COURT: ANY OBJECTION?


  22        MR. ZELLER: NO OBJECTION, YOUR HONOR.


  23        THE COURT: ADMITTED. YOU MAY PUBLISH.


  24   BY MR. NOLAN:


  25   Q   THIS IS EXHIBIT 5528 NOW.



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  1         WE HAVE A BLACK AND WHITE VERSION OF THE SEAL, BUT,


  2    MORE IMPORTANTLY, I WANT TO TURN TO THE SECOND PAGE. THIS IS


  3    THE CERTIFICATE OF REGISTRATION. AND THEN ON THE SECOND PAGE,


  4    THERE ARE SOME DATA. BUT I WANT TO TURN TO THE THIRD PAGE.


  5         CAN YOU READ THAT?


  6    A   YES.


  7    Q   WHAT IS THIS?


  8    A   THIS IS THE INFORMATION ABOUT THE TRADEMARK AS IT APPEARS


  9    ON THE PRINCIPAL REGISTER.


  10        MR. ZELLER: IF I COULD INTERJECT A FOUNDATION


  11   OBJECTION AT THIS POINT. IF HE'S GOING TO HAVE HER -- I DON'T


  12   KNOW IF SHE'S EVER SEEN THEM BEFORE.


  13        THE COURT: LAY THE FOUNDATION, COUNSEL.


  14        I'LL SUSTAIN THE FOUNDATIONAL OBJECTION.


  15   BY MR. NOLAN:


  16   Q   MS. ARAN, YOU'VE SEEN FORMS SIMILAR TO THIS; CORRECT?


  17   A   YES.


  18   Q   AND YOU'RE FAMILIAR WITH THE INFORMATION THAT IS SET FORTH


  19   IN THE PRINTED FORM ISSUED BY THE UNITED STATES TRADEMARK


  20   OFFICE; YES?


  21   A   YES.


  22   Q   IS THE INFORMATION THAT IS SET FORTH, BY THE FORMS FILED


  23   BY APPLICANTS AND REGISTERED WITH THE UNITED STATES PATENT


  24   OFFICE AND TRADEMARK OFFICE, SOMETHING THAT YOU WERE FAMILIAR


  25   WITH WHEN YOU WERE AN EXAMINER IN THE OFFICE?



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  1    A   YES.


  2    Q   HAVE YOU PERSONALLY REVIEWED THE ACTUAL TRADEMARK


  3    PRINCIPAL REGISTER FOR THE NAME BRATZ?


  4    A   I DON'T KNOW.


  5    Q   THE FORM HAS A DATE LISTED UNDER FIRST USE. WHAT I WANT


  6    TO KNOW IS, BASED ON YOUR EXPERIENCE, WHEN THE TERM 'FIRST USE'


  7    IS INCLUDED ON AN OFFICIAL PRINCIPAL REGISTRATION TRADEMARK


  8    ISSUED BY THE PATENT OFFICE, WHAT DOES THAT MEAN?


  9          MR. ZELLER: OBJECTION. FOUNDATION. SECONDLY, THIS


  10   IS OUTSIDE OF THE SCOPE.


  11         THE COURT: OVERRULED. YOU MAY ANSWER.


  12         THE WITNESS: THIS MEANS THAT THE MARK THAT WAS FIRST


  13   USED ON THE GOODS COVERED BY THAT TRADEMARK REGISTRATION --


  14   FIRST OFFERED FOR SALE IN INTERSTATE COMMERCE ON, IN THIS CASE,


  15   IT WOULD BE MAY 21, 2001.


  16   BY MR. NOLAN:


  17   Q   WOULD YOU PLEASE READ TO THE JURY THE DATES THAT FOLLOW


  18   FOR BRATZ FOR FIRST USE.


  19   A   MAY 21, 2001.


  20   Q   AND AFTER 'IN COMMERCE.'


  21   A   5-21-2001.


  22   Q   ASKING YOU NOW TO TURN TO EXHIBIT 5529.


  23         DO YOU RECOGNIZE THAT AS BEING A SIMILAR FORM THAT IS


  24   ISSUED BY THE UNITED STATES OF AMERICA AT THE TRADEMARK OFFICE?


  25   A   YES, I DO.



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  1    Q   AND I'D ASK YOU TO TURN TO THE THIRD PAGE, AND THIS TAKES


  2    GENERALLY THE SAME FORM AS THE EARLIER ONE; THIS IS THE


  3    DIFFERENCE INVOLVING THE MARK.


  4          WHAT MARK IS THIS FOR?


  5    A   YASMINE.


  6    Q   AGAIN, DOES IT HAVE A LISTING OF FIRST USE IN COMMERCE?


  7    A   YES.


  8    Q   COULD YOU READ FOR THE JURY THE FIRST USE DATE.


  9    A   MAY 13, 2001.


  10   Q   AND COULD YOU READ IN COMMERCE THE DATE LISTED?


  11   A   MAY 13, 2001.


  12   Q   LOOK AT 18477, AGAIN, THE FRONT PAGE, THIS IS THE OFFICIAL


  13   FORM ISSUED BY THE UNITED STATES OF AMERICA THROUGH THE


  14   TRADEMARK OFFICE; CORRECT?


  15   A   YES.


  16   Q   TURN TO THE THIRD PAGE, IF YOU WOULD.


  17         THIS IS FOR THE MARK 'JADE'?


  18   A   YES.


  19   Q   COULD YOU READ THE DATE THAT IS LISTED AFTER FIRST USE.


  20   A   5-21-01.


  21   Q   AND IN COMMERCE.


  22   A   5-21-01.


  23   Q   AND FOR EXHIBIT 18478, THIS IS THE CERTIFICATE


  24   REGISTRATION OF THE TRADEMARK; CORRECT?


  25   A   YES.



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  1    Q   FROM THE TRADEMARK OFFICE. I APOLOGIZE.


  2          IF YOU TURN TO PAGE 3, YOU SEE THE NAME OF THE MARK.


  3    A   YES.


  4    Q   WHAT'S THE NAME OF THE MARK?


  5    A   SASHA.


  6    Q   COULD YOU READ TO THE JURY THE FIRST USE DATE.


  7    A   5-22-2001.


  8    Q   CAN YOU READ THE FIRST DATE OF IN COMMERCE.


  9    A   5-22-2001.


  10   Q   TURNING TO THE LAST EXHIBIT, DO YOU HAVE EXHIBIT 18479 IN


  11   FRONT OF YOU?


  12   A   YES.


  13   Q   DO YOU RECOGNIZE THIS IS ALSO ISSUED BY THE UNITED STATES


  14   TRADEMARK OFFICE?


  15   A   YES.


  16   Q   TURNING TO THE THIRD PAGE OF THIS DOCUMENT, COULD YOU TELL


  17   THE JURY WHICH OFFICIAL TRADEMARK REGISTRATION CERTIFICATE THIS


  18   IS FOR?


  19   A   CLOE.


  20   Q   AND COULD YOU READ FOR THE JURY THE FIRST USE FOR THE MARK


  21   CLOE?


  22   A   5-21-2001.


  23   Q   COULD YOU ALSO READ FOR THE JURY THE FIRST DATE FOR IN


  24   COMMERCE?


  25   A   5-21-2001.



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  1         MR. NOLAN: NOTHING FURTHER.


  2               FURTHER REDIRECT EXAMINATION


  3    BY MR. ZELLER:


  4    Q   MR. NOLAN WAS ASKING YOU QUESTIONS ABOUT THESE TRADEMARK


  5    REGISTRATIONS WHICH HE BEGAN WITH EXHIBIT 5528.


  6         DO YOU HAVE THOSE?


  7    A   YES.


  8    Q   AND YOU UNDERSTOOD THROUGH HIS QUESTIONING HE WAS TRYING


  9    TO SUGGEST SOMEHOW THE TRADEMARK OFFICE HAD INVESTIGATED AND


  10   ACTUALLY DETERMINED THAT'S WHEN MGA FIRST USED THE BRATZ


  11   TRADEMARK; IS THAT TRUE?


  12   A   NO.


  13   Q   YOU DIDN'T UNDERSTAND THE QUESTIONS THAT WAY.


  14   A   NO.


  15   Q   BECAUSE ISN'T IT A FACT THAT THE TRADEMARK OFFICE DOES NO


  16   INVESTIGATION AS TO WHEN AN APPLICANT, SUCH AS MGA, CLAIMS TO


  17   HAVE FIRST USED THE MARK?


  18   A   NO.


  19   Q   THAT IS TRUE, ISN'T IT?


  20   A   THAT IS TRUE.


  21   Q   SO THE TRADEMARK OFFICE RELIES UPON THE HONESTY OF THE


  22   APPLICANT'S STATEMENTS AS TO WHEN THE APPLICANT FIRST BEGAN


  23   USING THE TRADEMARK; IS THAT TRUE?


  24   A   YES.


  25   Q   AND SO LET'S USE EXHIBIT 5528 AS AN EXAMPLE.



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  1         IF WE CAN PLEASE HAVE PAGE 3 BLOWN UP.


  2         FOCUSING YOUR ATTENTION ON THE PORTION THAT MGA'S


  3    COUNSEL HIGHLIGHTED, WHERE IT SAYS HERE "FIRST USE, 5-21-2001;


  4    IN COMMERCE, 5-21-2001."


  5         THAT INFORMATION, DO YOU SEE THAT?


  6    A   YES.


  7    Q   NOW, THIS REFLECTS INFORMATION THAT WAS GIVEN TO THE


  8    TRADEMARK OFFICE BY MGA AT SOME POINT; RIGHT?


  9    A   YES.


  10   Q   AND THE TRADEMARK OFFICE DOESN'T VALIDATE, DOESN'T


  11   INVESTIGATE. DOES NOT ISSUE A REGISTRATION, THAT CONFIRMS THAT


  12   THAT'S WHEN IT WAS ACTUALLY FIRST USED; IS THAT TRUE?


  13   A   I'M NOT SURE I UNDERSTAND THE QUESTION.


  14   Q   I'LL BREAK IT DOWN A LITTLE BIT, THEN.


  15        SO WE TALKED ABOUT HOW THE FIRST USE DATE, IN BOTH


  16   FIRST USE AND IN COMMERCE DATES, THOSE ARE BASED ON


  17   REPRESENTATIONS THAT MGA MADE TO THE TRADEMARK OFFICE; YOU


  18   UNDERSTAND THAT?


  19   A   YES.


  20   Q   AND WHEN THOSE REPRESENTATIONS WERE MADE BY MGA TO THE


  21   TRADEMARK OFFICE, THE TRADEMARK OFFICE DIDN'T DO ANYTHING TO


  22   INVESTIGATE WHETHER MGA WAS TELLING THE TRUTH OR NOT; IS THAT


  23   TRUE?


  24   A   YES.


  25   Q   SO THE TRADEMARK OFFICE IS NOT AGREEING THAT WAS THE DATE



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  1    OF FIRST USE; IS THAT CORRECT?


  2    A   RIGHT.


  3    Q   IT RELIES ON WHAT MGA TOLD IT.


  4    A   RIGHT.


  5    Q   IF I ASKED YOU THOSE SAME QUESTIONS ABOUT THE OTHER


  6    REGISTRATIONS THAT YOU WERE SHOWN, EXHIBITS 5529,


  7    EXHIBIT 18477, EXHIBIT 18478, AND 18479, YOU WOULD GIVE ME THE


  8    SAME ANSWERS.


  9    A   YES, I WOULD.


  10   Q   SO FOR ALL OF THEM, THE TRADEMARK OFFICE DIDN'T


  11   INVESTIGATE THE DATES OF FIRST USE THAT MGA TOLD IT?


  12   A   TRUE.


  13   Q   AND WHAT IS REFLECTED IN ALL THOSE REGISTRATIONS IS JUST


  14   WHAT IT IS THAT MGA TOLD THE TRADEMARK OFFICE.


  15   A   YES.


  16   Q   NOW, DO YOU KNOW ONE WAY OR ANOTHER, WHETHER MGA EVER TOLD


  17   THE U.S. TRADEMARK OFFICE THE TRUE FIRST USE DATE OF THE USE OF


  18   THE BRATZ NAME?


  19   A   I HAVE NO PERSONAL KNOWLEDGE.


  20   Q   I COULDN'T HEAR THAT.


  21   A   I KNOW SOMEBODY GAVE THEM THE DATES OF FIRST USE, BUT IT


  22   WASN'T ME.


  23   Q   IT WASN'T YOU. AND YOU DON'T KNOW IF THEY ARE ACCURATE OR


  24   NOT, DO YOU?


  25   A   PERSONALLY? NO.



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  1    Q   BECAUSE YOU, TOO, JUST LIKE THE TRADEMARK OFFICE, RELY ON


  2    WHAT MGA TOLD YOU WITH RESPECT TO FIRST USE.


  3    A   IN GATHERING INFORMATION, CERTAINLY.


  4    Q   IF WE COULD PLEASE PULL UP EXHIBIT 11192; AND BOTH PAGES


  5    ARE NOW IN EVIDENCE. IF WE COULD BLOW UP THE MGA PORTION.


  6         I KNOW YOU'RE NOT A LITIGATOR, BUT YOU GENERALLY


  7    UNDERSTAND WHERE IT SAYS "MGA" AND THEN IT HAS THAT SEQUENCE OF


  8    NUMBERS, THIS MEANS IT WAS PRODUCED IN THIS CASE BY MGA.


  9         DO YOU RECOGNIZE THAT?


  10   A   IF YOU SAY SO, YES.


  11   Q   LOOKING AT THE SECOND PAGE, YOU'LL SEE THERE'S ALSO THE


  12   MGA STAMP, AND SO YOU'LL AGREE WITH ME THAT THIS DOCKET SHEET


  13   WE TALKED ABOUT ALSO APPEARS TO HAVE BEEN PRODUCED OUT OF MGA'S


  14   OWN FILES AT SOME POINT.


  15   A   I DIDN'T KNOW WHAT THAT DESIGNATION MEANT, BUT IF THAT'S


  16   WHAT IT MEANS --


  17        MR. NOLAN: YOUR HONOR, I'M GOING TO OBJECT.


  18   FOUNDATION; 403; IT'S ALSO ARGUMENTATIVE.


  19        THE COURT: I'LL SUSTAIN THE OBJECTION ON FOUNDATION.


  20        MR. ZELLER: LET ME TRY IT THIS WAY.


  21   BY MR. ZELLER:


  22   Q   MR. NOLAN ASKED YOU A SERIES OF QUESTIONS THAT SEEMED TO


  23   SUGGEST -- AND TELL ME IF I WAS WRONG -- THAT SOMEHOW THESE TWO


  24   PAGES DIDN'T COME FROM YOUR CLIENT FILES.


  25        IN OTHER WORDS, YOUR CLIENTS DON'T SEE THESE



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  1    DOCUMENTS. DO YOU RECALL THAT?


  2    A   YES.


  3    Q   AND SO MY QUESTION IS, DO YOU HAVE ANY BASIS TO DISPUTE


  4    THAT, IN FACT, THESE DOCUMENTS, WHICH YOU SEEM TO SUGGEST YOUR


  5    CLIENTS DIDN'T SEE, IN FACT, WERE SEEN BY MGA?


  6    A   AS I SAID, I DO NOT KNOW WHAT THAT STAMP MEANS. I'M NOT A


  7    LITIGATOR. I DON'T KNOW WHAT IT MEANS.


  8    Q   SO IT'S FAIR TO SAY THAT YOU DON'T KNOW --


  9    A   I DON'T KNOW.


  10   Q   -- WHETHER OR NOT MGA HAD THESE DOCUMENTS IN THEIR FILE OR


  11   HOW LONG THEY HAVE HAD THEM IN THEIR FILE OR WHETHER THEY HAVE


  12   SEEN THEM OR NOT; RIGHT?


  13   A   THAT'S RIGHT.


  14   Q   MR. NOLAN ASKED YOU SOME QUESTIONS ABOUT THE INTENT TO USE


  15   APPLICATION, AND THIS IS THE FAX THAT WE HAD TALKED ABOUT


  16   WHICH, FOR THE RECORD, IS EXHIBIT 11897.


  17        IF YOU RECALL, MR. NOLAN WALKED THROUGH THESE


  18   APPLICATIONS WITH YOU AND MADE A POINT THAT THESE WERE INTENT


  19   TO USE APPLICATIONS. DO YOU RECALL THAT?


  20   A   YES.


  21   Q   BUT IT'S TRUE, ISN'T IT, THAT IN THE COURSE OF YOUR WORK


  22   AS A TRADEMARK ATTORNEY, YOU HAVE FILED INTENT TO USE


  23   APPLICATIONS WHERE THE CLIENT HAS ALREADY BEEN USING THE


  24   TRADEMARK OR TOLD YOU THAT THEY HAD ALREADY BEEN USING IT.


  25   A   YES.



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  1         MR. ZELLER: NOTHING FURTHER.


  2               FURTHER RECROSS-EXAMINATION


  3    BY MR. NOLAN:


  4    Q   MR. ZELLER WAS POINTING YOU TO A STAMP NUMBER ON THE


  5    BOTTOM WHERE IT SAYS "MGA." DO YOU SEE THAT?


  6    A   YES.


  7    Q   DO YOU HAVE ANY IDEA HOW DOCUMENTS HAVE BEEN PRODUCED IN


  8    THIS LAWSUIT?


  9    A   NO.


  10   Q   DO YOU KNOW WHETHER OR NOT THAT DOCUMENT AND THAT


  11   PRODUCTION NUMBER IN ANY WAY SUGGESTS THAT MGA, AT THE TIME OF


  12   THE ENTRIES IN THE INTERNAL RECORDS OF YOUR LAW FIRM, HAD


  13   ACCESS TO THEM?


  14   A   I DON'T KNOW WHAT IT MEANS.


  15   Q   QUICKLY GO TO 5528; THIS IS THE MARK FOR BRATZ.


  16        DO YOU SEE THE REGISTRATION DATE?


  17   A   YES.


  18   Q   COULD YOU READ THE REGISTRATION DATE?


  19   A   DECEMBER 2, 2003.


  20   Q   WHAT DOES THE REGISTRATION DATE MEAN?


  21   A   THAT IS THE DAY THAT THE TRADEMARK HAS OFFICIALLY BECOME


  22   REGISTERED WITH THE UNITED STATES PATENT TRADEMARK OFFICE.


  23   Q   THAT WAS FOR BRATZ; RIGHT?


  24   A   YES.


  25   Q   IF YOU LOOK AT 5529, PAGE 3, RIGHT CORNER, THIS IS THE



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  1    MARK FOR YASMINE; YES?


  2    A   YES.


  3    Q   AND THE DATE FOR THAT REGISTRATION IS?


  4    A   DECEMBER 30, 2003.


  5    Q   AND IF YOU GO TO EXHIBIT 18477, THE MARK FOR JADE?


  6         MR. ZELLER: I'LL OFFER TO STIPULATE TO THESE.


  7         MR. NOLAN: I JUST HAVE TWO MORE; IT'S VERY QUICK.


  8         THE WITNESS: JULY 30TH, 2002.


  9    BY MR. NOLAN:


  10   Q   THE LAST ONE IS 18478, PAGE 2, THE REGISTRATION DATE IS


  11   APRIL 22, 2003.


  12   A   YES.


  13   Q   THE LAST ONE IS 18479, GO TO PAGE THREE, THIS ONE IS FOR


  14   CLOE.


  15   A   YES.


  16   Q   THE LAST ONE WAS FOR THE MARK OF SASHA; RIGHT?


  17        SO THE REGISTRATION DATE FOR CLOE IS JUNE 17, 2003?


  18   A   YES.


  19   Q   WHEN YOU WERE TESTIFYING EARLIER, THERE WAS A STIPULATION


  20   THAT THE FIRST LAWSUIT IN THIS CASE WAS FILED IN APRIL OF 2004.


  21        ALL OF THE DATES FOR ALL OF THE REGISTRATIONS FOR


  22   THOSE DOCUMENTS WERE ISSUED BY THE UNITED STATES TRADEMARK


  23   OFFICE PRIOR TO THE LAWSUIT; YES?


  24   A   YES.


  25        MR. NOLAN: THANK YOU.



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  1         NOTHING FURTHER.


  2         THE COURT: MR. ZELLER?


  3              FURTHER REDIRECT EXAMINATION


  4    BY MR. ZELLER:


  5    Q   NOW, TO YOUR KNOWLEDGE, MGA, AND CERTAINLY, YOU, NEVER


  6    TOLD THE U.S. TRADEMARK OFFICE THAT PAULA TREANTAFELLES HAD


  7    TOLD YOU THAT, IN FACT, THE FIRST USE DATE OF BRATZ WAS


  8    JUNE 15, 2000; CORRECT?


  9         MR. NOLAN: OBJECTION. LACKS FOUNDATION.


  10        THE COURT: YOU'RE ASKING WHAT SHE TOLD --


  11        MR. ZELLER: YES.


  12        THE COURT: OVERRULED.


  13        THE WITNESS: CORRECT.


  14   BY MR. ZELLER:


  15   Q   YOU NEVER TOLD THE TRADEMARK OFFICE THAT.


  16   A   NO.


  17   Q   SO AS FAR AS YOU KNOW, PAULA TREANTAFELLES TOLD YOU THAT


  18   THE TRUE FIRST USE DATE OF BRATZ WAS JUNE 15, 2000, AND THAT


  19   WAS NEVER DISCLOSED TO THE TRADEMARK OFFICE' RIGHT?


  20   A   I DON'T KNOW.


  21   Q   YOU CAN'T DENY THAT.


  22        MR. NOLAN: I WITHDRAW THE OBJECTION.


  23        THE COURT: VERY WELL.


  24   BY MR. ZELLER:


  25   Q   YOU'RE NOT DENYING THAT.



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  1    A   DENYING WHAT?


  2    Q   YOU'RE NOT DENYING THAT AS FAR AS YOU KNOW, NO ONE EVER


  3    TOLD THE TRADEMARK OFFICE THE TRUE FIRST USE DATE FOR BRATZ.


  4    A   I DON'T KNOW.


  5    Q   AND YOU DON'T HAVE ANY KNOWLEDGE OR INFORMATION THAT WOULD


  6    ALLOW YOU TO DENY THAT; RIGHT?


  7    A   TRUE.


  8    Q   NOW, MR. NOLAN WAS SHOWING YOU THE TRADEMARK REGISTRATIONS


  9    AND MAKING A POINT ABOUT THE DATE IN WHICH THEY WERE ISSUED.


  10        YOU'LL AGREE WITH ME THAT, AS FAR AS YOU KNOW, THE


  11   CORRECTIONS MADE TO THE COPYRIGHT APPLICATIONS THAT HAD TOLD


  12   THE COPYRIGHT OFFICE THAT THE BRATZ DOLLS WERE COMPLETED IN THE


  13   YEAR 2000, AS FAR AS YOU KNOW, THOSE STATEMENTS WERE NEVER


  14   CHANGED UNTIL AFTER THIS LAWSUIT WAS FILED IN 2004; CORRECT?


  15   A   I DON'T KNOW.


  16   Q   WELL, YOU NOW KNOW WHAT THE DATE OF THE LAWSUIT IS; YOU


  17   ANSWERED IT IN RESPONSE TO MR. NOLAN'S QUESTIONS; CORRECT?


  18   A   CORRECT.


  19   Q   SO DID YOU SEE ANY CORRECTIONS, ANY CHANGES, TO THOSE


  20   COPYRIGHT OFFICE REPRESENTATIONS THAT MGA HAD MADE, NAMELY THAT


  21   YOU HAD MADE, TO THE COPYRIGHT OFFICE THAT THE BRATZ DOLLS WERE


  22   COMPLETED IN THE YEAR 2000 THAT WAS DONE BEFORE THIS LAWSUIT


  23   WAS FILED IN 2004?


  24   A   WE NEVER MADE ANY CHANGES TO THE COPYRIGHT REGISTRATIONS.


  25   I WASN'T THE PERSON WHO DID THOSE CHANGES.



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  1    Q   LET'S BE CLEAR ABOUT THIS.


  2         YOU TOLD THE U.S. COPYRIGHT OFFICE, ON BEHALF OF MGA,


  3    IN THOSE REGISTRATIONS THAT THE BRATZ DOLLS WERE COMPLETED IN


  4    THE YEAR 2000. DO YOU RECALL THAT?


  5    A   THAT WAS, YES, WHAT THEY SAID, UH-HUH.


  6    Q   AS FAR AS YOU KNOW, THERE WAS NO CHANGE EVER MADE, BY YOU


  7    OR ANYBODY ELSE, TO THAT REPRESENTATION THAT THE DOLLS WERE


  8    COMPLETED IN 2000 UNTIL AFTER THIS LAWSUIT WAS FILED IN 2004;


  9    IS THAT CORRECT?


  10   A   YES.


  11        MR. ZELLER: THANK YOU.


  12        MR. NOLAN: VERY BRIEFLY.


  13   BY MR. NOLAN:


  14   Q   YOU DON'T HAVE ANY RECOLLECTION OF A CONVERSATION WITH


  15   PAULA TREANTAFELLES, DO YOU?


  16   A   THAT'S TRUE.


  17   Q   YOU DON'T HAVE ANY PERSONAL KNOWLEDGE AS TO WHETHER OR NOT


  18   PAULA TREANTAFELLES EVEN SPOKE WITH YOU OR WITH YOUR ASSISTANT;


  19   CORRECT?


  20   A   TRUE.


  21   Q   YOU DON'T EVEN HAVE ANY KNOWLEDGE AS TO WHETHER OR NOT


  22   PAULA TREANTAFELLES RESPONDED TO THE E-MAIL FROM YOUR


  23   ASSISTANT; CORRECT?


  24   A   CORRECT.


  25   Q   AND ISN'T IT TRUE THAT VICTORIA O'CONNOR, THE HEAD OF



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  1    LICENSING AT MGA, WOULD HAVE MORE KNOWLEDGE WITH RESPECT TO THE


  2    DATE OF FIRST USE THAN YOU DO?


  3           MR. ZELLER: FOUNDATION.


  4           THE COURT: SUSTAINED.


  5           THE LAST ANSWER WAS STRICKEN. ARE YOU WITHDRAWING


  6    THE QUESTION? I SUSTAINED THE OBJECTION.


  7    BY MR. NOLAN:


  8    Q   WOULD YOU EXPECT THAT IF A WITNESS TESTIFIED IN THIS CASE,


  9    VICTORIA O'CONNOR, YESTERDAY, THAT THE FIRST SALE OF BRATZ WAS


  10   SOMETIME IN MID 2001, YOU HAVE NO EVIDENCE TO DISPUTE THAT, DO


  11   YOU?


  12   A   I SAID --


  13          MR. ZELLER: LACKS FOUNDATION.


  14          THE COURT: DON'T ANSWER. WHEN THEY ARE STANDING UP,


  15   THAT MEANS THEY ARE MAKING AN OBJECTING.


  16          COUNSEL?


  17          MR. ZELLER: ARGUMENTATIVE; LEADING; LACKS


  18   FOUNDATION.


  19          THE COURT: SUSTAINED.


  20          REPHRASE, COUNSEL.


  21   BY MR. NOLAN:


  22   Q   DO YOU HAVE ANY EVIDENCE THAT WOULD DISPUTE TESTIMONY FROM


  23   A REPRESENTATIVE OF MGA THAT BRATZ DOLLS WERE FIRST SOLD IN


  24   INTERSTATE COMMERCE IN MAY/JUNE OF 2001? DO YOU HAVE ANY SUCH


  25   EVIDENCE?



                                                   Unsigned              Page 1513
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  1         MR. ZELLER: LEADING; ARGUMENTATIVE; LACKS

  2    FOUNDATION.

  3         THE COURT: SUSTAINED ON FOUNDATION, COUNSEL.

  4    BY MR. NOLAN:

  5    Q   AS YOU SIT HERE, DO YOU HAVE ANY PERSONAL KNOWLEDGE AS TO

  6    WHEN THE BRATZ DOLLS WERE FIRST INTRODUCED INTO COMMERCE?

  7    A   NO.

  8         MR. NOLAN: NOTHING FURTHER. THANK YOU.

  9         MR. ZELLER: NOTHING, YOUR HONOR. THANK YOU.

  10        THE COURT: YOU'RE EXCUSED, MA'AM.

  11        WE'RE GOING TO TAKE OUR LUNCH BREAK AT THIS TIME.

  12        I'M GOING TO EXCUSE THE JURY. I'LL SEE THE JURY BACK

  13   HERE AT 1:30.

  14        (CONCLUSION OF MORNING SESSION.)

  15

  16

  17

  18                   CERTIFICATE

  19

  20   I HEREBY CERTIFY THAT PURSUANT TO SECTION 753, TITLE 28, UNITED

       STATES CODE, THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT OF

  21   THE STENOGRAPHICALLY RECORDED PROCEEDINGS HELD IN THE ABOVE-

       ENTITLED MATTER AND THAT THE TRANSCRIPT PAGE FORMAT IS IN

  22   CONFORMANCE WITH THE REGULATIONS OF THE JUDICIAL CONFERENCE OF

       THE UNITED STATES.

  23

  24   _____________________________    _________________

       THERESA A. LANZA, CSR, RPR          DATE

  25   FEDERAL OFFICIAL COURT REPORTER



                                                   Unsigned              Page 1514
